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                                 #:26802

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    14                               UNITED STATES DISTRICT COURT
    15
                           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
    16                                               )
          JENNY LISETTE FLORES, et al.,         )    Case CV 85-4544 DMG-AGRx
    17
                                                )
    18                  Plaintiffs,             )    EXHIBITS IN SUPPORT OF
                                                )    PLAINTIFFS’MOTION TO
    19           - vs -                         )    ENFORCE THE SETTLEMENT
    20                                          )    AGREEMENT[REDACTED
          WILLIAM BARR, ATTORNEY                )     VERSION OF DOCUMENT
    21    GENERAL                               )    PROPOSED TO BE FILED
           OF THE UNITED STATES, et al.,        )    UNDER SEAL] VOL. 2 OF 5
    22
                                                )
    23                  Defendants.             ) [HON. DOLLY M. GEE]
                                            _
    24
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    25

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    28   PLAINTIFFS’ MOTION TO ENFORCE CV 85-4544-DMG(AGRX)
                                                 ii
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                                 #:26804


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    28   PLAINTIFFS’ MOTION TO ENFORCE CV 85-4544-DMG(AGRX)
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                                 #:26807
Case 2:85-cv-04544-DMG-AGR Document 547-4 Filed 05/31/19 Page 7 of 237 Page ID
                                 #:26808
Case 2:85-cv-04544-DMG-AGR Document 547-4 Filed 05/31/19 Page 8 of 237 Page ID
                                 #:26809




                             Exhibit 10
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                                                                    Page 1

  1                       UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
  2                             WESTERN DIVISION
  3
                         CASE NO. 2:18-CV-05741-DMG-PLA
  4
  5      LUCAS R., et al.,
  6                    Plaintiffs,
  7      vs.
  8      ALEX AZAR, Secretary of U.S.
         Department of Health and Human
 9       Services; et al.,
10                     Defendants.
         _________________________________________
11
12
                                    DEPOSITION OF
13

14
15
16                   DATE TAKEN:       Thursday, April 25, 2019
                     TIME:             9:34 a.m. - 3:25 p.m.
17                   PLACE:            2 South Biscayne Boulevard
                                       Suite 3100
18                                     Miami, Florida 33131
19
20
21            Taken on behalf of the Plaintiffs before
22                      , Shorthand Reporter and Notary Public in
23       and for the State of Florida at Large, pursuant to
24       Notice of Taking Deposition in the above cause.
25

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  1
                                    APPEARANCES
  2                                (continued)
  3
         Also Present:
  4


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  7                           - - - - - -
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                                I N D E X
 10
 11      DEPOSITION OF                                            PAGE NO.
 12      Direct Examination by Mr. Holguin                              4
         Cross-Examination by Ms. Davila                             181
 13      Witness Signature Page                                      187
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 14      Certificate of Oath of Witness                              189
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 15      Letter to Witness Re: Reading                               191
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                                                                         Page 4

  1                  THE COURT REPORTER:         Please raise your right
  2             hand to be sworn.
  3                  Do you solemnly swear or affirm that the
  4             testimony you are about to give will be the truth,
  5             the whole truth, and nothing but the truth?
  6                  THE WITNESS:     Yes.
  7      Thereupon:
  8
  9      was called as a witness and, having been first duly
 10      sworn, was examined and testified as follows:
 11                            DIRECT EXAMINATION
 12      BY MR. HOLGUIN:
 13             Q.   Good morning,                    .      You are aware this
 14      is a deposition and the basic process that is going to
 15      happen here today.      Have you had your deposition taken
 16      before?
 17             A.    No.
 18             Q.    Okay.   Well, in essence, what is going to be
 19      happening is that I will be asking you questions.                The
 20      court reporter will be recording your answers.                You are
 21      under oath, as you know now.          If at any time you feel
 22      tired, unable to answer, want to take a break, just let
 23      us know and we can do that.
 24                   The reporter is only able to transcribe audio,
 25      verbal responses.      So rather than shake the head yes or

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  1      no, if you could answer "yes" or "no," that would be
  2      appreciated.
  3             A.   Yes.
  4             Q.   Also, the reporter can only record one person
  5      at a time.    So we will try to do our best to speak
  6      separately.
  7                  Is there any reason today -- are you taking
  8      any medications, are there any problems that you might
  9      have in recalling or testifying, answering truthfully?
 10             A.   No.    No.
 11             Q.   At the end of the deposition, the reporter
 12      will transcribe the proceedings.             You will have a chance
 13      to look at the testimony and make corrections to your
 14      testimony.    You should know that if you do make changes,
 15      the plaintiffs would have the right to comment on the
 16      changes that you do make.         So please try to be as
 17      accurate as possible during your testimony today.
 18                  Now, at the conclusion of the deposition, your
 19      attorneys and the attorneys for the plaintiffs may agree
 20      that you can sign the booklet containing your testimony
 21      in the presence of any notary public, as opposed to
 22      before the court reporter here today.               We will talk
 23      about that a little bit later with your lawyers.               If we
 24      agree to do that, it will be on the understanding and
 25      your promise that you will read the deposition

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  1      transcript, correct it, if necessary, and sign it in the
  2      presence of a notary public and then return it to the
  3      office in which you received it.              Are there any
  4      questions about that?
  5             A.   No.
  6             Q.   Could you please state and spell your full
  7      name for the record.
  8             A.
  9                  MS. DAVILA:     Before we delve into the
 10             substantive questioning, we would like to preserve
 11             our objections that we discussed earlier.
 12                  MR. HOLGUIN:      Sure.
 13                  MS. DAVILA:     Counsel for the government and
 14             plaintiffs have discussed earlier the presence of
 15             Dr. Cohen this morning at this deposition.             It is
 16             the government's understanding that Dr. Cohen has
 17             not signed a protective order in this matter.             We
 18             are also informed by counsel that Dr. Cohen may be
 19             a witness in this matter, but we are not informed
 20             that she is at this point identified as a
 21             Rule 26(a) witness or as an expert witness in this
 22             case.   Accordingly, the government would like to
 23             preserve on the record our objection to her
 24             presence here today because pursuant to the court's
 25             order of 11-2-2018, and that's at ECF Number 126,

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  1             plaintiffs may not proceed on any cause of action
  2             seeking to enforce the Flores Agreement.          Thank
  3             you.
  4      BY MR. HOLGUIN:
  5             Q.                   can you please explain or describe
  6      for us your current position with the Department of
  7      Health & Human Services.          Well, that assumes a fact not
  8      in evidence, but please go ahead.
  9             A.     I am a federal field specialist.
 10             Q.     For what federal agency?
 11             A.     Office of Refugee Resettlement.
 12             Q.     And that's within the Department of Health &
 13      Human Services, correct?
 14             A.     Yes.
 15             Q.     And how long have you been in that position?
 16             A.     A little over four years.
 17             Q.     Now, what area geographic area, region, do you
 18      work in?
 19             A.     Miami, Florida.
 20             Q.     And does that cover the entire city or does it
 21      cover a county?      What is the geographic extent of your
 22      work?
 23             A.     Currently?
 24             Q.     Yes.
 25             A.     Homestead.

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                                                                          Page 8

  1             Q.   How many facilities do you oversee at
  2      Homestead?
  3                  MS. DAVILA:     Objection.         Vague.
  4      BY MR. HOLGUIN:
  5             Q.   Do you oversee any facilities in which
  6      children are held for immigration violations at
  7      Homestead?
  8             A.   Can you repeat that?
  9             Q.   Well, you are familiar with the Homestead
 10      facility in which ORR places children who are facing
 11      removal proceedings or other immigration-type
 12      proceedings, correct?
 13             A.   Yes.
 14             Q.   What is that facility called?                What is its
 15      full name?
 16             A.   Homestead Influx Shelter.                You used the term
 17      "oversee."    I don't oversee the program.
 18             Q.   Then how do you describe your duties with
 19      respect to the Homestead Influx Shelter?
 20             A.   I review the releases when they are submitted.
 21             Q.   These are decisions to release children to
 22      their parents or other proposed custodians?
 23             A.   Correct.
 24             Q.   Do you ever actually go to the Homestead
 25      facility?

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  1             A.   I have been to the Homestead facility, but I
  2      go rarely to the Homestead facility.
  3             Q.   About how many times per year would you say
  4      you go to Homestead?
  5             A.   Are you speaking about this contract year or
  6      previous contract years?
  7             Q.   Let's talk about this contract year.
  8             A.   How many times have I been to Homestead
  9      physically?    Maybe four or five times.
 10             Q.   In the past year, 12 months?
 11             A.   I wouldn't know a number to tell you.          Not
 12      very often.    I don't go very often at this point.
 13             Q.   Are you aware of any other employee of Office
 14      of Refugee Resettlement who visits Homestead more
 15      regularly than you do?
 16             A.   Yes.
 17             Q.   Who would that be?
 18             A.   At this time, my supervisor,
 19             Q.   How do you spell this person's name,               ?
 20             A.
 21             Q.   What is                       title, job title?
 22             A.   Federal field specialist supervisor.
 23             Q.   So your understanding is that                          does
 24      go to the Homestead facility with some regularity?
 25             A.   At this point, recently, yes.

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  1              Q.     Now, is it also                            obligation to
  2      look at conditions and treatment that children
  3      experience at the Homestead facility?
  4             A.      I can't speak of her responsibilities.               I am
  5      not quite sure what her responsibilities are.
  6             Q.      Now, when you go to Homestead, what is your
  7      objective in going there?
  8             A.      My objective is, I facilitate the releases.
  9      So I have been there in the past where I have sat in a
 10      staffing of the case managers and leads.                    No, not case
 11      managers.       Excuse me.     The leads, really.            But my focus
 12      and my emphasis and my position right now is to deal
 13      with the releases when they come in.                    So the back end of
 14      the cases.
 15             Q.      When you reference "the leads," what does that
 16      mean?       What are the leads?
 17             A.      I was speaking of the lead case managers
 18      employed by CHSI.
 19             Q.      How many lead case managers are at the
 20      Homestead facility?
 21             A.      I don't know the number.             I have nothing to do
 22      with their human resources.              I don't know the numbers of
 23      leads that they have at this point.
 24             Q.      How many lead case managers have you found
 25      there when you have been to Homestead?

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  1             A.   I think I might have met with six, seven of
  2      them, maybe eight.
  3             Q.   Is there anyone else who currently performs
  4      duties similar to yours?        In other words, making
  5      decisions about whether children should be released?
  6             A.   Currently, yes.
  7             Q.   How many other people are doing this?
  8             A.   One other person.
  9             Q.   What is that person's name?
 10             A.                     .
 11             Q.   Approximately how many release decisions do
 12      you make, say, per week?
 13             A.   I make approximately between 20 and 40 a day.
 14             Q.   20 to 40 per day?
 15             A.   28 to 40 a day, I would say, is more accurate.
 16             Q.   Approximately how long do you spend on each
 17      decision, making each decision?
 18             A.   It varies from case to case.
 19             Q.   Now, is it the case that the actual gathering
 20      of information about proposed sponsors or custodians,
 21      the gathering of information is performed by employees
 22      at Homestead?
 23             A.   Correct.
 24             Q.   And could you give us the full name of the
 25      company or corporation that actually owns and operates

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  1      Homestead?
  2             A.    I believe it is Comprehensive Health, maybe
  3      Services, Incorporated.       I am not 100 percent on that.
  4             Q.    And their current contract, when did that
  5      begin?
  6             A.    I can't tell you.       I don't work in the
  7      contracts.     I have nothing to do with their contracts.
  8      It was a part of Homestead when the children were
  9      placed.     I can't tell you that.
 10             Q.    Have you ever seen their contract?
 11             A.    No.
 12             Q.    So you don't know what it might say?
 13             A.    No, no.
 14             Q.    If you could explain, generally, how is it
 15      that the caseworkers investigate proposed sponsors and
 16      how that process goes from beginning to end where you
 17      made a decision as to whether they should be released or
 18      not.
 19             A.    I can't speak of how they got the information
 20      in every case because I am not physically there to know
 21      that or watch them do the case.            If you would like me to
 22      speak in general terms, what my experience has been on
 23      that end, I can try to answer the question.            But it's
 24      their processes, they run their shelter, and I can't
 25      really answer that.      They have to follow the ORR

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  1      policies.
  2             Q.   If you could just describe, generally, your
  3      understanding of how the process proceeds, that would be
  4      appreciated.
  5             A.   And you're speaking of the process with the
  6      sponsors, correct?
  7             Q.   Yes.
  8             A.   So the case manager would normally contact the
  9      sponsor and begin an FRP, which is Family Reunification
 10      Package.    I'm sorry about the acronyms.               They contact
 11      the sponsor.    They complete an assessment of the
 12      sponsor.    They also have to give documentation that's
 13      located in the Family Reunification Package.                 In some
 14      cases, the sponsor needs to be fingerprinted.                 That
 15      needs to be done.     In some cases, there is a CA/N, which
 16      is for the abuse and it's required in some cases.                 They
 17      are constantly speaking to the sponsors and assessing.
 18      That's what I would say about that.                 And collecting the
 19      documents that are required for the release.
 20             Q.   Now, you referenced an ORR manual or document
 21      that directs the case managers in how to go about
 22      gathering this information; is this correct?
 23             A.   Yes.
 24             Q.   What is that document called?
 25             A.   Well, there are two documents that you can

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  1      reference.    There is the MAP, which is a more detailed
  2      explanation of forms and procedures, and there is ORR
  3      policies.    Both of them are free to look at on the
  4      website.
  5             Q.   Now, when you say "MAP," are you speaking in
  6      the generic sense of a map or --
  7             A.   A manual.    I am speaking of a manual, the
  8      process.
  9             Q.   So when you say "MAP," is that an acronym as
 10      well?
 11             A.   Yes.    Don't ask me what it stands for.          I
 12      think it's one "P," but it could also be two.              I'm
 13      sorry.
 14             Q.   Between the MAP and the policies that appear
 15      on ORR's website, those are the instructions that the
 16      caseworkers follow in investigating and evaluating
 17      proposed sponsors?
 18                  MS. DAVILA:     Objection.         Mischaracterizes
 19             testimony.
 20      BY MR. HOLGUIN:
 21             Q.   If I have mischaracterized your testimony,
 22      could you please correct it?
 23             A.   Well, I said I am not sure of their internal
 24      processes.    It's a general process, how to and what is
 25      required for a sponsor.        However, they are assessing the

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  1      sponsor as well.       So it's not everything in terms of
  2      flatly looking at that policy.
  3             Q.    From ORR's perspective, these two sources are
  4      the instructions that the case managers are supposed to
  5      follow, that ORR insists they follow in investigating
  6      proposed sponsors?
  7                   MS. DAVILA:     Can you read back that question.
  8                  (Thereupon, the requested portion of the record
  9      was read by the Court Reporter.)
 10                   MS. DAVILA:     Objection.         Mischaracterizes
 11             testimony.
 12      BY MR. HOLGUIN:
 13             Q.    You can answer.
 14             A.    The policy and procedure is part of the
 15      necessity of exploring and assessing the sponsors.                 It's
 16      case by case.       That is the best way I would summarize
 17      that answer.
 18             Q.    Well, in addition to Homestead, ORR does place
 19      children in a number of other facilities around the
 20      country; is that correct?
 21             A.    Yes.
 22             Q.    Would each one of those facilities have their
 23      own internal procedures for evaluating proposed
 24      sponsors?
 25             A.    I would say every program runs their program

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  1      the way that they run their program.                 They have to make
  2      sure that they follow the ORR policies.                 However, they
  3      are independent shelters, I imagine, that you are
  4      speaking of.    So I am sure there are internal processes
  5      as well that I would not be privy to.
  6             Q.   But there is a minimum level of investigation
  7      that ORR insists all shelters follow; is that correct?
  8             A.   Following the policies and procedures, yes.
  9             Q.   Now, from the standpoint of those minimum ORR
 10      policies that every shelter must follow, are those
 11      contained in the MAP and the ORR online policy manual or
 12      are they also contained in some other source?
 13             A.   They are in the MAP and the ORR policies and
 14      procedures.
 15             Q.   Do they appear in any other source?
 16             A.   Not to my knowledge.
 17             Q.   Do you receive a file from the case managers
 18      when the case is being referred to you for a decision as
 19      to whether someone should be released or not?
 20             A.   Are you speaking of a physical file or an
 21      electronic file?
 22             Q.   Either one.
 23             A.   There is an electronic file.
 24             Q.   And what system do they use to transfer to you
 25      the electronic file?

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  1             A.    I would not know their system.
  2             Q.    How do you receive it?          Is it an e-mail?
  3             A.    I receive it on the UAC portal, as well as an
  4      e-mail that the recommendation is in.               The
  5      recommendation e-mail does not come to me from CHSI.
  6             Q.    Where do you get the recommendation e-mail
  7      from?
  8             A.    From a third-party reviewer.
  9             Q.    Is that third-party reviewer also called a
 10      case coordinator?
 11             A.    Yes.
 12             Q.    Who employs the case coordinator?
 13             A.    GDIT.   General Dynamics -- I don't know the
 14      rest of it.
 15             Q.    How many people at General Dynamics, or GDIT,
 16      do you interface with in a particular week?
 17             A.    I can't answer that.         They use a pool of
 18      people.     I don't know.    I honestly don't know.
 19             Q.    Do you know any of their names?
 20             A.    Yes.
 21             Q.    For example, could you give us two or three?
 22             A.                                                 , and
 23
 24             Q.   How do you distinguish the role of a case
 25      coordinator from a case manager who works at Homestead?

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  1             A.   Are you asking how I personally determine
  2      or --
  3             Q.   To your knowledge, what are the differences in
  4      their tasks?    How are they similar?               How are they
  5      different?
  6             A.   A third-party reviewer is an extra set of eyes
  7      on the case to assist with a recommendation.                 The case
  8      manager is the one presenting the case to the third
  9      party who then, in turn, presents it to the FFS.
 10             Q.   Do the case coordinators conduct any
 11      investigation themselves?         Do they speak to the parents?
 12      Do they speak to the children?
 13             A.   They have spoken to children before.               I am not
 14      quite sure if they speak to parents.                 You would have to
 15      ask GDIT that.
 16             Q.   What about with respect to the case managers?
 17      Do they make recommendations with respect to release as
 18      well?
 19             A.   Yes.
 20             Q.   So the process is, if I can summarize this,
 21      and correct me if I am wrong, that the case managers
 22      gather the information that is required by their own
 23      internal policies, as well as the MAP and the ORR online
 24      policies.    They then make a recommendation as to whether
 25      a child should be released to a proposed sponsor.                  That

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  1      goes to the case coordinator, who then puts an extra set
  2      of eyes on the process.        The case coordinator will then
  3      forward a recommendation to you, and then you make the
  4      final decision.
  5                  MS. DAVILA:     Objection.         Vague.   Objection.
  6             Compound.    Objection.      Mischaracterizes testimony.
  7      BY MR. HOLGUIN:
  8             Q.   You can correct me in anything I have said if
  9      it's wrong, please.
 10             A.   The case manager sends the recommendation to
 11      the case coordinator.       They staff the cases as well with
 12      case coordinators.     Then they, in turn, send the
 13      recommendation to the FFS.
 14             Q.   And the FFS, in the cases you handle, would be
 15      yourself, correct?
 16             A.   In the cases that I have, it would go to me.
 17      But the releases, just to clarify, go into a central
 18      box, the Homestead FFS box, so that if there is coverage
 19      or if          or any other FFS is assisting, they could
 20      go to anyone.      They are not preassigned to the FFS.
 21             Q.   Now, in making your decisions about whether to
 22      release or not, are the standards you follow in the MAP
 23      and the ORR policy online policies as well?
 24             A.   For the most part, yes.
 25             Q.   That takes care of "for the most part."             What

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  1      about the remainder?      What standards do you follow?
  2             A.   I have to assess the case as well to ensure as
  3      safe of a release as I can make it.                 So the FFSs do look
  4      at the cases for that purpose as well.
  5             Q.   I am trying to understand.               These other
  6      criteria that you apply, the ones that don't appear in
  7      the MAP or the ORR online policies, those criteria are
  8      specific to the individual FFS?
  9             A.   No.   I think you misunderstood what I was
 10      attempting to say.     No.
 11                  We follow the policies and procedures in
 12      making release determinations.            However, I just want to
 13      stress to you that we are dealing with lives of children
 14      and there are variations in cases.
 15             Q.   Do you mean that there are variations in cases
 16      that present factors that are not covered in the MAP or
 17      the ORR online materials?
 18             A.   There could possibly be a case.               I am not able
 19      to reference that for you right now.                 As I said, it's on
 20      a case-by-case basis.      We do follow the guidelines set
 21      out by ORR as well as any other guidance we have
 22      received.
 23             Q.   Now, other guidance you have received, what
 24      form would that guidance arrive in?
 25             A.   If I have a difficult case that could be a

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  1      little blurred in some way, I would staff it with my
  2      supervisor.
  3             Q.   Consult with a supervisor?
  4             A.   Yes.
  5             Q.   Are you aware of any written material that
  6      your supervisor has access to that you do not have
  7      access to?
  8             A.   No, sir.
  9             Q.   Is it fair to say that you exercise some
 10      judgment in making these decisions, either in a case
 11      where you decided on your own or where you consult with
 12      a supervisor?
 13             A.   In some instances.
 14             Q.   In the times that you have been to Homestead,
 15      have you had occasion to talk with any of the children?
 16             A.   I have spoken to three children.
 17             Q.   Is this during the past year?           What is the
 18      period of time?
 19             A.   This contract year, I am not sure if it -- I
 20      believe it could have been right before Christmas.
 21             Q.   What was the purpose in speaking with them?
 22             A.   With the children?
 23             Q.   Yes.
 24             A.   I just wanted to make sure they were doing
 25      okay.

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  1             Q.      Apart from speaking to those three children,
  2      do you have any role in monitoring or assessing the
  3      treatment or conditions the children experience at
  4      Homestead?
  5             A.      No, sir.   My function in Homestead is strictly
  6      on releases and transfers.           I have, due to the volume --
  7      and I am not sure if you have been to Homestead or if
  8      you are aware of the volume of Homestead.                  You cannot do
  9      both functions.       So I have been delegated to do the
 10      release end of it.        So no, I don't monitor them at all.
 11             Q.      Now, when you receive a release packet through
 12      the portal, does the information you receive indicate,
 13      for example, how long a child has been detained?
 14             A.      The information on the portal can tell me how
 15      long a child has been there.            When you open the portal,
 16      it will tell you the length of stay.                  So yes, I can see
 17      the length of stay.
 18             Q.      Is that one of the factors you take into
 19      consideration when you decide whether to release or not?
 20             A.      The length of time that the child has been in
 21      care?       No.
 22             Q.      Does the portal indicate any kind of
 23      assessment as to the child's psychological state at
 24      Homestead?
 25             A.      The clinicians assessments.             There is ongoing

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  1      assessments.    If they seek other professional
  2      evaluations, that would be -- the report would be
  3      uploaded in the portal.
  4             Q.   Is that something you review in deciding
  5      whether to release or not?
  6             A.   Yes.   However, it is not necessarily to
  7      release or not.      It is to look at whether that child
  8      needs post-release services, follow-up services.            And in
  9      some cases, if that child met criteria for TVPRA, the
 10      Trafficking Victims Protection Reauthorization Act, the
 11      TVPRA home study.     So that's where those assessments
 12      come into play.
 13             Q.   With respect to post-release services, or
 14      TVPRA benefits, but not with respect to the release
 15      decision --
 16             A.   Well, it is part of the release decision.           If
 17      there is a home study -- if they meet criteria for a
 18      home study, I would recommend a home study.           If they met
 19      criteria for post release, I would recommend post
 20      release.
 21             Q.   I see.    Let me just ask it more generally.
 22      What is the fundamental thing you are looking for, the
 23      most important factor in your mind when you decide
 24      whether to release or to continue a child in custody?
 25             A.   Safety.

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  1             Q.   Safety.    And this means safety following
  2      release, correct?
  3             A.   If I am looking at the releases, it would be
  4      in conjunction with the safe release outside of the
  5      shelter, correct.
  6             Q.   Now, are you aware of any statistics or
  7      studies that ORR has done about the incidents of abuse
  8      or neglect following release from ORR custody?
  9             A.   No, sir.
 10             Q.   So you don't know whether it happens
 11      10 percent of the time, 5 percent of the time, 1 percent
 12      of the time?
 13             A.   No.
 14             Q.   Do you have any insight as to any individual
 15      cases where children have actually been abused and
 16      neglected following release from ORR custody?
 17             A.   "Aware of," meaning I have heard of or I have
 18      personal knowledge of?
 19             Q.   You have personal knowledge of.         Let's start
 20      with that.
 21             A.   I don't have personal knowledge.         I don't
 22      follow the children once they are released.           I have
 23      heard of that, but I don't have, myself, personal
 24      experience.
 25             Q.   How many cases have you heard of now?

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  1             A.   Probably -- maybe three to five.
  2             Q.   Over how long a period would that be?
  3             A.   I believe since I have been in FFS.          If a
  4      child is back in custody, that is normally how I would
  5      see that.
  6             Q.   So that would be four years, I believe you
  7      said?
  8             A.   Yes.
  9             Q.   So between three and five --
 10             A.   Cases.
 11             Q.   -- cases in over four years?
 12             A.   Fair to say.
 13             Q.   Are you aware of cases of abuse or neglect of
 14      children in ORR custody by staff in the facility, by
 15      other detainees?
 16             A.   Yes.
 17             Q.   About how many of those do you know of?
 18             A.   Can you clarify what you are talking about in
 19      terms of abuse so I can answer your question?
 20             Q.   Comparable to the abuse or neglect of the
 21      three to five cases that you have heard of when children
 22      are released.      Comparable to that.
 23             A.   Well, I am talking about abandonment and
 24      neglect in the majority of the ones I have heard of, so
 25      I would say no to that.       Physical abuse, I would say no.

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  1      I have seen not physical abuse, I would say, but I have
  2      read SIRs that weren't appropriate behaviors.
  3             Q.   And what sorts of behaviors have you taken
  4      note of?
  5             A.   Staff sees inappropriate behavior.
  6             Q.   Inappropriate how?        Inappropriate touching,
  7      inappropriate sexual conduct?
  8             A.   Inappropriate.      I have seen inappropriate
  9      sexual conduct and inappropriate conduct in general.
 10      SIRs, not personally observed.            Reading SIRs.
 11             Q.   But it's not your responsibility to verify the
 12      veracity of whatever the allegation might be?
 13             A.   No, sir.
 14             Q.   Whose job is that?
 15             A.   I am not quite sure whose job that is.
 16      Homestead is a unique place.          There is the COR team
 17      there who oversees contracts and what is going on in the
 18      shelter.    I don't know exactly who is responsible.
 19      Again, my role in Homestead is limited to releases and
 20      to the transfers in some instances.
 21             Q.   Your tenure with ORR entirely, not as an FFS,
 22      but with ORR, how long have you been with ORR?
 23             A.   I started as a contractor, working for USCCB
 24      as a case coordinator.       We were called field
 25      specialists.    I was there in 2004 and 2005.          Then I was

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  1      a director of Children's Village, Boys Town.                  I was the
  2      program director from 2006 to 2014.                  Then I went to
  3      Neighbor to Family, which was on an urgent and
  4      compelling grant, and I worked there until I started
  5      with ORR.
  6             Q.   So in total, you have worked with ORR for
  7      about 14 years either as a contractor or as an employee?
  8             A.   That's about right.          Math is not my forte.
  9             Q.   Now, based on your knowledge of how ORR
 10      functions, you don't know right now who is responsible
 11      for investigating allegations of abuse or neglect within
 12      the Homestead facility; is that correct?
 13                  MS. DAVILA:     Objection.         Asked and answered.
 14                  THE WITNESS:      There are mandated reporters,
 15             like every other shelter, so they have to report
 16             any instance.   So you have DCF investigating.
 17             Sometimes it could be sent to the local police
 18             department.
 19      BY MR. HOLGUIN:
 20             Q.   But internally within ORR, you are not aware
 21      of anyone who is in charge of investigating reports of
 22      abuse or neglect in the Homestead shelter?
 23                  MS. DAVILA:     Objection.         Asked and answered.
 24             Objection.    Cumulative.       Objection.
 25             Mischaracterizes testimony.

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  1                  THE WITNESS:     ORR has a section that deals
  2             with abuse allegations in the sense that there is a
  3             section, and they review those SIRs.           But I can't
  4             tell you the workings of who is actually
  5             investigating.    I know that the SIRs, the sexual
  6             abuse ones, are elevated to a unit that explores
  7             what goes on in that.
  8      BY MR. HOLGUIN:
  9             Q.   Do you know the name of that unit?
 10             A.   I don't know the name of the unit.
 11             Q.   Do you know where it is located?
 12             A.   I don't know if it is -- I don't believe it is
 13      in Miami, but I am not quite sure where their offices
 14      are.
 15             Q.   Have you ever met anyone who worked in that
 16      unit?
 17             A.   I have met people that work within the
 18      allegations of abuse from ORR.            They provided training
 19      at Homestead and that's how I met them.             But other than
 20      that, no.
 21             Q.   Did you attend the training?
 22             A.   I did.
 23             Q.   Based on what you know of it, if someone at
 24      Homestead receives an SIR -- and this is called a
 25      Serious Incident Report.        That is an acronym for Serious

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  1      Incident Report; is that correct?
  2             A.   Yes.
  3             Q.   So if someone at Homestead forwards a Serious
  4      Incident Report, who do they send it to within ORR?
  5             A.   They send it to intake, to a hotline.            It
  6      depends on what the SIR is.          There is a chain of where
  7      it goes to.    But all SIRs are forwarded to the intake,
  8      and we get a copy of them in the FFS box.              The COR team,
  9      which is primarily project officers for Homestead, they
 10      receive it as well.      And again, if it is something that
 11      OIG needs to know or HHS needs to know, it depends on
 12      the incident.
 13             Q.   The procedures that are applied to different
 14      types of incidents, are those written down anywhere?
 15             A.   Yes.
 16             Q.   What is the name of the document or the
 17      manual?
 18             A.   It is in the policies and procedures.
 19             Q.   Is that in the online manual?
 20             A.   Yes.
 21             Q.   Now, project officers, what is their role?
 22             A.   In Homestead?
 23             Q.   Yes.
 24             A.   I can't speak on their role.            They are the
 25      ones that deal with the contractual issues and the

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  1      running of the program.
  2             Q.   If we could speak a little bit about your
  3      background.    You gave us some information about where
  4      you worked before you came to become a federal field
  5      specialist at ORR.      What is your educational background?
  6             A.   I have my master's degree in social work and I
  7      am a licensed clinical social worker.
  8             Q.   When did you receive your -- is it an MSW?
  9             A.   Yes.
 10             Q.   When did you receive that?
 11             A.   I believe in '97.
 12             Q.   And your LCSW?
 13             A.   I received it in March of last year.
 14             Q.   How long have you been involved in social work
 15      in general?
 16             A.   Since 1984.
 17             Q.   Have you ever worked for a child protective
 18      services agency?
 19             A.   No.
 20             Q.   So your work history since 1984 has been in
 21      running shelters?
 22             A.   No.    I worked in a boys' home in New York and
 23      we had children who were not or did not have the
 24      parental -- for the most part, parental -- anybody to go
 25      to, in a sense.      I worked with that same agency working

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  1      with children that were in the juvenile justice system.
  2      We had a group home.         So we would take the kids from the
  3      juvenile facility to the group home, low risk children.
  4      Criminal risk, I am talking about.                 I did that.   I
  5      worked in a psychiatric hospital as a psychiatric social
  6      worker.      I worked at the school board as a trust
  7      counselor.      I worked at the public defender's office as
  8      a forensic social worker.
  9             Q.     Have you ever conducted, personally, child
 10      abuse investigations?
 11             A.     I have not.     I have phoned them in several
 12      times.      But no, I have not personally conducted them.
 13             Q.     Have you had occasion to place children in
 14      foster homes as part of your work prior to coming to
 15      ORR?
 16             A.     Not in foster homes, per se.             When I worked as
 17      a social worker in New York, we had one occasion that
 18      the child could not return to the facility, but they
 19      went to another relative.            I mean, not the facility; to
 20      the mother.      They went to another relative, to a
 21      grandmother.
 22             Q.     Were you involved in evaluating the
 23      grandmother as a suitable custodian?
 24             A.     No.   DCF did.     Well, not DCF in New York.            It
 25      is called something different.

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  1             Q.   This would be the New York child protective
  2      services agency?
  3             A.   That would have conducted the assessment of
  4      whether the grandmother was suitable?               Yes.
  5             Q.   So then, essentially, before coming to ORR,
  6      you did not have occasion to evaluate the suitability of
  7      proposed custodians; is that correct?
  8             A.   I wouldn't say -- evaluate in terms of
  9      removal, no, which is what I thought you were asking in
 10      the last question.     I was not the person that would do
 11      the assessment for removal of a child, but I would
 12      assess the situation.      Particularly in New York, I did
 13      home visits and was required to send reports to the
 14      child welfare agency.
 15             Q.   So approximately how many home visits do you
 16      think you have performed?
 17             A.   I would do three a week.
 18             Q.   And for how many weeks did you do that?
 19             A.   For a two-year period.           Almost a two-year
 20      period.
 21             Q.   Now, how does your experience in doing those
 22      home visits compare to your ability to evaluate children
 23      under your current procedures?
 24             A.   Very different.       It's a completely different
 25      situation.

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  1             Q.   So when you were doing home visits, you would
  2      actually go to the home.        What was your process when you
  3      would arrive at a potential home?
  4             A.   The goal was to try to reunify the child with
  5      the parents.
  6             Q.   And the goal that you are pursuing now in
  7      evaluating these releases, making these release
  8      decisions, is that goal the same or is it any different?
  9             A.   No.   The goal is to safely -- I am going to
 10      use that term over and over again because that is what
 11      we try to do.     Safely reunify the child with family in
 12      the United States.
 13             Q.   But in terms of what you used to do when you
 14      were conducting home visits and what you do now, what is
 15      the major difference?
 16             A.   I am not visiting the home.
 17             Q.   So you make the decision based upon paper, the
 18      data that is transmitted to you through the portal,
 19      correct?
 20             A.   Largely, yes.
 21             Q.   What other sources of information do you use,
 22      apart from what is recorded in the portal, to make a
 23      decision whether to release or not?
 24             A.   Again, I staff the cases when I feel that I
 25      need to, so I would get some feedback from either the

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  1      case coordinator, sometimes the lead case manager,
  2      sometimes the assistant program director, and sometimes
  3      my direct supervisor.
  4             Q.   And all of those sources will provide you with
  5      information or is it recommendations?
  6             A.   Recommendations.        However, the case manager or
  7      the lead will provide more information if requested.
  8      They would speak to the sponsor to clarify for me.
  9             Q.   From time to time, you will request additional
 10      information from the case manager, lead case manager, to
 11      help you make a decision?
 12                  MS. DAVILA:     Objection.         Mischaracterizes
 13             testimony.
 14      BY MR. HOLGUIN:
 15             Q.   Is that correct?
 16             A.   If I understand what you are asking me, at
 17      times have I requested additional information on a
 18      case --
 19             Q.   Yes.
 20             A.   -- to a lead case manager or case manager?
 21             Q.   Yes.
 22             A.   That's correct.
 23             Q.   Now, turning to home studies, in what
 24      percentage of cases, the cases you have decided, do you
 25      estimate home studies have been performed?

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  1             A.     I don't want to guess on that.                You know, the
  2      volume of Homestead is huge.             I don't know the
  3      percentage offhand.        It is a little difficult to answer
  4      accurately.
  5             Q.     I understand.      I am just looking for an
  6      estimate.
  7                    MS. DAVILA:     Objection.         Asked and answered.
  8                    THE WITNESS:      A low amount.            It is not that
  9             high of an amount.        Again, and I don't do all the
 10             release decisions.        I do have somebody else working
 11             on them.     I really don't feel comfortable answering
 12             that with a number or a range.                  It's low.   It's
 13             low.
 14      BY MR. HOLGUIN:
 15             Q.     Let's just talk about the release decisions
 16      you made yesterday.        That was between 28 to 40; is that
 17      correct?
 18             A.     No.   I was not working the whole day
 19      yesterday.      I did 18, if you would like a number.
 20             Q.     When was the last day you worked a whole day?
 21             A.     The day before that.
 22             Q.     All right.     Then let's talk about that day.
 23      Were there about 28 to 40 decisions --
 24             A.     There were 39.
 25             Q.     There were 39.       All right.           And in how many of

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  1      those cases was a home study conducted?
  2             A.   When you say "a home study conducted," are you
  3      referring to my recommendation that a home study be done
  4      or are you asking me about the home studies that came
  5      back and the child submitted for release at the point of
  6      having the home study?       I am not sure.
  7             Q.   Let's start with the first number that you
  8      recommended a home study be done.
  9             A.   Yesterday.    You are asking about yesterday?
 10             Q.   The day before yesterday.
 11             A.   The day before yesterday.               I don't think I
 12      recommended any home studies the day before yesterday.
 13             Q.   And then of the home studies that had been
 14      completed when you were working these cases, how many
 15      cases had completed home studies?
 16             A.   One.
 17             Q.   Who is it that actually performs the home
 18      studies for ORR or children in Homestead?
 19             A.   For ORR, there are contracted agencies
 20      throughout the nation that do home study assessments.
 21             Q.   Do you know approximately how many of those
 22      agencies there are?
 23             A.   I don't.
 24             Q.   Of the cases you worked the day before
 25      yesterday, do you recall the names of any of the

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  1      agencies that performed home studies?
  2             A.   I honestly don't.
  3             Q.   Are you aware of what qualifications are
  4      required of the individuals who perform home studies for
  5      ORR?
  6             A.   I don't.   That is contractual.           There is a
  7      project officer that is in charge of home studies.              So
  8      no, I don't have any -- I am not privy to that
  9      information.
 10             Q.   As a person who has experience in this, have
 11      you become aware of differences in the quality of the
 12      work produced by different individuals who perform home
 13      studies?
 14             A.   I have not noticed a difference in home
 15      studies, no.
 16             Q.   Are you aware of what standards the
 17      individuals who perform home studies are required to
 18      follow in conducting a home study?
 19                  MS. DAVILA:     Objection.         Asked and answered.
 20             Objection.   Cumulative.        Objection.
 21             Mischaracterizes prior testimony.
 22                  THE WITNESS:      As I stated before, I have
 23             nothing to do with the contract of the home study
 24             providers.   So no, that is outside of my realm.
 25      BY MR. HOLGUIN:

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  1             Q.   Have you ever had concerns about the quality
  2      of the home studies that you are receiving?
  3                  MS. DAVILA:     Objection.         Asked and answered.
  4                  THE WITNESS:      No.
  5      BY MR. HOLGUIN:
  6             Q.   Do you know approximately how long a home
  7      study takes to be completed?
  8             A.   It's typically -- from the point that they
  9      find a provider to go and I cannot give you a firm
 10      answer because some of the kids live -- the sponsors
 11      live in remote areas, which could take longer to get a
 12      staff member out there to do the home study.              But from
 13      the point that they accept the home study, the home
 14      study provider has ten days to provide the report from
 15      the point that it's assigned.
 16             Q.   Is there any maximum amount of time from
 17      within which the home study must be sent out?
 18             A.   When you say "sent out," I am not quite
 19      sure --
 20             Q.   Assigned to someone?
 21             A.   Assigned to a provider?            I am not familiar
 22      with that process.
 23             Q.   So it's ten days from the time that it is
 24      assigned to a provider?
 25             A.   Correct.

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  1             Q.   But there is no maximum amount of time from --
  2      well, let me back up.       Who makes the decision as to
  3      whether a home study is required?
  4             A.   The ultimate decision?            That's the FFS.
  5             Q.   So in the cases that you handle, that is your
  6      decision, correct?
  7             A.   Ultimately, yes.
  8             Q.   What about initially?
  9             A.   When you say "initially," are you talking
 10      about whether they are recommending a home study?               It
 11      follows the same procedure as outlined prior, which is
 12      case manager, to case coordinator, to FFS.
 13             Q.   Is it correct to say that no home study will
 14      be done unless you approve it?
 15                  MS. DAVILA:     Objection.         Mischaracterizes
 16             prior testimony.     Objection.         Assumes facts not in
 17             evidence.
 18                  THE WITNESS:      No.     You can't characterize it
 19             in that way because my supervisor would say,
 20                     I looked at this case and it's a home
 21             study." You know, ORR can do that.
 22      BY MR. HOLGUIN:
 23             Q.   So what is the first person who would
 24      recommend a home study?
 25             A.   The case manager of the program.

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  1             Q.      How quickly after a child comes under the
  2      jurisdiction of a case manager is that recommendation
  3      made?
  4             A.      That is a general question that depends on the
  5      case.       Again, it's case by case.            Maybe a child does not
  6      disclose it in the beginning.               Maybe a child discloses
  7      something later down the line.                It depends.   There is no
  8      finite answer to that.
  9             Q.      In a typical case, when does the first
 10      recommendation that anyone makes about a home study come
 11      in?
 12                     MS. DAVILA:     Objection.         Asked and answered.
 13             Objection.     Mischaracterizes prior testimony.
 14                     THE WITNESS:      Again, I can't give you a solid
 15             answer to that because it's case by case.               If it is
 16             a home study, there are issues with the case,
 17             whether it's an issue with the child or his
 18             sponsor.     So I can't give you that number because
 19             it varies.
 20      BY MR. HOLGUIN:
 21             Q.      Now, when you say there is an issue with a
 22      child that would trigger a home study, what sorts of
 23      issues are those?
 24             A.      They would meet TVPRA criteria.
 25             Q.      What are those?

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  1             A.     So if a child was abused by caregivers,
  2      abandoned, if the child has severe issues that would
  3      meet ADA requirements, sexual abuse perpetrator as a
  4      caregiver.      So under ADA, there is a lot of things that
  5      could trigger a home study.            TVPRA would trigger a home
  6      study.      And then there are discretionary home studies,
  7      which could mean that if a sponsor had a record that was
  8      a little iffy and we were concerned about the safety, we
  9      might go that way.      Same with the TVPRA.          It's safety as
 10      well as issues.
 11             Q.     Thank you.    Are you aware of what standards
 12      ORR requires the case managers to follow in terms of
 13      prompt and continuous efforts to reunify children with
 14      their families?
 15             A.     I am not sure I understand the question that
 16      you are asking.
 17             Q.     Have you ever heard that phrase before,
 18      "prompt and continuous efforts" to reunify or to release
 19      children?
 20             A.     With the case managers, it's an ongoing
 21      process.      So that should be an ongoing process.
 22             Q.     But my question is:         Have you ever heard that
 23      phrase, prompt and continuous efforts to release?
 24             A.     I have heard of timely safe releases, which is
 25      how we kind of state it.

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  1             Q.      All right.    So in terms of timely, what is
  2      your understanding as to what that means?
  3             A.      Are you talking my personal opinion?           My
  4      experience?       Are you talking --
  5             Q.      Your understanding.         Your personal
  6      understanding as to what timely means in terms of
  7      release.
  8             A.      That means the case managers have been doing
  9      their job.
 10             Q.      Are there any objective time limits on any of
 11      this, doing one's job as a case manager, that within a
 12      certain time period something must be accomplished?
 13             A.      Well, there are suggested timelines.           They
 14      hope to get the Family Reunification Package to the
 15      sponsor in 24 hours.         So there are different timelines.
 16      But there is also a lot of variables that come into
 17      play.       Again, it's case by case.           We are working with
 18      live human beings.       There are certain guidelines that
 19      they follow in terms of getting this document out.                  But
 20      understandably, some of the sponsors may not read or
 21      write.       It may take longer to get documents back from
 22      sponsors.       A lot of the issues in terms of the time is
 23      out of the control of the case manager as well.
 24             Q.      Now, when you say that there are guidelines
 25      for when certain tasks are to be accomplished, where are

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  1      those written, if they are?
  2             A.   I believe they are in the policy and I do
  3      believe they are in the MAP.
  4             Q.   Other than the delivery of a family
  5      reunification application to the sponsor within
  6      24 hours, are you able to recall right now any other
  7      guidelines on timing?
  8             A.   No.   There are goals they want.              You know, we
  9      are looking to Category 1, 2, 3.              Obviously, there are
 10      different documents that are required the further away
 11      you go from the parent as a sponsor.                 So they are
 12      supposed to set up the fingerprints.                 I don't recall the
 13      time that they have to do that.             They are supposed to
 14      set up a CA/N check, if necessary.               They are supposed to
 15      set that up with the fingerprints so they go
 16      hand in hand.     But specific, no.           As I said, the goal is
 17      the safe timely release, but there are a lot of
 18      variables that come into play.
 19             Q.   During the course of your duties, in reviewing
 20      the information you received through the portal, have
 21      you had occasion to notice that certain case managers
 22      were not meeting the guidelines for prompt processing of
 23      the children's release?
 24                  MS. DAVILA:     Objection.         Vague.
 25      BY MR. HOLGUIN:

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  1             Q.   For example, if they took longer than 24 hours
  2      to get the family reunification application to the
  3      proposed sponsor.
  4             A.   Yes.
  5             Q.   And what is your process when you notice that?
  6             A.   Well, bear in mind that when I notice it, it's
  7      at the back end of the case because I do releases.                So I
  8      am not looking at the cases prior to the submission.
  9      Once they are submitted and I look at the case, I send
 10      them an e-mail that says, "What was the delay?              Why was
 11      there a delay in this case?"           I have had occasion to ask
 12      them those questions.
 13             Q.   At Homestead, approximately what percentage of
 14      cases do you find that the case managers or the other
 15      personnel at Homestead have failed to meet the
 16      guidelines, in your judgment, for prompt processing?
 17                  MS. DAVILA:     Objection.         Mischaracterizes
 18             prior testimony.
 19                  THE WITNESS:      I don't know if I would term
 20             fail to follow the timelines in some of the cases
 21             because of the fact that, as I said, a lot of the
 22             processing of the cases does depend on how good
 23             your sponsor is and how diligent the sponsor is in
 24             returning the paperwork and following up with the
 25             fingerprints, if they are required.

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  1                  So there are issues where I may send an e-mail
  2             asking about the length of stay, per se, and I will
  3             get back an answer from them and a timeline from
  4             them of why.    Not every case is the fault of the
  5             case manager.    Are there some?             Absolutely.
  6      BY MR. HOLGUIN:
  7             Q.   Sitting here today, can you recall any
  8      particular cases where the case managers were dilatory,
  9      in your judgment?
 10             A.   If you are speaking about a specific case, I
 11      don't know a specific case.          Again, the volume I deal
 12      with is rather high.      Have I seen cases recently that I
 13      thought were delayed?      Yes.
 14             Q.   But you cannot recall the name of any
 15      particular case?
 16             A.   No, no.
 17             Q.   Do you recall the last time you saw one?
 18             A.   I probably saw some yesterday.               I probably saw
 19      one the day before.      I can't recall specifics, again.
 20             Q.   You tend to see them with some frequency; is
 21      that correct?
 22             A.   There is frequency.         But again, some of the
 23      issues have been mitigated due to issues beyond the
 24      control of the case manager.
 25             Q.   I am only referring to those that, in your

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  1      judgment, are within the control of the case manager.
  2             A.   I have seen some.
  3             Q.   All right.    How many detained children does
  4      each case manager at Homestead assist?
  5             A.   The ratio at Homestead, I am not sure what
  6      they follow.
  7             Q.   To your knowledge, does ORR require any
  8      minimum or maximum ratio of case worker to children at
  9      Homestead?
 10             A.   In the shelters, I can speak of ratio, having
 11      run one for eight years.        But Homestead is a different
 12      contract, and I am not privy to the contract so I can't
 13      answer that.
 14             Q.   In the shelters that you are familiar with,
 15      other than Homestead, what was the ratio, typical ratio,
 16      of those places?
 17             A.   Are you speaking about case manager ratio in
 18      particular?
 19             Q.   Yes.
 20             A.   One to eight.
 21             Q.   Had you ever been advised by caseworkers at
 22      Homestead that they simply have too many children to
 23      process or manage?
 24             A.   Yes.
 25             Q.   How often have you heard that?

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  1             A.   The times that I would staff cases, I have
  2      heard that.    You are talking about this contract,
  3      correct?    Not the one before.
  4             Q.   This contract.
  5             A.   Several times I have heard that, and they have
  6      written that.
  7             Q.   And they have written it?
  8             A.   Yes.
  9             Q.   In writing that, do they say, you know, I have
 10      got this many cases and it's just too many?
 11             A.   They don't state it like that in writing, to
 12      my knowledge.      But they would say that the cases were
 13      recently transferred and things along those lines, that
 14      they had a lot of cases.
 15             Q.   Too many for them to handle?
 16             A.   They never said the words "too many for them
 17      to handle."
 18             Q.   But is it your understanding that they believe
 19      that they are being overworked?
 20                  MS. DAVILA:     Objection.         Mischaracterizes
 21             testimony.
 22                  THE WITNESS:      From issues that I have heard
 23             from them, some of them do believe that.
 24      BY MR. HOLGUIN:
 25             Q.   Do you recall the name of the last individual

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  1      who issued one of these kinds of reports?
  2             A.   No.
  3             Q.   Or any individual?
  4             A.   No.    I don't know specific names.           If I heard
  5      it in a meeting, it was in a meeting where there were
  6      some case managers and some lead case managers.               Some of
  7      them would voice that they felt overwhelmed.
  8             Q.   I believe you testified earlier that you had
  9      seen some of these reports in writing.
 10             A.   Well, I would see the transfer of the child.
 11      They would never specifically put "I am overworked" in
 12      writing.
 13             Q.   The transfer of the child, what does that --
 14             A.   Meaning a case manager left, so the child was
 15      moved to a different case manager.
 16             Q.   Are you aware of the rate of turnover of case
 17      managers at Homestead?
 18             A.   I am not aware of the rate.             I don't deal with
 19      human resources.      My experience is that it's high.
 20             Q.   Now, when you say "high," you're comparing it
 21      to what your experience is in other shelters, correct?
 22             A.   Yes.
 23             Q.   So in other shelters, what is the rate of
 24      turnover that you recall?
 25             A.   It is lower.     But you need to take into

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  1      account that Homestead is an influx shelter.               So an
  2      employee of Homestead understands that it could ramp up
  3      and down, and it is not permanent.               So the turnover is
  4      higher in an influx shelter for that reason.               They may
  5      take it, and then they get a more permanent job.               You
  6      can't blame them for wanting a more permanent position.
  7             Q.   In what other ways, testifying here today,
  8      come to mind that Homestead differs from the other
  9      shelters you have worked in or with, apart from the rate
 10      of turnover in case managers?            What else comes to mind?
 11             A.   In what sense are you referring to?
 12             Q.   Well, in terms of the experience that a child
 13      would have at Homestead versus the other shelters you
 14      have worked in.
 15                  MS. DAVILA:     Objection.         Vague.
 16                  THE WITNESS:      My answer to you is that
 17             Homestead has many more children than these other
 18             shelters.   Catholic Charities' Boys Town, for
 19             example, which is a shelter where I was the
 20             director, we had 81 kids.           So you can't look at the
 21             experience of a shelter where there are 81 kids
 22             versus 2,300.   It is a very different experience.
 23      BY MR. HOLGUIN:
 24             Q.   Is the larger shelter you worked with, other
 25      than Homestead, this particular shelter with 81

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  1      children?
  2             A.   Yes.    And I covered His House, which at the
  3      time was up to 123.      I have not covered any facility
  4      higher than that.
  5             Q.   Can you speak to the turnover rate of case
  6      managers at His House?
  7             A.   I can't speak to that because I only covered
  8      His House on occasion.        So I don't know the turnover
  9      because I am not that familiar with the staff.
 10             Q.   What about the other shelter that you
 11      referenced with approximately 80 children?
 12                  MS. DAVILA:     Objection.         Vague.
 13                  THE WITNESS:      You are referring to Boys Town,
 14             I take it?
 15      BY MR. HOLGUIN:
 16             Q.   Boys Town, yes.
 17             A.   They don't have a high turnover rate.
 18             Q.   Do you recall how many case managers they had
 19      there?
 20             A.   Not by number.       If there are 81 kids, they are
 21      at a ratio of one to eight.
 22             Q.   So perhaps ten?
 23             A.   Yes.    They stay pretty close to ratio.
 24             Q.   In the course of a year, how many of those
 25      approximate ten case managers would be changed?

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  1             A.      Maybe two, maybe one.
  2                     MR. HOLGUIN:      Let's take a five-minute break.
  3             Is that acceptable?
  4                     MS. DAVILA:     Yes, that's fine.
  5                     MR. HOLGUIN:      Thank you.
  6                    (Recess taken in the proceedings from 10:41
  7      a.m. to 10:51 a.m., after which the following
  8      proceedings were had:)
  9                     MR. HOLGUIN:      Back on the record.
 10      BY MR. HOLGUIN:
 11             Q.      The times you have been at Homestead,
 12      approximately how much time do you spend there?
 13             A.      Four to six hours.
 14             Q.      Were you provided a tour of the facility when
 15      you were there on any of the occasions you have been
 16      there?
 17             A.      On the first contract, when they first opened,
 18      I was.       On the second contract, I didn't -- I went on --
 19      I think I did go on a tour, but it wasn't for me, the
 20      tour.       I think there was a visit, and I think I
 21      accompanied.
 22             Q.      It was a group of people?
 23             A.      Yes.
 24             Q.      So you are familiar with the basic physical
 25      plant?

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  1             A.   Yes.
  2             Q.   Did you have occasion to observe children
  3      moving through the facility?
  4             A.   No.    I mean, I have seen them outside.
  5      Technically, the procedure of moving from one building
  6      to another, no.
  7             Q.   Did you have occasion to observe, for example,
  8      a line of children moving from one place to another?
  9             A.   Yes.
 10             Q.   And I assume that to gain entry of the
 11      facility, you went through a certain process; is that
 12      right?
 13             A.   Yes.
 14             Q.   Identifying yourself?
 15             A.   Yes.
 16             Q.   Did you have occasion to notice that there
 17      were gates and there is a perimeter fence around
 18      Homestead?
 19             A.   Yes.
 20             Q.   Now, in your experience with prior shelters,
 21      is the level of security at Homestead comparable,
 22      greater than or less than, to what you would normally
 23      experience or expect at a shelter?
 24                  MS. DAVILA:     Objection.         Mischaracterizes
 25             prior testimony.

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  1                  THE WITNESS:     I can speak of the only shelter
  2             that I really visited, which is His House and Boys
  3             Town.    His House has a gatehouse.           You cannot get
  4             in without going through -- there is one way in,
  5             one way out.   There is a guard gate.            So it is
  6             similar, I would say.       It's much smaller.        Again,
  7             you're dealing with 2,300 children versus 123
  8             children.
  9                  So His House does have a guardhouse.             There is
 10             only one way in and one way out.             Boys Town does
 11             have a perimeter fence.        They have to go through
 12             and buzz in and it's pretty secure in that sense.
 13             You can't just walk into the building.             A staff
 14             member has to physically bring somebody in.             So I
 15             would say it's similar.
 16      BY MR. HOLGUIN:
 17             Q.   In terms of licensing, were Boys Town and
 18      His House licensed by the state in which they were
 19      located as dependent care shelters?
 20             A.   They are licensed under the shelter care
 21      requirement or under Department of Children and
 22      Families.      I think they changed them to a
 23      group-home-type of setting.          But yes, they are licensed
 24      by the state of Florida, if that is your question.
 25             Q.   And both facilities you are referencing are in

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  1      the state of Florida?
  2             A.   Yes.
  3             Q.   Now, are you aware of whether Homestead has a
  4      license?
  5             A.   I have not physically seen or noticed if they
  6      had a license, but I believe that they are not licensed.
  7             Q.   Now, you have characterized Homestead as an
  8      influx facility, correct?
  9             A.   Yes.
 10             Q.   Are there other influx facilities that ORR
 11      operates or places children?
 12             A.   Are you speaking currently or in the past?
 13             Q.   Currently.
 14             A.   No.    Homestead is the only current one, to my
 15      knowledge.
 16             Q.   And to your knowledge, is the Homestead
 17      facility, the population there, expected to grow or to
 18      shrink or stay the same?
 19             A.   Homestead will rev up and rev down, depending
 20      on the census.      It's census driven, which is why it is
 21      an influx shelter.      It can rev up, I believe, and it can
 22      ramp down depending on population, children coming over.
 23             Q.   You aware of any plans to either expand or
 24      shrink the capacity at Homestead?
 25             A.   Currently?

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  1             Q.   Yes.
  2             A.   I believe they are expanding.              I can't tell
  3      you a number.      I am not in that planning process.            I
  4      don't really know.     I have heard rumors of expansion,
  5      but I honestly don't know.
  6             Q.   Are you familiar with how ORR decides to send
  7      a child to an influx facility like Homestead as opposed
  8      to any other facility?
  9             A.   At intake, when they receive information when
 10      a child is picked up, they will not send a child that is
 11      under the age of 13 to Homestead.             They try not to send
 12      pregnant minors.      It happens on occasion because the
 13      girls didn't know they were pregnant.                They screen for
 14      gang involvement before they send to an influx shelter.
 15      So an influx shelter's population would meet the same
 16      criteria as a shelter would in terms of the children
 17      that intakes -- delegates to Homestead and other
 18      shelters.
 19             Q.   So then as a practical matter, how is it that
 20      a child who is not a gang member and who is not pregnant
 21      ends up at Homestead versus another shelter?
 22             A.   I think it's availability.              I don't think
 23      there is any other issue than availability of beds.
 24             Q.   Are you aware of any policy whereby children
 25      initially placed at Homestead are stepped down or

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  1      transferred to another shelter?
  2             A.   A policy, per se, or do we transfer children
  3      that have been placed at Homestead to other shelters?                 I
  4      am not quite sure.
  5             Q.   Let's start with policy.             Are you aware of any
  6      policy that says, you know, after so much time at
  7      Homestead, we are going to transfer a child to another
  8      facility?
  9                  MS. DAVILA:     Objection.         Vague.
 10                  THE WITNESS:      I would say I am aware in the
 11             first opening of Homestead, but I believe what I
 12             was instructed was that it depends on the capacity
 13             nationwide, specifically.
 14      BY MR. HOLGUIN:
 15             Q.   Is it your understanding that if there is a
 16      bed available at another facility, a shelter, that a
 17      child is eligible to be transferred out of Homestead to
 18      that facility because there is a bed available?
 19                  MS. DAVILA:     Objection.         Misstates prior
 20             testimony.
 21                  THE WITNESS:      I wouldn't say that because,
 22             obviously, intakes are the ones that send the
 23             children places.     Yes, a child could be
 24             transferred, but you're looking at availability.               A
 25             lot goes into whether or not a child can be

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  1             transferred.    It's not all dictated by that.
  2                  When we were running on 85 to 90 percent
  3             capacity, there was nowhere to put the kids.           The
  4             minute a child left, the beds were taken in other
  5             facilities.    So I don't know how to answer your
  6             question.
  7      BY MR. HOLGUIN:
  8             Q.   You reference other factors, in addition to
  9      availability.      What other factors come to mind?
 10             A.   For a transfer of a child?
 11             Q.   Yes.
 12             A.   We have to look at if the needs of the child
 13      are better met elsewhere.         We have children that may
 14      need a smaller environment.          They can't work within a
 15      large shelter.      There is a lot of varying reasons of why
 16      a child is transferred, and not all of them are
 17      length-of-stay driven.       Some are, but not all of them
 18      are.
 19             Q.   When you say "length-of-stay driven," are you
 20      referring to simply the number of days or weeks or
 21      months the child has been there --
 22             A.   Yes.
 23             Q.   -- or are you referring to the impact of the
 24      length of detention on the child's --
 25             A.   Both.

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  1             Q.     Both.    So how is it that ORR becomes aware
  2      that detention has become so lengthy that a child should
  3      be transferred out of Homestead?
  4             A.     I don't use the term "detention."            It's a
  5      shelter.      It is not a detention facility.            I want to
  6      make that clear.        That's how I understand the verbiage
  7      as a social worker.
  8                    Now, when do they become aware?            You can
  9      become aware of it when the shelter provides
 10      length-of-stay reports.
 11             Q.     But that just gives a raw number of days or
 12      weeks that a child has been at Homestead, correct?
 13                    MS. DAVILA:     Objection.         Assumes facts not in
 14             evidence.      Objection.      Foundation.
 15                    THE WITNESS:      The length-of-stay report has
 16             other data on it, where the case is at and the
 17             progression of the case, which is also taken into
 18             consideration.
 19      BY MR. HOLGUIN:
 20             Q.     Who makes the decision as to whether a child
 21      should be transferred out of Homestead to another
 22      shelter?
 23             A.     The ultimate decision?            The FFSs are the ones
 24      that approve it.        Again, it's myself and                at this
 25      point.      Until October,                         was an FFS at

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  1      Homestead.    He was promoted, but he and I worked
  2      together at Homestead.       Sometimes my supervisor will
  3      say,           I need you to look at this case.               Let's
  4      move this child."     She is staffing.              Sometimes the CFS,
  5      the contracted field specialist who is staffing cases at
  6      Homestead, will send an e-mail saying, "Hey, we need to
  7      move on this child," for whatever reason it is.                 So I
  8      guess that is the way I can answer your question.
  9             Q.   So then you personally, have you had occasion
 10      to decide whether a child should be moved out of
 11      Homestead to another facility?
 12             A.   Yes.
 13             Q.   How often does that happen?
 14             A.   It varies, as well.         You mean that I am the
 15      one that initiates and says, "Let's transfer this kid"?
 16             Q.   Well, let's just talk about the number of
 17      times you were involved in any capacity in a transfer
 18      decision.
 19             A.   I am involved in quite a few of them.
 20             Q.   The day before yesterday, for example, did you
 21      have occasion to consider or be involved in any transfer
 22      decisions?
 23             A.   I was involved with one, yes.
 24             Q.   What was the circumstance there?
 25             A.   The child had a brother in long-term foster

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  1      care in New York.     I was trying to -- she had only been
  2      in Homestead for eight days, but I was trying to get her
  3      to New York to be closer to her brother.
  4             Q.   As far as initiating consideration of
  5      transfers, who does that?
  6             A.   It could be anyone from the case coordinator,
  7      to the case manager, to the lead case manager, to the
  8      program administer, to the CFS.            A lot of different
  9      people make recommendations.
 10             Q.   Is there a maximum amount of time ORR allows a
 11      child to be housed at Homestead?
 12             A.   Currently not.      I was instructed if the
 13      population census nationwide is 85 percent or higher,
 14      then no.
 15             Q.   So even though there is 15 percent of bed
 16      capacity available in other facilities, there is still
 17      no limit on the amount of time a child can be
 18
 19             A.   Not to my knowledge.
 20             Q.   -- at Homestead?
 21             A.   Not to my knowledge.
 22             Q.   I think you already answered this, but I just
 23      want to make sure.     No limit, for example, on 200 days
 24      that a child can be detained at Homestead?
 25             A.   Again, it's case by case.               I can't recall or I

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  1      don't know what case you are talking about.                I don't
  2      know the particulars in the case, so it is very
  3      difficult for me to answer your question.
  4             Q.   Are you aware of any plans that ORR currently
  5      has to close Homestead?
  6             A.   I am not aware of a plan in place, but I am
  7      sure that once the numbers dwindle to where they don't
  8      need Homestead, they will close Homestead.                The influx
  9      shelter is there if needed.
 10             Q.   Are you aware of how ORR defines an influx?
 11             A.   No.    I don't know, per se.            I would presume it
 12      is based on capacity.      If you have 300 children waiting
 13      at the border daily and there is nowhere to place them,
 14      you use an influx shelter.         I mean, I think it's driven
 15      by the census.
 16             Q.   You were involved with ORR in 2012; is that
 17      correct?
 18             A.   As a program director at Children's Village
 19      Boys Town, not as a federal employee.
 20             Q.   But at that time, you were aware that there
 21      was at least some reports of an influx that resulted in
 22      the opening of temporary shelters, for example, at
 23      Lackland Air Force Base?
 24             A.   Yes.
 25             Q.   You were aware of that?

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  1             A.   Yes.
  2             Q.   Were you aware of how long that facility
  3      remained opened?
  4             A.   No.
  5             Q.   But you did become aware that it was closed,
  6      correct?
  7             A.   Yes.
  8             Q.   What is your understanding of the
  9      qualifications, minimum qualifications, necessary to do
 10      your job as a federal field specialist in charge of
 11      release?
 12             A.   I believe the minimum is -- I don't really
 13      know what the minimum is.            I think that I have read that
 14      it was a bachelor's degree and X number of experience in
 15      the field.
 16             Q.   What about the case coordinators?             Are you
 17      aware of the minimum qualifications to become a case
 18      coordinator?
 19             A.   I am not.    I was one.           It wasn't called case
 20      coordinator and it was under a different contract.               The
 21      case coordinators I am most familiar with at Homestead
 22      all have master's degrees.
 23             Q.   So you were an employee of GDIT?
 24             A.   No.    Never.     USCCB.
 25             Q.   You are talking about the U.S. Conference of

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  1      Catholic Bishops?
  2             A.   Yes.
  3             Q.   At some point in time, the USCCB functioned or
  4      provided case coordinators?           In other words, they were
  5      doing what GDIT does now, correct?
  6                  MS. DAVILA:     Objection.         Vague.
  7                  THE WITNESS:      USCCB had a contract with ORR,
  8             as well as LIRS.     It was the two agencies that
  9             dealt with the case coordination.             It was called
 10             field coordination then, contract.             There were two
 11             agencies.
 12      BY MR. HOLGUIN:
 13             Q.   Is that the same function that now GDIT has
 14      taken over?
 15             A.   It was a bit different.
 16             Q.   How was it different?
 17             A.   It differed in the sense that, in my position,
 18      we covered an RTC.     I was the person doing the case
 19      management, so I was the person speaking to the sponsors
 20      and I was the person getting the FRP, which is a little
 21      different.    They don't do that currently.             I was the one
 22      that had to write referrals for foster care, if it was
 23      warranted.    That was one facility, which was Tampa Bay.
 24      So it was a little different because it was a little
 25      more intense back then in terms of the responsibility.

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  1             Q.   Is it fair to say that your role as a case
  2      coordinator for --
  3             A.   Field coordinator.
  4             Q.   -- a field coordinator was more hands-on than
  5      the functions of the case coordinators under GDIT?
  6                  MS. DAVILA:     Objection.         Mischaracterizes
  7             prior testimony.
  8                  THE WITNESS:      I would say that is an unfair
  9             assessment in the sense that the numbers were much
 10             lower.   In the facility that we covered, the census
 11             was lower.   So they are covering more territory
 12             because there are more programs now and the census
 13             is higher.   So yes, I was more hands-on than they
 14             are currently.
 15      BY MR. HOLGUIN:
 16             Q.   Where are the GDIT case coordinators
 17      physically located?      Do you know?
 18             A.   The ones that I provided the names for are in
 19      Miami.
 20             Q.   Do they ever go to Homestead, to your
 21      knowledge?
 22             A.   Yes, they do.
 23             Q.   Do they go there regularly?
 24             A.   I believe they do, but I am not 100 percent
 25      sure.

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  1             Q.   Do you know whether they interact with or
  2      interview children when they go?
  3             A.   I can tell you that they have.           I can't tell
  4      you when or how recent that was.             I can tell you that
  5      they have.
  6             Q.   But you can't tell me how frequently they do
  7      that?
  8             A.   I cannot tell you that.           I am not physically
  9      there, so I really don't know the answer.
 10             Q.   When you get information from the case
 11      coordinators, does that come through the portal as well?
 12             A.   The majority of the information.           They also
 13      send an e-mail that they have reviewed the case so that
 14      I know that the case is ready.
 15             Q.   What types of information do they enter into
 16      the portal?
 17             A.   Into the portal, the only information they
 18      enter is on the release request document.
 19             Q.   On the release request document, what specific
 20      information do they add, the case coordinators?
 21             A.   Typically, their recommendation of the case
 22      and sometimes a little brief of why, particularly if
 23      they don't necessarily agree with the case manager.
 24             Q.   In the circumstances where they do agree with
 25      the case manager, is it typically the case that they

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  1      will just say that we agree?
  2             A.   Some of them write more than others.              I don't
  3      think they ever just write "I agree," but some of them
  4      write a little more than others, I would say.
  5             Q.   Do the case coordinators have any role in
  6      ordering home studies?
  7             A.   They recommend home studies.
  8             Q.   And the decision to perform one is yours and
  9      your supervisor's, your office, correct?
 10             A.   Yes.
 11             Q.   Do you have occasion to speak on the telephone
 12      with any of the case coordinators?
 13             A.   Yes.
 14             Q.   About how often does that happen?              In how many
 15      cases?
 16                  MS. DAVILA:     Objection.         Compound.
 17                  THE WITNESS:      I can't give you a number of
 18             cases.    It is typically when there is a complex
 19             case.    I would say I speak to them probably weekly,
 20             if I was going to make a guesstimate to you.              I
 21             would speak to the case coordinators -- not the
 22             pool case coordinators, but the case coordinators
 23             that are staffing the cases with the case managers.
 24      BY MR. HOLGUIN:
 25             Q.   What is the difference between a pool case

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  1      coordinator and the staff case coordinator?
  2             A.   The case coordinators that are staffing the
  3      cases enter their staffing notes into their system so
  4      that others can see.       Because, again, you are dealing
  5      with a high volume, they have a pool of other case
  6      coordinators in other regions that actually do their
  7      recommendations for them.          They read the case notes that
  8      the others provide and make their recommendations.
  9             Q.   So the case coordinator's recommendation with
 10      respect to any given child might be made by someone
 11      outside of Miami?
 12             A.   Yes.   Yes.
 13             Q.   You refer to these as pool case coordinators?
 14             A.   Yes.
 15             Q.   Approximately what percentage of the
 16      recommendations come from the pool versus the --
 17             A.   Almost all of them.
 18             Q.   Almost all come from the pool?
 19             A.   Yes.
 20             Q.   Are you aware of their actual physical
 21      location geographically?
 22             A.   They are all over.
 23             Q.   To your knowledge, have any of the pool case
 24      coordinators ever come to Homestead or talked with any
 25      kids?

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  1             A.   Not to my knowledge.
  2             Q.   When you were working at U.S. Conference of
  3      Catholic Bishops as the prior -- the predecessor to the
  4      current case coordinators, those were nonprofit
  5      organizations, correct?
  6             A.   Yes.
  7             Q.   Are you aware of whether GDIT is a nonprofit?
  8             A.   I honestly don't know.
  9             Q.   How long, if you know, has GDIT been
 10      functioning as a case coordinator?
 11             A.   I am not sure of the date that they started,
 12      but I was working at Boys Town as the program director
 13      and they were already installed.             I mean, I left case
 14      coordination in 2006 before I joined Catholic Charities,
 15      Boys Town.    So probably a year or two after that that
 16      they received the contract.          A year after I left USCCB
 17      they had the contract, I believe, for a year more with
 18      LIRS.
 19                  Then after that, LIRS got the contract solely
 20      and USCCB did not.     Then it went from LIRS to GDIT.          But
 21      I am not sure on the dates, to be honest with you.             It
 22      didn't really have anything to do with me at that point.
 23             Q.   Would approximately 2008 --
 24             A.   I would say maybe 2009, 2010 maybe.           I recall
 25      that USCCB, when I left, they still had the contract.

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  1      Then after that contract period was over, LIRS got the
  2      full contract.      Then after LIRS, they gave it to GDIT.
  3      I was not working for ORR at the time, so I can't really
  4      give you the specifics.
  5             Q.    Now, the case coordinators, what information
  6      are they provided when they make their recommendation,
  7      the same information you receive from the case managers?
  8             A.    No.   They typically have a little bit more.
  9      They have the staffing notes.             They use a system called
 10      OneNote, which we don't have access to.                  The case
 11      coordinators that are local do the staffing with the
 12      various case managers and case management teams.                    On the
 13      more complex cases, they take notes.                  I am not privy to
 14      the notes.
 15                   They may tell me, "Hey, we staffed this case
 16      today."     I get phone calls from them, but I am not privy
 17      to that.     The pool case coordinators are able to view
 18      the notes that the other case coordinators write.
 19             Q.    So there is a separate system that GDIT
 20      maintains where they record data around children that
 21      you are not able to access?
 22                   MS. DAVILA:     Objection.         Mischaracterizes
 23             prior testimony.
 24                   THE WITNESS:      I am not saying data, per se,
 25             but I am saying notes of staffings that they have

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  1             held.
  2      BY MR. HOLGUIN:
  3             Q.   What is an example of a note of staffing?           I
  4      am having trouble understanding what they have access to
  5      that you don't.
  6             A.   They are physically there to report.          I don't
  7      know if it's telephonically or physically with all of
  8      them, but they staff the cases.            So on a more complex
  9      case, they may write a note of what is going on with the
 10      case so that the case manager can record it just so that
 11      the other case coordinator will have that piece when
 12      they review it.
 13             Q.   Do you know of any reason why you are not
 14      permitted to access that information?
 15             A.   It is on their internal system.          It is their
 16      own system.    They will elevate a case, though.          If they
 17      are staffing a case and there is an issue, they will
 18      elevate the case to us.
 19             Q.   What does it mean to elevate a case to you?
 20             A.   They will either call or send an e-mail
 21      letting us know that they staffed this case and there
 22      were some concerns with the case.
 23             Q.   To your knowledge, are those concerns about a
 24      particular case that is shared with the children who are
 25      being considered for release?

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  1             A.   I don't know the answer to that.            The case
  2      managers meet with the child weekly and they review the
  3      progression of the case.        To some extent, I am sure it
  4      is, but I am not there.       I don't know.         I can't really
  5      answer with certainty.
  6             Q.   Are the case managers privy to the
  7      information, all the information that the case
  8      coordinators have?
  9             A.   Are you speaking of their internal notes on
 10      their system?
 11             Q.   Yes.
 12             A.   No, they are not privy to those.
 13             Q.   As a matter of course, then, there is
 14      information that only the case coordinators have; is
 15      that correct?
 16             A.   The information that they have in their
 17      staffing notes comes from the case managers.              So I am
 18      not quite sure that I would characterize it as they
 19      don't have access to it.        Because it is solely based on
 20      the staffing of the case with the case manager.              I am
 21      not sure if it's any information that the case managers
 22      wouldn't already have.
 23             Q.   So then everything that the case
 24      coordinators have -- all the information the case
 25      coordinators have comes from the case managers; is that

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  1      correct?
  2             A.   And the lead case managers, yes, and the
  3      clinicians.
  4             Q.   But there is some information that comes from
  5      those sources that is not entered into the portal?
  6             A.   Possibly.    You are asking me, and I don't have
  7      access to it so I don't know.           I don't know if they are
  8      putting all of the information on the release request.
  9      I honestly don't know the answer to that.
 10             Q.   What about the parents and other proposed
 11      sponsors for the children?         Are they privy to the
 12      information that the case coordinators have?
 13             A.   I am not sure I understand in what sense you
 14      are speaking.
 15             Q.   Do the proposed sponsors receive any summary
 16      or the actual information, a copy of the information
 17      that the case coordinators are using to make a
 18      recommendation?
 19             A.   No.
 20             Q.   Did they ever receive a copy of the case
 21      manager's information, the information case managers
 22      have collected, to make a recommendation regarding
 23      release?
 24             A.   No.
 25             Q.   Did the parents or other proposed sponsors

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  1      ever receive a copy of the information you used to base
  2      a decision to release or not?
  3             A.     They receive information in terms of
  4      vaccinees, follow-up.         They receive information -- if
  5      the case is denied, they send notification to them that
  6      it's denied, unless it is a parent.                    Then that
  7      notification comes from headquarters of ORR.
  8                    But do they receive my notes?                No.   Do they
  9      receive the case notes?          No.     The case coordinator
 10      notes?      No.   But they are provided with information
 11      concerning any follow-up, the vaccinees, that type of
 12      information.
 13             Q.     What is the principal reason for declining to
 14      release the child to a proposed sponsor?
 15                    MS. DAVILA:     Objection.         Vague.
 16                    THE WITNESS:      I don't quite -- you are
 17             talking -- there are a lot of different reasons on
 18             why, and they are primarily based on safety.
 19      BY MR. HOLGUIN:
 20             Q.     Is it fair to say that the primary reason
 21      could be summed up as you don't believe the proposed
 22      custodian is a fit caregiver for a child?
 23                    MS. DAVILA:     Objection.         Mischaracterizes
 24             prior testimony.       Objection.         Foundation.
 25                    THE WITNESS:      I wouldn't term it "fit."             I

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  1             would term it that there are issues that involve
  2             safety.   Due to the safety issues, then we would
  3             have to deny a sponsor or staff denies a sponsor.
  4             We don't take it lightly.          It is not done often.
  5      BY MR. HOLGUIN:
  6             Q.   That it would be an unsafe placement for the
  7      child to release them?
  8             A.   Correct.
  9             Q.   In terms of what is safe, are there any
 10      guidelines that ORR has as to --
 11             A.   Yes.
 12             Q.   Are those in the MAP and the ORR online
 13      policy?
 14             A.   They are in the ORR policies.           You can find
 15      where it says reasons for denial.
 16             Q.   Are you aware of any sort of reasons that will
 17      automatically disqualify a house or a placement as being
 18      unsafe?
 19             A.   Yes.
 20             Q.   What are those?
 21             A.   There are certain criminal offenses that are
 22      all listed on the policy that would disqualify a
 23      household.    Not necessarily the parental household, but
 24      the Category 2 and 3 household.            There is definitely a
 25      list of those.     On a Category 3, if there is no proof of

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  1      a prior relationship, and I am talking about Category 3
  2      non-related sponsors, then we would deny that because,
  3      obviously, we have to look at the possibility of
  4      trafficking when you're dealing with an unrelated
  5      sponsor.    So there is criteria that has to be met, and
  6      it's very -- there could be a home study for some reason
  7      that came back negative that we would have to look at
  8      too in terms of whether that is a safe release or not.
  9             Q.   But that is not an automatic disqualification?
 10             A.   No.
 11             Q.   Whereas the lack of a prior relationship in a
 12      Category 3 sponsor --
 13             A.   Unrelated.
 14             Q.   -- is an automatic disqualifier?
 15             A.   Well, if you can't prove there was a
 16      relationship, yes.     And I am talking about unrelated
 17      Category 3, not necessarily a related Category 3.             If
 18      there is no proof, if they don't know anything about
 19      each other, they found somebody to sponsor that is
 20      unknown to the child and the family, it's a denial.
 21             Q.   It is an automatic denial, correct?
 22             A.   Yes.
 23             Q.   Having worked in child welfare before coming
 24      to ORR, was it your experience that state child
 25      protective agencies would place children in foster

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  1      homes?
  2             A.   Yes.
  3             Q.   In your experience, were those foster
  4      parents -- did they uniformly have preexisting
  5      relationships with the children they received?
  6             A.   No.
  7             Q.   Did you ever consider that was a problem that
  8      would create an unsafe environment for those children?
  9             A.   I have never qualified a foster parent, so I
 10      don't feel I am qualified to answer your question.
 11             Q.   In general, you are aware that when an adult
 12      applies to be a foster parent, there is basically an
 13      evaluation of their qualifications, correct?
 14                  MS. DAVILA:     Objection.         Calls for
 15             speculation.
 16                  THE WITNESS:      Again, that is not my area of
 17             expertise.    I have never qualified or disqualified
 18             a foster parent.
 19      BY MR. HOLGUIN:
 20             Q.   Have you ever qualified or disqualified any
 21      adult who has sought the custody of a child prior to
 22      coming to ORR?      In other words, your work before coming
 23      to ORR, did you have occasion to place children with
 24      other adults, other than their parent?
 25                  MS. DAVILA:     Objection.         Vague.   Objection.

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  1             Compound.
  2                  THE WITNESS:      In my work in New York, I assume
  3             that is what you were referring to.             I did not
  4             place; the child welfare agency placed.             I did not
  5             qualify or disqualify the adults.             I made a
  6             recommendation from a home visit, but it was not my
  7             decision to place or not to place a child.
  8      BY MR. HOLGUIN:
  9             Q.   To your recollection, did you automatically
 10      recommend against placing a child with an unrelated
 11      adult for lack of a preexisting relationship?
 12                  MS. DAVILA:     Objection.         Asked and answered.
 13             Objection.   Mischaracterizes prior testimony.
 14                  THE WITNESS:      Again, I did not make the
 15             referrals to foster care from that agency, so I
 16             can't answer that question.            I don't know.
 17      BY MR. HOLGUIN:
 18             Q.   I am referring to your recommendations.
 19                  MS. DAVILA:     Objection.         I am going to make a
 20             standing objection to this line of questioning.
 21                  THE WITNESS:      You're also asking me questions
 22             from 20 years ago or so.          You are asking me a
 23             difficult question in terms of telling you.
 24                  I can tell you that when I was at the program
 25             in New York, there was only one case that I did

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  1             make a recommendation not to return to the parent
  2             following a home visit.         That child went to a
  3             grandmother.    So that child didn't go to a
  4             stranger.   I can't tell you about that because I
  5             have not dealt with that.
  6      BY MR. HOLGUIN:
  7             Q.   In developing that rule, that ORR will not
  8      release a child to an unrelated adult unless there is a
  9      preexisting relationship, are you aware of any studies
 10      that ORR consulted in providing that?
 11                  MS. DAVILA:     Objection.         Mischaracterizes
 12             prior testimony.
 13                  THE WITNESS:      I want to clarify that I'm
 14             stating that there was no preexisting with the
 15             family or the child.
 16      BY MR. HOLGUIN:
 17             Q.   Correct.
 18             A.   Am I aware of studies?            No, I am not.
 19             Q.   Are you aware of any incidents in which --
 20      well, are you aware of any incidents in which ORR
 21      released a child to an unrelated adult and there was
 22      abuse or neglect?
 23             A.   I am not familiar with the case, but I am
 24      familiar with a case that we sent for home study because
 25      of that fact; that the relationship was rather vague,

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  1      the home study worker determined that the person ran a
  2      restaurant and had other people in her home with beds
  3      all over the floor, no food in the house.
  4             Q.      That was an individual investigation, correct?
  5                     MS. DAVILA:     Objection.         Counsel has
  6             interrupted the witness.
  7                     Did you finish your answer?
  8                     THE WITNESS:      No.
  9                     MS. DAVILA:     Please allow the witness to
 10             finish her answer.
 11      BY MR. HOLGUIN:
 12             Q.      Please finish.
 13             A.      What I am telling you is that unlike some of
 14      the other populations that I have worked with, we have
 15      children that could possibly be trafficked.                 So when you
 16      are looking at preestablished relationships, you are
 17      really concerned with possible trafficking, which brings
 18      a different level to safety.
 19                     The concern is there for that purpose.              We are
 20      talking about safety.          And have I seen that?         Yes, I
 21      have.       I have in the case I just described, and I am
 22      sure I could find others to discuss with you.                   After the
 23      fact, I don't have any knowledge.
 24             Q.      Is it your understanding that U.S. citizen
 25      children are not trafficked?

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  1             A.   No.    That is not what I am saying.
  2             Q.   U.S. citizen children may be trafficked as
  3      well, correct?
  4             A.   Yes.
  5             Q.   And the children that ORR has may be
  6      trafficked?
  7             A.   Yes.
  8             Q.   Does ORR place children with foster families?
  9             A.   Yes.
 10             Q.   Is that term long-term foster care?
 11             A.   There are two terms.          There is transitional
 12      foster care and long-term foster care.
 13             Q.   Now, how do those differ?
 14             A.   Transitional is typically for tender aged
 15      children or parenting teens, so they are not in a large
 16      shelter while their reunification is going on.
 17      Long-term foster cares are children without a viable
 18      sponsor who meet criteria for some sort of legal relief.
 19             Q.   All right.    Now, approximately how many
 20      children does ORR place per year in long-term foster
 21      care?
 22             A.   I don't oversee any long-term foster care
 23      programs.    I don't know the numbers.
 24             Q.   Are you involved at all in placing children in
 25      long-term foster care?

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  1             A.   We don't place them at Homestead.             If a child
  2      has no viable sponsor and could possibly have a legal
  3      case, we send them to the local shelters.
  4             Q.   And here in Miami, what are the local
  5      shelters?
  6             A.   His House and Boys Town.
  7             Q.   So they are transferred from Homestead to the
  8      local shelters, and then the local shelters would manage
  9      the placement --
 10             A.   The process.
 11             Q.   The process of placing them in long-term
 12      foster care?
 13             A.   Yes.    Yes.
 14             Q.   How are the families or foster parents that
 15      receive children in the long-term foster care program
 16      selected?
 17             A.   I can't answer that.
 18             Q.   Do they have preexisting relationships with
 19      the children who come into ORR custody?
 20                  MS. DAVILA:      Objection.         Speculation.
 21             Objection.    Mischaracterizes prior testimony.
 22             Objection.    Foundation.
 23                  THE WITNESS:       Not to my knowledge.        Again, I
 24             don't work in foster care.            I can't really, truly,
 25             answer your question.

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  1      BY MR. HOLGUIN:
  2             Q.   Are you aware of any child protective
  3      services, agency, state or local level, that also
  4      pursues a policy, blanket policy, of denying release to
  5      unrelated adults who lack a prior existing relationship
  6      with a child?
  7                  MS. DAVILA:     Objection.         Mischaracterizes
  8             prior testimony.
  9                  THE WITNESS:      Not to my knowledge.        I work
 10             with a specific population.
 11      BY MR. HOLGUIN:
 12             Q.   In addition to that blanket policy, and the
 13      ones involving -- would you characterize them as serious
 14      criminal convictions or background that are
 15      disqualifiers?
 16             A.   Yes.
 17             Q.   In addition to those two, can you think of any
 18      others that automatically disqualify someone from
 19      receiving a child from ORR custody?
 20             A.   Well, the criminal is a big one.            As I said to
 21      you, if the house is not safe.             Let's say, they do a
 22      home study and it comes back negative for reasons that
 23      is safety driven, then it could be safety.              It is always
 24      about -- the bottom line is always safety.
 25             Q.   Now, in terms of safety, is it a safety

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  1      concern if a child's proposed sponsor does not have a
  2      separate room for the child?
  3             A.   Not necessarily.
  4             Q.   So that shouldn't disqualify?
  5             A.   That is not --
  6                  MS. DAVILA:     Objection.         Mischaracterizes
  7             prior testimony.
  8                  THE WITNESS:      It's case by case.        I don't know
  9             what situation the child is going to.            But not
 10             necessarily.     Would that be the only factor?         No.
 11      BY MR. HOLGUIN:
 12             Q.   But the lack of a private bedroom for a child
 13      is a factor that you would consider in determining
 14      whether a placement is safe, correct?
 15             A.   Not necessarily.        Again, it's case by case.
 16             Q.   Is the lack of a private bedroom relevant to
 17      the decision as to whether a placement is safe?
 18             A.   No.   But we would look to make sure that there
 19      was a bed for the child, their own bed, as well as a
 20      place to store belongings.
 21             Q.   What about the availability of a licensed
 22      driver in the household?         Is that a factor contributing
 23      to the safety determination?
 24             A.   No.   No.
 25             Q.   Are you aware of what criteria the case

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  1      coordinators apply in making their recommendations?
  2             A.   They would have to use policy and procedures.
  3      I am not quite sure of their internal workings.                 You
  4      need to ask somebody from GDIT that question.                 I don't
  5      know.
  6             Q.   In terms of your decision-making, do you give
  7      any greater or lesser weight to the recommendation of
  8      the case manager over the case coordinator?
  9             A.   I would say no.       I review them.          I don't
 10      always agree with the case coordinator and I don't
 11      always agree with the case manager.                 Sometimes there are
 12      cases I agree with neither one of them.                 So I would say
 13      no.
 14             Q.   Now, in the cases where you disagree with both
 15      case manager and case coordinator -- let's talk about
 16      the last one you can recall.          What was their
 17      recommendation where you disagreed?
 18             A.   They wanted to deny a sponsor.
 19             Q.   And you felt they should be released?
 20             A.   Yes.
 21             Q.   What was the cause of your disagreement with
 22      the case manager?
 23             A.   The case manager wanted to release.               That one
 24      was a case coordinator that I didn't agree with.
 25             Q.   I see.   Let's start there.              Why did the case

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  1      coordinator disagree with the case manager?            Do you
  2      recall?
  3             A.   Because they misread the Serious Incident
  4      Reports.
  5             Q.   What was their interpretation of the Serious
  6      Incident Report?
  7             A.   That the child had seven incident reports or
  8      six, I am not quite sure now; that he was a perpetrator
  9      and he was misbehaving.       But he was not the perpetrator.
 10      They didn't understand that when they read the SIRs.
 11             Q.   So the case coordinator recommended denial of
 12      release because the child had misbehaved in ORR custody?
 13             A.   The child had issues, they thought.
 14             Q.   Issues in terms of behavior?
 15             A.   Yes.
 16             Q.   But they were wrong?
 17             A.   In my opinion, after I read the incident
 18      reports myself, yes.      In my opinion.
 19             Q.   What role does a child's behavior during ORR
 20      custody play in your decision to release or not release?
 21             A.   The behavior itself, as long as it's safe and
 22      they are not unstable, if they have an incident report,
 23      I might ask for post-release services or I might ask for
 24      a discretionary home study to make sure that the sponsor
 25      could handle whatever serious behaviors.            But it would

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  1      have to rise, to me, to the extent of serious behaviors.
  2                  We are working with adolescent children.             So
  3      some behaviors that others may deem as unacceptable are
  4      common in a place where there is adolescent children.
  5             Q.   In your experience, does children's behavior
  6      change if they are in a location such as Homestead
  7      versus with a family living --
  8             A.   Very possible.
  9                  MS. DAVILA:     Objection.         Vague.   Objection.
 10             Calls for speculation.
 11                  THE WITNESS:      It is possible.
 12      BY MR. HOLGUIN:
 13             Q.   Do you think it is common?
 14                  MS. DAVILA:     Objection.         Vague.   Objection.
 15             Calls for speculation.
 16                  THE WITNESS:      I don't know if it's common.           I
 17             would say it is possible.
 18      BY MR. HOLGUIN:
 19             Q.   In your experience, does children's behavior
 20      change over time with the length of time they remain in
 21      a facility such as Homestead?
 22             A.   Possible.    It's possible.
 23             Q.   Are you familiar with any studies that have
 24      evaluated the consequences of long-term placement in an
 25      institution such as Homestead and what that does to them

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  1      in terms of their behavior and psychological well-being?
  2                  MS. DAVILA:     Objection.         Vague.
  3                  THE WITNESS:      Have I read any studies about
  4             that?   No.
  5      BY MR. HOLGUIN:
  6             Q.   Have you seen any instruction from ORR, your
  7      superiors, in which federal field specialists are told
  8      to take into account changes in behavior that take place
  9      over time in a particular child during ORR custody?
 10                  MS. DAVILA:     Objection.         Vague.
 11                  THE WITNESS:      I can say that the goal is to
 12             release a child as soon as possible, timely and
 13             safe releases.    Clinically, I am sure, in my
 14             experience, that the behavior does change.
 15                  You know, the child didn't come to the United
 16             States to live in a shelter.            The child came to the
 17             United States to go somewhere.                But again, it is a
 18             case-by-case issue.       The experiences in a shelter
 19             differ from child to child.            I am not quite sure of
 20             the scope of how to answer your question fully.
 21      BY MR. HOLGUIN:
 22             Q.   When you get the case submitted to you and you
 23      are evaluating the child's behavior, do you take into
 24      account the length of time a child has been in custody,
 25      in a place like Homestead, in evaluating the seriousness

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  1      of their behavior?
  2             A.   Yes.
  3                  MS. DAVILA:     Objection.         Compound.    Objection.
  4             Vague.
  5      BY MR. HOLGUIN:
  6             Q.   How do you account for that?
  7             A.   When I am assessing for release, I am looking
  8      at the child as a whole.         So you're looking at various
  9      factors in relation to release.             The release -- mainly,
 10      what I would look at where behavior is concerned is more
 11      of a post-release-type service to make sure that
 12      somebody can help the family if they need additional
 13      resources once the child is released.                I would not say
 14      that that holds up the release unless the child is
 15      actively wanting to hurt themselves or others. Then it
 16      becomes a safety issue.        So that's how I would answer
 17      that.
 18             Q.   Has it been your impression, with respect to
 19      any child, that the reason that they want to harm
 20      themselves is because of the effects of prolonged
 21      detention?
 22                  MS. DAVILA:     Objection.         States facts not in
 23             evidence.    Objection.      Mischaracterizes prior
 24             testimony.
 25                  MR. PINCHAS:      I would like to add an objection

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  1             for improper opinion.         Improper expert opinion.
  2                   THE WITNESS:      Can you repeat the question?
  3             I'm sorry.
  4                   MR. HOLGUIN:      Could you please read back the
  5             question.
  6                  (Thereupon, the requested portion of the record
  7      was read by the Court Reporter.)
  8                   MS. DAVILA:     Same objections.
  9                   THE WITNESS:      I can't speak for every child.
 10             Again, it is more speculative if I answer because I
 11             am not physically there and I am not the one
 12             assessing the child for suicidal thoughts or
 13             suicidal gestures.       So I don't know.        I am more
 14             comfortable saying I don't know.
 15      BY MR. HOLGUIN:
 16             Q.    Is it fair to say that your decision -- you
 17      are dependent on the information you get from the case
 18      manager and the case coordinator in evaluating a child's
 19      behavior?
 20                   MS. DAVILA:     Objection.         Mischaracterizes
 21             prior testimony.
 22                   THE WITNESS:      I would say that I also take
 23             into account the clinician's recommendations and if
 24             there is any recommendation if the child has been
 25             evaluated by an outside psychiatrist or

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  1             psychologist.   So I wouldn't say that it is in
  2             just -- information is not just from the case
  3             manager and the case coordinator.            There are also
  4             clinicians that work with the facility that do
  5             assess the children.       Yes, I do read the assessment
  6             and take that into account.
  7      BY MR. HOLGUIN:
  8             Q.   What is your understanding of the number of
  9      clinicians who work at Homestead?
 10             A.   That is contractual.          I don't know the answer
 11      to that.
 12             Q.   How many different clinician reports have you
 13      read?
 14             A.   Several.   I don't know the number.           I don't
 15      know the ratio that they have.            I can't speak on those.
 16             Q.   Do you know how often they see children?
 17             A.   They see children at least once a week for a
 18      session and they do a group session with the children on
 19      a weekly basis as well.
 20             Q.   Do you know what qualifications the clinicians
 21      have?
 22             A.   I don't know exactly.          They do have master's
 23      degrees.    There are licensed clinicians at the program.
 24             Q.   Have you had occasion to see clinician reports
 25      that predict self-harm following release, a child will

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  1      harm him or herself following release?
  2             A.   Not to my knowledge.
  3             Q.   In the clinician reports you have seen, what
  4      sorts of information have caused you to decline release?
  5             A.   I have not declined a release, again, unless
  6      it was a safety concern or the sponsor was a safety
  7      concern or the child was not a stable child.                 You know,
  8      if they needed to be stabilized.              They had maybe a
  9      possibility of -- you know, if they met criteria to be
 10      hospitalized.      If they were a danger to self or others.
 11                  I don't deny a child because of mental health,
 12      if that is the question, which I am not quite sure it
 13      was.
 14             Q.   So you are aware of cases of children at
 15      Homestead who have been determined to be unstable in
 16      this way?
 17                  MS. DAVILA:     Objection.         Vague.
 18      BY MR. HOLGUIN:
 19             Q.   So unstable that they need hospitalization,
 20      for example?
 21             A.   Yes.
 22             Q.   How often does that happen?
 23             A.   Not often, I wouldn't say.               Again, you are
 24      asking me questions that are while the case is going on
 25      and my knowledge of the cases when they are ready for

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   1      release.    So I don't feel that I could answer that in
   2      all honesty.
   3             Q.   Well, when you have gotten the case submitted
   4      to you, you have had occasion to see clinician reports
   5      saying this child is unstable?
   6             A.   Not at the point that they submit the case.
   7             Q.   In other words, what you are saying is that in
   8      the past they were unstable?
   9             A.   They could have been.
 10              Q.   How does past instability impact their
 11       eligibility for release or the safety of their placement
 12       outside of ORR custody?
 13              A.   It does not necessarily affect it.         Again, if
 14       you are looking at whether a home study is recommended
 15       or not, if you have a child who is psychotic, a child
 16       that has severe mental illness, then they would have a
 17       home study.    If not, if they didn't rise to that
 18       occasion, we may recommend PRS.           Post-relief services
 19       would not -- that's not release deniable.           It's a
 20       recommendation, as is a home study.
 21                   I think your question to me is a little
 22       confusing in that sense.
 23              Q.   Are you aware of children who are continued at
 24       Homestead after being hospitalized for psychosis?
 25              A.   If there was no bed in any other facility --

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   1      well, no.    After they were hospitalized, meaning they
   2      are stable and returned to the facility stable?               Then
   3      yes.    The answer is yes.
   4             Q.   Is it the case that a child can continue at
   5      Homestead after a psychotic episode, provided someone
   6      says that they have been stabilized?
   7             A.   If the child is stable and the recommendation
   8      at the time from the treating psychiatrist is that the
   9      child can remain in a shelter setting and there is no
 10       bed to transfer the child, then yes, a child goes back
 11       to Homestead.
 12              Q.   Now, when there is a child who has a psychotic
 13       breakdown at Homestead, what is the process?               What
 14       happens?
 15              A.   What happens in what?           What process are you
 16       referring to?
 17              Q.   Do they send them to a hospital?
 18                   MR. PINCHAS:      Objection.         Incomplete
 19              hypothetical.
 20                   THE WITNESS:      If you're telling me if a
 21              child --
 22                   MS. DAVILA:     Objection.         Vague.
 23       BY MR. HOLGUIN:
 24              Q.   Let me rephrase it.
 25                   When it's determined that a child needs to be

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   1      hospitalized for psychiatric reasons, where are they
   2      sent?       Which hospital?
   3                     MR. PINCHAS:   Objection.         Incomplete
   4             hypothetical.
   5      BY MR. HOLGUIN:
   6             Q.      Which hospital?     Do you know?
   7             A.      They are utilizing Larkin Hospital.
   8             Q.      Larkin Hospital?
   9             A.      Yes.
 10              Q.      Is that L-A-R-K-I-N?
 11              A.      Yes.
 12              Q.      Where is that located?
 13              A.      South Miami.
 14              Q.      Is it a public hospital or a private hospital?
 15              A.      To my knowledge, it is a private hospital.
 16              Q.      And ORR keeps records of children who have
 17       been sent to Larkin?       Does ORR keep records of children
 18       who have been sent to Larkin?
 19              A.      I am not sure what you mean by "keep records."
 20              Q.      To your knowledge, does Larkin treat children
 21       from Homestead who have been sent there from Homestead
 22       free of charge?
 23              A.      Not to my knowledge.
 24              Q.      When I refer to records, records of payments
 25       to Larkin for its having treated children in ORR

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   1      custody?
   2             A.    There is a medical unit that is not within
   3      ORR, but they deal with the medical insurance.           It's a
   4      TAR they have to submit.         So Larkin would have Homestead
   5      submit the TAR for them.         If they need additional time,
   6      they have to do that.
   7                   In that sense, I don't know if that is a
   8      record.     Are they aware of -- the contractor that deals
   9      with the insurance is aware of it.
 10              Q.    You said TAR.     Is that an acronym, T-A-R?
 11              A.    Yes.
 12              Q.    Do you know what that stands for?
 13              A.    It's treatment authorization, I believe.
 14              Q.    Is ORR advised either in advance or shortly
 15       after a child has been sent to Larkin from Homestead?
 16              A.    The program, CHSI, would submit a request to
 17       the medical that they are -- that the child was
 18       hospitalized.       They would also do an incident report.
 19       CHSI is supposed to complete an incident report within
 20       four hours of the hospitalization.
 21              Q.    In terms of the medical care for the children
 22       at Homestead, does ORR pay for that on a -- let's talk
 23       about medical care that cannot be provided on site.             For
 24       example, hospitalization like we are talking about here.
 25       I think you mentioned that there was something about an

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   1      insurance company or --
   2             A.   The children are --
   3                  MS. DAVILA:     Objection.         Vague.   Objection.
   4             Calls for speculation.         Objection.     Foundation.
   5                  THE WITNESS:      I don't deal with the medical
   6             authorizations at all.         Again, my purpose is the
   7             releases.    So you are asking me to give an opinion
   8             on something that I feel is a little out of my area
   9             of work.
 10                   But yes, there is an insurance system that
 11              insures the children.        Who they are?       I honestly
 12              don't know.    That is not anything I deal with.            I
 13              don't submit the TAR.        I don't do anything with
 14              insurance.    I am not the one to answer your
 15              question on that line.
 16       BY MR. HOLGUIN:
 17              Q.   Okay.    Fair enough.        Thank you.
 18                   In terms of home studies and when they are
 19       first recommended, at what point after a child arrives
 20       at Homestead is the first point at which a home study
 21       might be recommended?
 22                   MS. DAVILA:     Objection.         Asked and answered.
 23              Objection.    Cumulative.
 24                   THE WITNESS:      We discussed that exact question
 25              prior to the break.       As I told you, it varies case

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   1             to case.    I can't give you an answer on that one.
   2             I know that was one of the questions we discussed.
   3             I can't.
   4      BY MR. HOLGUIN:
   5             Q.     In terms of the earliest case, the quickest
   6      that you have seen a home study recommendation come in,
   7      what would that be?
   8             A.     If there was an incident report where a child
   9      reported that they were abused by a caregiver and it's
 10       very early on when they report it, it might be requested
 11       very early on because the knowledge is there.             It would
 12       rise to criteria of the TVPRA criteria.             So it varies,
 13       again.      I will say it varies.
 14                     You can have a child come into a facility and
 15       say nothing in the beginning because they are not
 16       comfortable.      And then you can have a child that is
 17       disclosing issues ten days into their stay.             So again,
 18       it's case by case, depending on the information that is
 19       available at the time.
 20              Q.     Let's take a hypothetical where a child comes
 21       into the country and discloses to Border Patrol that I
 22       have an aunt living in the United States, and then the
 23       child comes into ORR custody.           What is the quickest that
 24       you would expect a home recommendation to come in on
 25       such a case?

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   1                  MS. DAVILA:     Objection.         Vague.   Objection.
   2             Calls for speculation.
   3                  THE WITNESS:      Again, I don't deal with the
   4             intake part of it.      However, if intake provides a
   5             phone number of a relative, which often they do,
   6             the shelter typically calls the relative, even
   7             before the child is placed, to try to get the ball
   8             rolling.   But again, I am not in that part of the
   9             case process.   I am at the end.
 10       BY MR. HOLGUIN:
 11              Q.   Do home studies get scheduled before the case
 12       arrives to you?
 13              A.   The whole case may not be completed when the
 14       home study is requested.         The case does not have to have
 15       all the documentation when the home study is requested.
 16       So I am the last -- the FFS is the last person that
 17       approves the home study, but it could be anywhere in the
 18       process of the case.
 19              Q.   Do you approve the performance of the home
 20       study before the case is submitted to you?
 21              A.   When you say "submitted," what are you
 22       referring to?     Submitted for a home study
 23       recommendation?     I mean, what do you mean by submitted?
 24              Q.   How are cases submitted to you?
 25                   MS. DAVILA:     Objection.         Vague.

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   1      BY MR. HOLGUIN:
   2             Q.   Do they come to you without a recommendation
   3      for release sometimes?
   4             A.   No.
   5             Q.   So by the time they get to you, there is
   6      always a recommendation as to whether there should be a
   7      release?
   8             A.   Yes.
   9             Q.   I guess the problem I am having is that I am
 10       trying to understand how someone could recommend release
 11       or continued custody in a circumstance where they also
 12       think the home study might be necessary.                I am just
 13       trying to get to that, as to the timing of that, how it
 14       works.
 15                   MS. DAVILA:     Objection.         Vague.    Objection.
 16              That is not a question.         Would you like to
 17              rephrase?
 18                   MR. HOLGUIN:      I am trying to explain to the
 19              witness the source of my confusion.              Rather than
 20              wasting a lot of time in trying to formulate a
 21              question that she is going to be able to understand
 22              on its own, I am trying to give context to it.
 23              Well, if I have to, I have to.
 24       BY MR. HOLGUIN:
 25              Q.   Do you receive recommendations or requests to

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   1      conduct home studies before there is a recommendation
   2      regarding release?
   3             A.   Yes.
   4             Q.   Under what circumstances does that happen?
   5             A.   It is always before there is a recommendation
   6      of release.    They are recommending a home study.
   7             Q.   So the case managers will recommend a home
   8      study without recommending release?
   9             A.   It is two different things that you are
 10       talking about.
 11              Q.   So sometimes you get cases that come to you
 12       just for the decision about home study, correct?
 13              A.   Yes.
 14              Q.   Now I understand.        When a home study comes
 15       back negative, is that information shared with the
 16       proposed custodian?
 17              A.   If it's a denial, it is shared.         If there are
 18       issues that the proposed sponsor can mitigate that the
 19       home study -- the reason for the denial, then yes, the
 20       case manager will speak to them about what we can
 21       mitigate from that.      So a negative home study would not
 22       necessarily mean a denial.
 23              Q.   I am referring to the home study that comes
 24       back negative, whether or not it results in an actual or
 25       final denial.      Just a home study that comes back with a

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   1      negative recommendation, does the proposed custodian
   2      receive a copy of the home study?
   3                     MS. DAVILA:     Objection.         Vague.     Objection.
   4             Asked and answered.          Objection.          Cumulative.
   5                     THE WITNESS:      Not to my knowledge.
   6      BY MR. HOLGUIN:
   7             Q.      Do you know why not?
   8             A.      In Child Welfare, if there was a report, a DCF
   9      report, I don't believe that in that they give them
 10       reports, per se.       In the negative home study, we don't
 11       give them the physical home study.                  However, the
 12       findings are discussed with the sponsor, again, with the
 13       hope that you could mitigate some of the negative
 14       aspects of a home study.
 15              Q.      Who determines whether those negative aspects
 16       have been mitigated?
 17              A.      It varies.     Sometimes we will ask for an
 18       addendum to the home study.              Sometimes we will request
 19       photos to make sure that the changes in the home are
 20       made.       It depends why the home study was negative.
 21              Q.      My question is:        Who is it that decides
 22       whether the concerns in the home study have been
 23       satisfactorily resolved since a minor may be released?
 24              A.      It goes back to the case manager, who
 25       recommends it back to the case coordinator, who

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   1      recommends it back to the FFS.
   2             Q.   In circumstances where the case manager
   3      determines that the concerns have not been mitigated,
   4      what opportunity, if any, does the proposed sponsor have
   5      to contest that determination?
   6             A.   They are able to contest any -- if it results
   7      in a denial of the case, they could request a denial.             I
   8      mean, they could request an appeal to the denial.
   9             Q.   To whom do they appeal?
 10              A.   They appeal to ORR headquarters.
 11              Q.   Is it your understanding that any custodian or
 12       proposed custodian who has been denied custody of a
 13       child has that right to appeal?
 14              A.   I believe I am speaking -- I know that the
 15       parents have the right to appeal.            A parental denial is
 16       very different from a denial of any other category of
 17       sponsor.
 18                   I know that in the case of a Cat 3 sponsor
 19       that was denied, they appealed it to my supervisor, not
 20       headquarters.    So anybody other than the parents, they
 21       can request that somebody else look at the case.
 22              Q.   They can request that someone else within ORR
 23       look at the case?
 24              A.   Exactly.
 25              Q.   Now, you were talking about state and local

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   1      child welfare agencies in which I believe you said that
   2      you don't believe that they share the results of home
   3      studies with proposed custodians.
   4             A.   I am stating that I am working in the
   5      capacity -- because you asked me questions about my
   6      other job.    We never provided reports to any family
   7      members.
   8             Q.   In those circumstances, in those cases, is it
   9      your recollection that parents and other relatives and
 10       proposed custodians had a right to a hearing?
 11              A.   I believe so.
 12              Q.   And they would go in front of a juvenile court
 13       judge or a dependency court judge?
 14              A.   You are talking 20-plus years ago.           I had one
 15       case that I didn't recommend a parent.             And in the case
 16       that I didn't recommend the parent, she did not care
 17       about the recommendation.        She didn't really want the
 18       child anyway.
 19              Q.   Are you aware of any state or local agency
 20       that has the right to deny the release of a child
 21       without providing a hearing?
 22              A.   I believe you are talking apples and oranges.
 23       We are looking at children that were in the custody of
 24       that family member versus ORR where the children are
 25       coming in and they were not in the custody of that

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   1      individual.    I believe there is a little bit of a
   2      difference between that.
   3             Q.   That is not always the case, is it?
   4                  MR. PINCHAS:      Objection.         Calls for a legal
   5             conclusion.
   6      BY MR. HOLGUIN:
   7             Q.   We all read the newspaper reports about
   8      children being separated from their parents and other
   9      family members at the border.
 10                   MS. DAVILA:     Objection.
 11       BY MR. HOLGUIN:
 12              Q.   Did none of those children come into ORR
 13       custody, to your knowledge?
 14                   MS. DAVILA:     Objection.         Calls for
 15              speculation.   Objection.         Foundation.     Objection.
 16              Asked and answered.
 17                   THE WITNESS:      That is not what you were asking
 18              me about, separations at the border.             I don't
 19              believe that is what I understood your question in
 20              the beginning to be.        I believe you were asking me
 21              about hearings.
 22                   As I stated, there is a process for the
 23              sponsors, if they don't agree with the denial that
 24              they go through.     Now, whether it is a Cat 1 -- as
 25              I said, it's a different process.             I am not quite

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   1             sure how the 2s and 3s go about that, but I have
   2             had a case that was a denial that bumped it up past
   3             my supervisor to look at the case.                 So that is all
   4             I can honestly tell you about that process.                  It is
   5             not a process I am involved in.                 I don't do
   6             anything -- if I deny a case, I am done with that
   7             case.    I don't know how to answer you honestly on
   8             that.
   9      BY MR. HOLGUIN:
 10              Q.     Do you recall in that case that was bumped up
 11       to your supervisor, was the proposed sponsor permitted
 12       to come in and interview with the --
 13                     MS. DAVILA:     Objection.         Calls for
 14              speculation.
 15                     THE WITNESS:      I am not quite sure what they
 16              did.    I know a letter was written, and that is
 17              about the extent of what I know.
 18       BY MR. HOLGUIN:
 19              Q.     Going back to your comment about apples and
 20       oranges, because I believe the distinction you were
 21       trying to make was that children in ORR custody are
 22       different from children in state and local child
 23       protective jurisdictions because those children are the
 24       ones that state and local agencies deal with are being
 25       taken from their parents; is that correct?

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   1                  MS. DAVILA:     Objection.         Misstates prior
   2             testimony.   Objection.        Vague.
   3                  THE WITNESS:      The population is different, is
   4             what my point truly is.         You're dealing with,
   5             number one, two different systems and differing
   6             populations.
   7      BY MR. HOLGUIN:
   8             Q.   All right.     When we're talking about
   9      populations, we are talking about a generalization.
 10       Would you concede that there are members of the ORR --
 11       the population of children in ORR custody who have been
 12       separated from their parents?
 13                   MS. DAVILA:     Objection.         Vague.     Objection.
 14              Calls for a legal conclusion.
 15                   THE WITNESS:      Am I aware of cases --
 16                   MR. PINCHAS:      Wait.      Wait.       Assumes facts not
 17              in evidence.
 18       BY MR. HOLGUIN:
 19              Q.   Are you aware of any children in ORR custody
 20       that were separated from their parents at the border?
 21                   MS. DAVILA:     Objection.         Vague.
 22       BY MR. HOLGUIN:
 23              Q.   You can answer.
 24              A.   Yes.
 25              Q.   So then in those cases, at the very least, the

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   1      situation is not so much different than those in which
   2      the state or local child protection agency is trying to
   3      remove a child from their parent.              Is there any
   4      difference?
   5                  MR. PINCHAS:      Objection.         Argumentative.
   6                  MS. DAVILA:     Objection.         Calls for
   7             speculation.    Objection.        Foundation.
   8                  THE WITNESS:      I don't know every child taken
   9             from their families.        I don't work within that
 10              system and have not for 20-plus years.              I don't
 11              feel I can answer that.
 12       BY MR. HOLGUIN:
 13              Q.   Are you aware of the average length of time it
 14       takes for a case manager to submit a case to you for a
 15       decision with respect to release?
 16              A.   I believe we discussed that answer previously.
 17       Again, that is case by case.
 18              Q.   But is there an average?             Do you monitor about
 19       how long the case managers are taking to send you cases
 20       for --
 21              A.   Again --
 22                   MS. DAVILA:     Objection.         Asked and answered.
 23              Objection.   Cumulative.
 24                   THE WITNESS:      It's case by case.         I am looking
 25              at the cases on the back end.             I am not sure how to

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   1             answer your question.
   2      BY MR. HOLGUIN:
   3             Q.   Let me ask you this:           Does ORR track or
   4      accumulate statistics on how long case managers are
   5      taking to submit cases for release with the FFSs?
   6             A.   I believe they look at that.             I don't know if
   7      they are tracking it per case manager or per program.
   8             Q.   Where would those statistics be stored?             Do
   9      you know?
 10              A.   I don't know.      That is an administrative
 11       issue.
 12              Q.   Do you have the name of the administrative
 13       unit that would --
 14                   MS. DAVILA:     Objection.
 15                   Did you finish your answer?
 16                   THE WITNESS:      I was just saying that it's
 17              not -- I mean, I don't have that data personally,
 18              so I am not sure how to answer your question of
 19              where it is located.
 20       BY MR. HOLGUIN:
 21              Q.   Do you know the name of the unit within or the
 22       entity within ORR that would track that?
 23              A.   I don't.
 24              Q.   To your recollection, you have never seen
 25       anything come from your superior expressing any concern

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   1      about the amount of time case managers have taken to
   2      submit cases to you for a decision on release?
   3                  MS. DAVILA:     Objection.         Vague.
   4                  THE WITNESS:      I have received instruction that
   5             is more vague.   I have not seen where it was listed
   6             per case manager.      I have seen where -- you know,
   7             length of stay is a concern always.              The philosophy
   8             is timely and safe releases.            So length of stay is
   9             always a problem.
 10                   Again, as I stated before, it's case by case
 11              and there are variables.          Have I received data that
 12              X case manager is taking longer than Y?              I have not
 13              seen that personally.
 14       BY MR. HOLGUIN:
 15              Q.   Are you familiar with statistics on the
 16       average length of stay in ORR custody?
 17              A.   I believe they send out an e-mail that may
 18       have that information on it, but I don't -- it is not
 19       something that I work on.          So perhaps there has been.        I
 20       mean, I don't know.     I know that the programs and their
 21       quarterlies and other reporting may put their average
 22       length of stay.
 23              Q.   So you are not aware whether the average
 24       length of stay has increased or decreased over the past,
 25       say, three years?

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   1                  MS. DAVILA:     Objection.         Mischaracterizes
   2             prior testimony.
   3      BY MR. HOLGUIN:
   4             Q.   Are you aware of that?
   5                  MS. DAVILA:     Objection.         Vague.
   6                  THE WITNESS:      Have I seen periods where the
   7             length of stay was down versus higher?            Is that the
   8             question?   In three years' period?
   9      BY MR. HOLGUIN:
 10              Q.   Over the past three years, have you noticed
 11       any trend in the length of stay, whether decreasing or
 12       increasing?
 13              A.   The only trend that I am speaking of is the
 14       cases that I see.     I think there is a trend that the
 15       number of length -- the length of stay has gone down.
 16              Q.   How would you identify the document or the
 17       report -- what is the form in which you've received that
 18       information?
 19              A.   I just told you that in my experience of
 20       reviewing the cases, I have noticed that the length of
 21       stay has gone down.
 22              Q.   But these are the cases of the Homestead
 23       children that you have had?
 24              A.   Yes.
 25              Q.   Agency-wide, ORR-wide, you are not privy to

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   1      any of the --
   2             A.   They send out information on length of stay.
   3      I can't cite it for you at the moment.               They send out
   4      length of stay averages in an e-mail form, but I can't
   5      cite that for you.
   6             Q.   All right.     Thank you.
   7                  In terms of the legal assistance available to
   8      children at Homestead, what legal assistance is
   9      available to them, to your knowledge?
 10                   MS. DAVILA:     Objection.         Foundation.
 11                   THE WITNESS:      You are asking me more of a
 12              contractual issue that is not what I work with.               I
 13              know that they receive -- that VERA has a contract
 14              with ORR and I know that the local provider for the
 15              children in the Miami area is Americans for
 16              Immigrant Justice, AIJ.
 17       BY MR. HOLGUIN:
 18              Q.   Do you have any estimate as to how many
 19       children at Homestead are being represented by lawyers
 20       with the Americans for Immigrant Justice?               Do you know
 21       how many children AIJ represents?
 22                   MS. DAVILA:     Objection.         Vague.   Objection
 23              compound.
 24                   Which organization are you asking about?
 25       BY MR. HOLGUIN:

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   1             Q.    I'm asking about AIJ.
   2             A.    When you say "represent," are you talking that
   3      have submitted a G-28 and are representing a child or
   4      are you talking about a legal screening and
   5      know-your-rights presentation?
   6             Q.    A submission of a G-28.
   7             A.    Not that many.    I don't know the number.       I
   8      don't deal with that.      I don't deal with that end of it.
   9             Q.    Are you aware of children at Homestead
 10       represented by lawyers, apart from AIJ staff attorneys?
 11              A.    If you are asking me if I have ever known that
 12       a child has been represented outside of AIJ, I have seen
 13       that.
 14              Q.    Has any lawyer who has been representing a
 15       child at Homestead ever submitted evidence to you or
 16       argument to you in favor of releasing their clients from
 17       ORR custody?
 18              A.    To me directly?     No.     Not that I am aware of.
 19              Q.    Does ORR decline to release children because
 20       they believe they may be flight risks after release?
 21              A.    I think you have to ask have I ever denied a
 22       release for a future flight risk.            Is that what you are
 23       asking?     I have personally not.
 24              Q.    Is flight risk one of the criteria that FFSs
 25       are supposed to take into account in determining whether

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   1      to release a child from ORR custody?
   2             A.   I honestly don't understand.             When you say
   3      "flight risk," what are --
   4             Q.   Likelihood to abscond.            They will not appear
   5      for removal hearings or for removal, should they be
   6      ordered removed?
   7             A.   But how are you expecting -- what do you mean?
   8      I don't understand.      It's like if I am predicting the
   9      future.
 10              Q.   Well, yes.
 11              A.   I am not psychic.         I don't know how to answer
 12       your question.
 13              Q.   It's a prediction of future behavior,
 14       certainly.    So predicting whether a particular placement
 15       is going to be safe or not, you would concede that,
 16       would you not --
 17                   MS. DAVILA:     Objection.         Vague.
 18       BY MR. HOLGUIN:
 19              Q.   When you are determining whether to release a
 20       child and you determine that it is unsafe, the
 21       determination predicts future behavior, future events.
 22       Is that correct?
 23              A.   That is incorrect.
 24              Q.   How so?   If a child is currently in ORR
 25       custody and you are saying that a placement outside of

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   1      ORR custody is going to be unsafe, by definition, it
   2      must mean it's going to be unsafe in the future.
   3                    MS. DAVILA:     Objection.         Vague.   Objection.
   4             Misrepresents prior testimony.
   5                    MR. PINCHAS:      Objection.         Argumentative.
   6             Counsel is testifying.
   7                    THE WITNESS:      When we look at factors for
   8             safety, it is not an objective prediction.               There
   9             has to be an issue that is identified.               Whether the
 10              sponsor has serious criminal behavior -- I mean,
 11              there are issues that you look at.               It is not
 12              necessarily that I am predicting that a child --
 13              something will happen or a child will abscond.                 We
 14              don't know.    I mean, the likelihood of a child not
 15              going to court -- I think there is a likelihood
 16              with any child who is undocumented, you know, to
 17              not go to court.       So I don't think I would use that
 18              as a determining factor because how would I know
 19              that?
 20                     I am not quite sure where you are expecting me
 21              to answer because looking at objective data versus
 22              I am psychic and looking at the future are very
 23              different in my eyes.          So I would not use data that
 24              is just what I predict versus here is history for
 25              you.    Here is your history that you are looking at.

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   1             Here is criminal history.           Here is whatever history
   2             you are looking at.
   3                  So I think that when you are looking at it, it
   4             is not looking at a predictor in that sense.                You
   5             are looking at data that is objective data to show
   6             what has gone on in the house versus, oh, I don't
   7             think this kid is going to show up in court so I am
   8             not going to release the kid to the sponsor.
   9                  Have I sent children to sponsors who have
 10              removal orders?     Yes.     Is the likelihood that they
 11              go to court?    Who knows.        So there are different
 12              issues there.    It is not one little answer that I
 13              can squeeze into a box for you.
 14       BY MR. HOLGUIN:
 15              Q.   If we are going to base it on past behavior,
 16       say, a child has attempted to escape three or four
 17       times, would that be taken into account in your
 18       determination as to whether to release or not?
 19                   MS. DAVILA:     Objection.         Vague.     Objection.
 20              Asked and answered.       Objection.          Cumulative.
 21                   THE WITNESS:      Would I look at that and say,
 22              "Oh, I can't release the child because he wants to
 23              leave Homestead"?      No.     I may think that they might
 24              need additional services, but I don't think I would
 25              deny a release for a child that is wanting or has

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   1             voiced or has attempted to run.
   2                   If they had attempted to run -- I mean,
   3             sometimes there is a reason.           They will tell you a
   4             reason.    It does not necessarily mean that this
   5             child is going to do it again.               I mean, it is case
   6             by case when you are dealing with human lives.
   7             There is no piece of paper that I can say, "Here
   8             you go."    It depends on the kid and the case and
   9             the circumstances.
 10       BY MR. HOLGUIN:
 11              Q.    So if I understand correctly, then, when you
 12       say there may be reasons that a child has run or
 13       attempted to run, what kind of reasons do you have in
 14       mind?
 15              A.    This is opinion, obviously.              This is not
 16       factual, what I am saying here.            In the case of a child
 17       that may not understand how the process is moving along
 18       and they get very antsy, that could happen.                 And then
 19       someone sits with the child and explains here is where
 20       we are at in your case, blah, blah, blah.                 That may calm
 21       the child down.      I mean, there are a lot of reasons.
 22                    Can we take a break?
 23                    MR. HOLGUIN:    Yes, of course.
 24                    We can go off the record.
 25                   (Luncheon recess taken in the proceedings from

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   1      12:20 p.m. to 1:18 p.m., after which the following
   2      proceedings were had:)
   3                  MR. HOLGUIN:      David, go ahead.
   4                  MR. PINCHAS:      Yes.     I just want to say that it
   5             seems that you are a very thoughtful witness.              It's
   6             just that since I am not there, if you could just
   7             give me a few seconds before you answer so I can
   8             make an objection.      Okay?
   9                  THE WITNESS:      Yes.
 10                   MR. HOLGUIN:      Are we ready?          We will continue
 11              the deposition.
 12                   MS. DAVILA:     We're ready.
 13       BY MR. HOLGUIN:
 14              Q.                , speaking of fingerprints, what is
 15       ORR's current policy on requiring fingerprints from
 16       proposed sponsors or the members of their household?
 17              A.   The current policy is that we are not
 18       fingerprinting the parents at this point, unless there
 19       is cause to feel the need to fingerprint, and also not
 20       household members.     However, with home studies, the
 21       fingerprints are -- they get fingerprinted with home
 22       studies.
 23              Q.   To clarify, when a home study is performed,
 24       there are fingerprints required of everyone in -- all
 25       adult members in the household or every member of the

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   1      household?
   2             A.   Adult members of the household.             If it's a
   3      parent, the parent, at that point, is required.
   4             Q.   Absent a home study, fingerprinting of a
   5      parent is not required?
   6             A.   Unless there is a concern that would elevate
   7      that you would want to print.
   8             Q.   What about adult members of the parents'
   9      household, are they fingerprinted?
 10              A.   They are not fingerprinted.             But again, if
 11       there is reason to believe there could be issues, they
 12       may be requested to print.
 13              Q.   Is that a change from policy that existed in
 14       the recent past?
 15              A.   Yes.
 16              Q.   When did the policy change?
 17              A.   I can't tell you the exact date.             I believe it
 18       occurred in March.
 19              Q.   What was the policy prior to March?             March of
 20       2019, by the way?
 21              A.   I believe so.
 22              Q.   Or 2018?
 23              A.   No.    It was this year.         The policy was that
 24       the parents were being fingerprinted and adult household
 25       members were being fingerprinted.

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   1             Q.     So as recently as last month, all members of
   2      the --
   3             A.     I think it was -- I am not giving you the
   4      exact date because, honestly, I don't remember.                It was
   5      before March.      So maybe January.            It was definitely
   6      before March.      Sorry.
   7             Q.     Why was the policy changed?
   8             A.     You would have to ask the people that make
   9      policy.      I am not one that makes policy.            I don't know.
 10              Q.     In your judgment, has the change in policy
 11       impaired child safety?
 12              A.     I don't know how to answer that question.
 13              Q.     In your judgment, does fingerprinting -- well,
 14       let's back up.      Now, how are fingerprints actually
 15       collected by ORR when they are required?
 16              A.     The sponsors go to either a digital site,
 17       which can be in shelters.            There is a list of digital
 18       sites.      They try to do them where the sponsor is or who
 19       is getting fingerprinted won't be concerned.                Obviously,
 20       if you are asking someone who is not documented to go
 21       get fingerprinted at your local police station, that is
 22       going to be an issue.         So they have fingerprint sites.
 23       Some people don't live near fingerprint sites, so they
 24       get the fingerprint cards to do.
 25              Q.     So the list of fingerprint sites, is that

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   1      published anywhere?
   2             A.    I am not sure if it is published anywhere.            I
   3      have a list.       The programs have a list.          They generally
   4      provide the sponsor with the location closest to where
   5      they reside.
   6             Q.    Your list covers the country or does it just
   7      cover Miami?
   8             A.    Nationwide.
   9             Q.    Do you have any estimate as to how many sites
 10       are listed on the list that you have?
 11              A.    No.    I don't deal with the fingerprint sites
 12       either.     So no, there is no need for me to know that
 13       information.
 14              Q.    But one of your concerns in making a release
 15       decision is whether the fingerprinting has been
 16       accomplished; is that correct?
 17              A.    If it is a required fingerprint, then that
 18       would be correct.
 19              Q.    Do you have any estimate as to how long it
 20       takes from the time that the proposed sponsor submits
 21       fingerprints to the time the results come back?
 22              A.    I have no idea.
 23              Q.    Do you know what databases the fingerprints
 24       are checked against?
 25              A.    I believe that they are checked against FBI.

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   1      I am not sure.       I don't want to -- I am not sure.             I
   2      would be speculating.
   3             Q.      Have you become aware that there are
   4      substantial delays in receiving fingerprint results?
   5                     MS. DAVILA:     Objection.         Vague.   Objection
   6             foundation.
   7      BY MR. HOLGUIN:
   8             Q.      Let me ask it more specifically.
   9                     Do you know how long it takes from the time of
 10       submission of the fingerprints to the time when ORR gets
 11       results back?
 12              A.      I don't know the answer to that.
 13              Q.      When are fingerprints requested?             Do you know
 14       that?       I mean the timing, not under the circumstances.
 15       When in the process in a case where fingerprints are
 16       going to be required are the proposed sponsors directed
 17       to submit fingerprints?
 18                      MS. DAVILA:     Objection.         Vague.
 19                      THE WITNESS:      They tell the sponsor about the
 20              fingerprinting when they make contact with the
 21              sponsor.     So early on, unless -- again, it's case
 22              by case.     So unless there is an issue where we find
 23              a home study to be necessary, then, you know, maybe
 24              not right away because we didn't know the situation
 25              would require a home study.

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   1      BY MR. HOLGUIN:
   2             Q.   I see.    In addition to yourself, how many
   3      other ORR personnel are involved with managing the
   4      treatment conditions or release of children housed at
   5      Homestead?
   6                  MS. DAVILA:     Objection.         Vague.
   7                  THE WITNESS:      Are you speaking of treatment
   8             conditions or releases?         You lumped them together
   9             so I am not quite sure of your question.
 10       BY MR. HOLGUIN:
 11              Q.   We can separate them.           With respect to
 12       release, how many ORR personnel are involved in
 13       determining whether children should be released from
 14       Homestead?
 15                   MS. DAVILA:     Objection.         Asked and answered.
 16              Objection.    Cumulative.
 17                   THE WITNESS:      As I said, there is another FFS
 18              that works with me.       We also have a supervisor.        We
 19              work as a team.     Sometimes there could be other
 20              coverage of Homestead from an outside FFS.             If I am
 21              on vacation, if we need extra help, we've had help
 22              before.
 23       BY MR. HOLGUIN:
 24              Q.   Now, you mentioned that there were other
 25       shelters in the Miami area to which children from

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   1      Homestead are sometimes transferred.                 What are the names
   2      of those shelters?
   3             A.      His House and Catholic Charities, Boys Town.
   4             Q.      So the two that you used to work for; is that
   5      right?
   6             A.      I never worked for His House.            I said I
   7      covered His House as an FFS.
   8             Q.      My apologies.
   9             A.      I did work at Boys Town, yes.
 10              Q.      Are you in charge or do you participate also
 11       in release decisions for children housed at those two
 12       shelters or either one of them?
 13              A.      Not currently.    I have covered them in the
 14       past.       But no, I haven't since I have been at Homestead.
 15              Q.      So who covers releases now from the other two
 16       shelters, Boys Town and --
 17              A.      Another FFS.
 18              Q.      And that person's name is?
 19              A.                        .
 20              Q.      Does                also work with children from
 21       Homestead, children detained at Homestead?
 22              A.      She has covered Homestead in the past, but not
 23       typically.
 24              Q.      In terms of monitoring conditions and
 25       treatment while children are at Homestead, how many ORR

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   1      personnel are involved in that?
   2             A.   I am not involved in that.               As I told you, I
   3      deal with releases.     I know that there is a COR team.                I
   4      am not sure how many people are in that team.                 I know
   5      that my supervisor does look at that.                 I mean, there is
   6      a wide range of people, I imagine.               There is a COR team.
   7      Again, I don't know how many people are on that.                 There
   8      is another team that deals with -- the DIPEL (phonetic)
   9      team kind of deals with, I guess, if there is an
 10       evacuation need or something along those lines.                 I am
 11       not involved in that area of the shelter.
 12                   DIPEL is an acronym.           I don't know what it --
 13                   MS. DAVILA:     A disaster?
 14                   THE WITNESS:      Yes.     In case there is a
 15              hurricane.
 16       BY MR. HOLGUIN:
 17              Q.   Speaking of the COR team, are the members of
 18       that team housed in -- are they in Miami too?
 19              A.   No, they are not.
 20              Q.   Do you know where they are located?
 21              A.   I imagine they are in D.C., but I am not sure
 22       if they are all in D.C.        I am not quite sure.
 23              Q.   Are you aware of anybody who is in Miami who
 24       regularly participates in monitoring the treatment that
 25       children experience at Homestead?

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   1             A.   I would say my supervisor is the one who would
   2      know that information.
   3             Q.   Now, your offices are here in Miami, correct?
   4             A.   I don't have an office, but yes, I am situated
   5      in Miami.    I work remotely.
   6             Q.   I see.    Does ORR have an office here in Miami?
   7             A.   There is an office that we use in Homestead.
   8      But no, we don't have an office in Miami.
   9             Q.   I believe you testified earlier that on
 10       occasion the children will be transferred out of
 11       Homestead into one of the two Miami shelters prior to
 12       being transferred to a long-term foster care placement.
 13       Is that right?
 14                   MS. DAVILA:     Objection.         Mischaracterizes
 15              testimony.    Objection.       Vague.
 16       BY MR. HOLGUIN:
 17              Q.   Is that the case?         A child goes from Homestead
 18       to one of the shelters before being sent to long-term
 19       foster care?
 20              A.   Yes.
 21              Q.   Is it a policy that a child may not go
 22       directly to long-term foster care from Homestead?
 23              A.   There is not a policy.            The long-term foster
 24       care tends to take quite some time.                  When we are
 25       referring to long-term foster care, typically, the

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   1      attorney that is supplying the good faith letter would
   2      like the child to remain in the Miami area.           So we
   3      transfer them to one of the local shelters.
   4             Q.   You referred to this letter as a good faith --
   5      I am sorry.    How was that called?
   6             A.   Good faith letter.
   7             Q.   Good faith letter.       What does that letter
   8      convey?
   9             A.   It is a legal letter from the attorneys,
 10       basically, that the child could have relief, some sort
 11       of legal relief.
 12              Q.   And they need that in order to get into
 13       long-term foster care?
 14              A.   Yes.
 15              Q.   And is it required that an attorney prepare
 16       that?
 17              A.   Yes.
 18              Q.   So in terms of children at Homestead, is it
 19       correct that the attorneys from Americans for Immigrant
 20       Justice are the ones that typically submit those
 21       letters?
 22              A.   Yes.
 23              Q.   Have you ever had an occasion where an
 24       attorney not affiliated with Americans for Immigrant
 25       Justice has submitted a good faith letter on behalf of a

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   1      child detained at Homestead?
   2             A.    Not that I recall.       Again, the volume is high.
   3      There could be.      Not that I am able to recall.
   4             Q.    When you assumed your position as an FFS, were
   5      you required to attend training that ORR put on?
   6             A.    Yes.
   7             Q.    What did that consist of?
   8             A.    There was training -- there were different
   9      trainings.     So we had HR training, different trainings
 10       in D.C.     I trained hands-on with my supervisor as well.
 11              Q.    In training hands-on with your supervisor,
 12       where, physically, did that take place?
 13              A.    At one of the facilities.
 14              Q.    Do you recall the facility?
 15              A.    I believe it could have been Boys Town, I
 16       believe.
 17              Q.    Now, have you had occasion to take notice of
 18       children detained at Homestead who have physical
 19       disabilities?
 20              A.    Yes.   Personally seeing them, no.       Reading
 21       about them when they are submitted, yes.
 22              Q.    What sort of physical disabilities did you
 23       take note of?
 24              A.    We had children that had heart difficulties
 25       that required surgery.       They have had children with eye

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   1      issues, some that needed surgery.              Along those lines.
   2             Q.   What about disabilities in terms of limbs,
   3      being able to walk, being able to have use of arms and
   4      legs?
   5             A.   We have had one recently that had some
   6      mobility issues due to -- I believe it was feet and
   7      fingers, but I am not 100 percent sure on that.
   8             Q.   To your knowledge, is Homestead able to
   9      accommodate children with those kinds of disabilities?
 10                   MS. DAVILA:     Objection.         Calls for
 11              speculation.   Objection.         Foundation.     Objection.
 12              Vague.
 13                   MR. PINCHAS:      Objection.         Calls for a legal
 14              conclusion.
 15       BY MR. HOLGUIN:
 16              Q.   You can answer.
 17              A.   This would be an opinion of mine.              My opinion
 18       is they are better able to handle medical kids because
 19       they have a medical department, which the shelters do
 20       not have.    Do they stay there with medical conditions
 21       if there is an issue that they don't have to be moved
 22       for that?    It's on a case-by-case basis.
 23                   In my opinion, because they have a doctor on
 24       staff and nurses, they are better equipped to deal with
 25       medical issues, in my opinion.

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   1             Q.   How about mobility issues?
   2                  MS. DAVILA:     Same objections as before.          Also
   3             calls for expert testimony and impermissible lay
   4             opinion.
   5                  THE WITNESS:      This is opinion.       It's not
   6             factual as well.     I think they are just as equipped
   7             because of the fact that it is one story.           There
   8             are not steps involved.         Some of the shelters -- in
   9             His House, you have to step up into the cottages.
 10              Boys Town is flat for the boys, but the girls have
 11              an upstairs.   So in some cases, I would say it's
 12              better equipped because they are on one floor.
 13       BY MR. HOLGUIN:
 14              Q.   Have you had occasion to actually look at the
 15       buildings in which the children sleep at Homestead?
 16                   MS. DAVILA:     Let the record reflect that
 17                         has written a note and provided it to
 18              counsel.
 19                   You may answer the question.
 20                   THE WITNESS:      Yes.
 21       BY MR. HOLGUIN:
 22              Q.   So then you observed that there is more than
 23       one floor to those dorms, correct?
 24              A.   There are dorms where there is a second floor
 25       and there are dorms -- there is enough bed space in the

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   1      flat area, plus they have a medical area.             So that is
   2      why I answered as I did.
   3             Q.   So your recollection is that the dorms at
   4      Homestead have two floors?
   5             A.   I said that I believe there is one building
   6      that has a second floor.       I am not sure if there is a
   7      second building that has a second floor where the
   8      children sleep.     They also have a ground floor.          There
   9      are no steps to get into the ground floor, which is what
 10       I had stated.
 11              Q.   Okay.   Now, is there any periodic review of
 12       children's placement at Homestead, whether they should
 13       be placed there or somewhere else on a periodic basis, a
 14       fixed schedule?
 15              A.   That I participate in?          No.
 16              Q.   Or that you know of.
 17              A.   I know that sometimes I will receive a message
 18       from the medical department saying that this child needs
 19       to be transferred for medical reasons.             But I am not
 20       aware of periodic reviews of that.
 21              Q.   Are you aware of any list of free legal
 22       services that is provided to children at Homestead?
 23              A.   I don't participate in the intake process with
 24       the children, but they are required to provide that
 25       information to the children.

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   1             Q.   But you personally have never seen such a
   2      list?
   3             A.   I have seen --
   4                  MS. DAVILA:     Objection.         Misstates testimony.
   5      BY MR. HOLGUIN:
   6             Q.   It's a question.
   7             A.   I have seen the list before, yes.
   8             Q.   How long ago?
   9             A.   I really don't know the answer to that.
 10              Q.   To your knowledge, are your duties as an FFS
 11       typical of what FFSs do in general?
 12                   MR. PINCHAS:      Objection.         Lacks foundation.
 13                   MS. DAVILA:     Objection.         Vague.
 14                   You may answer the question.
 15                   THE WITNESS:      Yes.
 16       BY MR. HOLGUIN:
 17              Q.   Now, going up your chain of command, you have
 18       a supervisor.     What is the chain of command as it goes
 19       up from there?
 20              A.   My supervisor also has a supervisor.
 21              Q.   And is that person here in Miami?
 22              A.   No.
 23              Q.   So that person works where?
 24              A.   Washington.
 25              Q.   And then above that individual?

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   1             A.    I am not quite sure of the hierarchy of who
   2      his direct supervisor is.           But is it somebody in Miami?
   3      No.
   4             Q.    Do you know the name of the person in
   5      Washington who supervises your supervisor?
   6             A.    Yes.
   7             Q.    Could you please provide it?
   8             A.
   9             Q.    Who is it within Office of Refugee
 10       Resettlement who is responsible for liaison with General
 11       Dynamics Information Technology?
 12                    MS. DAVILA:     Objection.         Foundation.
 13                    THE WITNESS:      I am not sure what the question
 14              is.   A liaison?     They have a project officer, as
 15              every contract does.         So I am not quite sure how
 16              you are -- what you are trying to ask me.
 17       BY MR. HOLGUIN:
 18              Q.    Well, who within the government overseas the
 19       work of General Dynamics Information Technology, if
 20       anyone?
 21              A.    I would be speculating that it would be --
 22       that they would have a project officer that would be in
 23       charge of the contract.         I am not 100 percent.         I don't
 24       deal with contracts or monitoring.                That is well above
 25       what I do in my position.

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   1             Q.   Now, I believe you mentioned earlier that you
   2      had involvement with the transfer of children from
   3      Homestead to an RTC; is that correct?
   4             A.   Yes.
   5             Q.   And an RTC stands for residential treatment,
   6      center; is that correct?
   7             A.   Yes.
   8             Q.   What residential treatment center were you
   9      involved in in the course of this transfer decision?
 10              A.   I believe that we sent one child to Shiloh,
 11       and I believe we sent one child to an out-of-network
 12       facility, Acadia.     I believe the name was Acadia.              I am
 13       not 100 percent sure.
 14              Q.   Now, when you say "an out-of-network
 15       facility," what does that mean?
 16              A.   It means a facility that is not under contract
 17       with ORR.
 18              Q.   Do you know how many of those exist right now?
 19              A.   I do not.   I refer to one.              I don't know how
 20       many exist.
 21              Q.   Do you know of any others, other than the one
 22       you just mentioned?
 23                   MS. DAVILA:     Objection.         Asked and answered.
 24                   THE WITNESS:      I don't.
 25       BY MR. HOLGUIN:

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   1             Q.   Do you know the criteria for sending a child
   2      to an out-of-network facility?
   3             A.   Well, typically, the criteria, there is no
   4      capacity within network or the in-network program will
   5      not accept the child for whatever reason that would be,
   6      and the child meets RTC criteria per the treating
   7      psychiatrist.
   8             Q.   So are all of the out-of-network facilities
   9      residential treatment centers?
 10              A.   I don't believe so.        I have not used an
 11       out-of-network except one time for one child, so I can't
 12       speak to that.     People could be using out of network
 13       that I am unaware of.      I can tell you my experience was
 14       one program.
 15              Q.   In your experience, why was the child sent to
 16       an out-of-network placement in that one instance?
 17              A.   I believe there was no capacity at the
 18       in-network one, and I believe the other program would
 19       not accept the child.
 20              Q.   So in-network residential treatment centers in
 21       existence right now are -- how many of them are there,
 22       if you know?
 23              A.   I believe, two.
 24              Q.   Would that be Shiloh and MercyFirst?
 25              A.   Yes.

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   1             Q.      Have you had occasion to send children to
   2      either of those facilities, other than the one instance
   3      that you mentioned?
   4             A.      I believe I only had one child accepted by
   5      Shiloh that I have sent.          I am not quite sure -- I might
   6      have sent a child to MercyFirst in the last contract.             I
   7      don't believe I have in this contract year.           So I am not
   8      sure.       I am not quite sure.
   9                     Again, the volume, if you're looking at the
 10       volume, it is very hard for me to answer.
 11              Q.      What are the criteria that you know of
 12       pursuant to which an RTC may refuse to accept the child?
 13              A.      I am not sure of the criteria that they use
 14       because that is not a program I oversee, nor am I privy
 15       to their contract.        They have denied children that they
 16       did not feel was a fit for the population that they were
 17       serving at the time.        But specifics, I don't know.      They
 18       just say "yes" or "no".         That is what I see.
 19              Q.      Do you know how long Homestead has been in
 20       operation?
 21              A.      On this contract or the contract before?
 22              Q.      In operation as an ORR facility.
 23              A.      I think they came on in 2016, I want to say.
 24       I want to say.       It could be off, but I believe it was
 25       2016.       I believe.   Maybe '15, but I believe '16.

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   1             Q.      Is it your understanding that Homestead is
   2      located on a military base?
   3             A.      To my understanding, it is on a job corps
   4      site, not a military base.
   5             Q.      Job corps site.     Do you have any knowledge as
   6      to why it was located on a job corps site?
   7             A.      Availability, I believe.
   8             Q.      Do you know what the cost is to detain a child
   9      per day at Homestead?
 10              A.      I don't know.   I don't deal with contracts.       I
 11       have no knowledge of what they -- what the per diem rate
 12       for a child at Homestead is.
 13              Q.      Are children who are placed at Homestead given
 14       any notice of the reason they are being placed there?
 15              A.      I don't know what intake gives them or does
 16       not give them, so I honestly don't know.
 17              Q.      In terms of transferring children out of
 18       Homestead to some other placement, is there any written
 19       policy that you know of?
 20              A.      There is criteria in policy that will tell you
 21       the difference between the programs and the level of
 22       care.       They would have to meet criteria if you are
 23       looking at different programs that are not
 24       shelter-to-shelter.       There is criteria and policy that
 25       dictates what would constitute a transfer to a different

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   1      level of care.
   2             Q.   What different levels of care does ORR have?
   3             A.   Shelter, staff secure, secure, RTC, and
   4      long-term foster care.      And transitional foster care,
   5      but that is not a transfer that we do.
   6             Q.   Specifically with respect to Homestead, are
   7      there any written criteria you know of about when
   8      children should be transferred out of Homestead to
   9      another shelter?
 10              A.   Well, we look at different factors in
 11       determining that.     A child who we know would be extended
 12       stay if they chose voluntary departure or a child that
 13       is going to long-term foster care because those
 14       processes are long, we would try to transfer them to a
 15       permanent shelter.
 16                   As far as different level of care, again, that
 17       is criteria based.     So that would require that they met
 18       criteria to be placed in a different level of care.
 19              Q.   I am referring specifically to transfers to
 20       shelters.    Transfers out of Homestead to a shelter.           Are
 21       there any criteria written down for when that might
 22       happen?
 23              A.   Well, as I stated before, there is criteria
 24       time-wise when the percentage in the shelter, to my
 25       knowledge, is under 85 percent versus above.           But I am

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   1      telling you what I have been told.
   2             Q.   Do you have any knowledge as to how much it
   3      costs to perform a home study?
   4             A.   No, sir.   I have never been involved in the
   5      home study process and I don't deal with contracts in my
   6      position at all either.      So no, I don't know.
   7             Q.   Is it the case that persons who are required
   8      to be fingerprinted may have to appear more than once
   9      because of the length of time that has transpired
 10       between the first fingerprinting and the release
 11       decision?
 12              A.   Has that occurred?       Yes.      Because the
 13       fingerprints are only valid a certain length of time.
 14       So that has happened.      It is very rare, but it has
 15       happened.
 16              Q.   How long are fingerprints valid for?
 17              A.   I believe it is -- I believe it is now four or
 18       six months.    I can't even remember right now.
 19              Q.   Do you know why they are considered to be
 20       valid for only a fixed period?
 21              A.   Well, obviously, if you are looking at a home
 22       study and safety issues, you're looking at, hopefully,
 23       nothing has happened since the last fingerprinting.
 24              Q.   Well, there is a difference -- even after the
 25       period, whatever it may be, has expired, what is the

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   1      impediment to rechecking the same fingerprints against
   2      the databases?      Rechecking the same fingerprints?
   3                    MS. DAVILA:     Objection.         Vague.
   4                    THE WITNESS:      You would have to ask the
   5             fingerprint people that handle the fingerprints.               I
   6             don't know what that is.            I don't partake in the
   7             fingerprinting process or the -- when we get it, we
   8             just get results.        So I don't know the answer to
   9             that.
 10       BY MR. HOLGUIN:
 11              Q.     But who determines whether the results are
 12       based upon stale fingerprints?
 13              A.     It is just the date.           It is not a question of
 14       who determines that.         It was just a date.          They are
 15       taken out of our system after a certain amount of time,
 16       so I would not even be able to check them after a
 17       certain amount of time.
 18              Q.     So as far as you would know, then, they had
 19       never been fingerprinted.            Would that be fair to say?
 20                     MS. DAVILA:     Objection.         Misstates testimony.
 21                     THE WITNESS:      I don't know if I would know or
 22              not.    I may not know because by the time it gets to
 23              me, which is the back end, I am looking at what is
 24              going on, you know, with the fingerprints.               If the
 25              fingerprints are gone from our system, I have no

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   1             way of knowing that they took them and that they
   2             were processed, if it's out of our system.
   3      BY MR. HOLGUIN:
   4             Q.    Do you know the name of the unit or people who
   5      are in charge of fingerprinting for ORR?
   6             A.    I believe it is PSC.         I know you will ask me
   7      the acronym, which I can't tell you.                It's PSC.
   8             Q.    To your knowledge, is that a private company
   9      or is that a unit within the federal government?
 10              A.    I believe that it's a unit within the federal
 11       government, but I am not 100 percent on that.
 12              Q.    Okay.   Now, in reviewing cases presented to
 13       you from children at Homestead, is there an indication
 14       amongst the clinician notes or elsewhere whether the
 15       child has been prescribed psychotropics?
 16              A.    Yes.
 17              Q.    What is your best estimate as to the number of
 18       cases you have seen where a child has been prescribed
 19       psychotropics?
 20              A.    I would say it is a low percentage.             I can't
 21       give you a number.     Again, I also split the Homestead
 22       duties.     You're looking at whatever I am looking at.                I
 23       would say it's a low percentage of kids.
 24              Q.    When you say "low," is that below 5, below 2,
 25       below 10?

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   1                  MS. DAVILA:     Objection.         Calls for
   2             speculation.
   3                  THE WITNESS:      It is speculation, but I'll
   4             answer.    I would say maybe 2 percent, maybe 3
   5             percent.    It's small.      It is not a large amount of
   6             kids.
   7      BY MR. HOLGUIN:
   8             Q.   What is your understanding as to who has
   9      prescribed those medications for the children?
 10              A.   The psychiatrist is the only one that I am
 11       aware of that prescribes the medication to the children.
 12              Q.   And is that the psychiatrist at the hospital
 13       that we were talking about earlier, Larkin?
 14              A.   There, or I know that they take the children
 15       to their outpatient clinic.           So it would be a
 16       psychiatrist.
 17              Q.   Their outpatient clinic?             Who is --
 18              A.   Larkin.
 19              Q.   So it's either Larkin Hospital or the Larkin
 20       outpatient clinic?
 21              A.   For the most part.         Occasionally, a child may
 22       go elsewhere, depending, you know, if there is no room.
 23              Q.   Is it your understanding that ORR is the one
 24       who agrees that the child should be on the
 25       psychotropics?

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   1                   MS. DAVILA:     Objection.
   2                   MR. HOLGUIN:      Yes, that was bad.          Let me
   3             rephrase.
   4      BY MR. HOLGUIN:
   5             Q.    Who consents to the administration of the
   6      psychotropic medications to the children --
   7                   MS. DAVILA:     Objection.         Foundation.
   8      BY MR. HOLGUIN:
   9             Q.    -- detained at Homestead?
 10              A.    It is my understanding procedurally that they
 11       consult with the parents.           The child can always say no.
 12       They are under ORR care; however, they do speak to the
 13       parents, and the child can say no.                I have seen that
 14       happen before.
 15              Q.    So is the parent required to sign a consent
 16       form for the administration of psychotropics?
 17              A.    My belief is -- and I don't deal with that
 18       aspect.     I have seen the forms that they are signing.                 I
 19       have not seen them the whole time I have been at
 20       Homestead, but more recently, yes.                I was told by one of
 21       the lead clinicians that they call the family, even from
 22       the hospital, so that if they have a question about the
 23       medication, the doctor can answer it.                 So I know that
 24       they were doing verbal consent as well.
 25              Q.    Have you taken note of any written policy that

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   1      ORR has on the administration of psychotropic
   2      medications?
   3             A.      It's evolving, the medication consents.           We
   4      are using a form at Homestead and have been for a little
   5      bit of time.       I am not quite sure when that started.             So
   6      I would say yes.        But prior, it was very vague.        I know
   7      that they were doing verbal consent with the parents.
   8                     Bear in mind, some of these parents are in
   9      very, very remote areas where it is very difficult to
 10       obtain information.
 11              Q.      Do you ever have occasion to try to contact
 12       one of these parents on your own?
 13              A.      No, I have not.      Again, I get the case at the
 14       back end.       Anything that has been done, has already been
 15       done by the time it gets to me.              It is for release
 16       decision.
 17              Q.      Yes.   But you did mention that you had spoken
 18       to three children at Homestead.
 19              A.      I did, actually, speak to three children at
 20       Homestead.
 21              Q.      What language did they speak?
 22              A.      Spanish.
 23              Q.      And did you communicate with them in Spanish?
 24              A.      I did.   And I am not fluent, but I am pretty
 25       good.       I had with me the CFS, who was completely

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   1      bilingual.
   2             Q.     Who translated for you?
   3             A.     Yes.
   4             Q.     If you wanted to speak with a Spanish-speaking
   5      parent, whether in the United States or elsewhere, would
   6      you be in a position to be able to do that?
   7             A.     I would not feel comfortable doing that in
   8      terms of asking for consent for medication.                 I
   9      understand Spanish and I speak Spanish, but my Spanish
 10       is limited to items that I am used to speaking about.
 11       So I would not -- I would not want to be the one to do
 12       that because I would want to make sure that they
 13       understood completely.          So no is the answer.
 14              Q.     Very well.     In making the release decisions
 15       for a child whose parent is abroad, what weight do you
 16       give the parents -- what, if any, weight do you give the
 17       parents instructions as to who the child should be
 18       placed with?
 19              A.     Completely.     The children have to have a
 20       letter of designation from the parents.                 We would not
 21       release to somebody that is not designated for the
 22       child.      Now, does that mean I am going to automatically
 23       release to the sponsor they designate?                 Not necessarily,
 24       if there were issues that I talked about previously that
 25       deal with safety.      But would we send a child somewhere

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   1      where the parent is saying no or we don't have that
   2      letter?     No.
   3             Q.    What about in the circumstance where the
   4      parent says, "I would like my child to live with this
   5      person"?     What weight is that given?
   6             A.    Again, in terms of, we would -- that is who we
   7      would explore, obviously, unless the child said, "No, I
   8      don't want to go to this person.               I don't know this
   9      person."     So we would explore the person, always, who
 10       the parent says.     But does that necessarily mean we
 11       release to that person?         It does not.
 12              Q.    Are the parents' wishes taken into account?
 13                    MS. DAVILA:     Objection.         Asked and answered.
 14                    THE WITNESS:      I believe I answered that.          That
 15              is who we would explore, is the sponsors.
 16       BY MR. HOLGUIN:
 17              Q.    So it would function to cause you to consider
 18       a particular individual, correct?               If the parent said,
 19       "I would like my child released to this person, my
 20       sister," for example, you would then begin to evaluate
 21       the sister?
 22                    MS. DAVILA:     Objection.         Vague.   Objection.
 23              Compound.
 24       BY MR. HOLGUIN:
 25              Q.    Is that correct?

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   1             A.   The program would begin to assess that sponsor
   2      and make a recommendation.
   3             Q.   Now, in the circumstance where a child arrives
   4      and reports having more than one potential sponsor,
   5      there is a hierarchy, is that correct, in terms of
   6      closeness of family relationship?              In other words, you
   7      will consider parents first, more distant relatives
   8      second, and so forth?       Is that correct?
   9                  MS. DAVILA:     Objection.         Vague.   Objection.
 10              Compound.
 11                   THE WITNESS:      Yes.     In most cases, we would
 12              want to get somebody in the family first before you
 13              would look outside the family.
 14       BY MR. HOLGUIN:
 15              Q.   And so in Category 1, which you referenced
 16       earlier, those are parents and guardians; is that right?
 17              A.   Parents and legal guardians.
 18              Q.   And Category 2?
 19              A.   Is close family.        So uncle, aunt, first
 20       cousin, grandparents.
 21              Q.   And in Category 3?
 22              A.   Other cousins that are not first cousins.             And
 23       obviously there is -- or relatives that are distant
 24       relatives, but you can still prove it with the birth
 25       certificates.      Or as I stated before, there are some

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   1      unrelated sponsors.
   2             Q.   In Category 3?
   3             A.   In Category 3.
   4             Q.   And then in Category 4?
   5             A.   That means no sponsor.
   6             Q.   I see.    So when I ask about hierarchy,
   7      assuming all other things are equal, you would release
   8      to Category 1, someone in Category 1, before you would
   9      release to someone in Category 2; is that correct?
 10                   MS. DAVILA:     Objection.         Misstates prior
 11              testimony.
 12                   THE WITNESS:      Yes.     You said if everything is
 13              okay.   Yes.
 14       BY MR. HOLGUIN:
 15              Q.   Yes.    Now, when a child reports that he or she
 16       has more than one potential sponsor, what is the policy
 17       of ORR in terms of simultaneous evaluation or serial
 18       evaluation?     In other words, will ORR evaluate both
 19       potential custodians at the same time or do you want to
 20       wait for one to be rejected before going to the next?
 21              A.   No.    We stress that they should do concurrent
 22       sponsorship when it is not, like, a parent.              Because you
 23       never know what is going to happen or if somebody is
 24       going to drop out.      So yes, we are all for concurrent
 25       sponsors.

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   1             Q.   Concurrently evaluating sponsors?
   2             A.   Yes.
   3             Q.   Returning a little bit to the topic of
   4      children's behavior at Homestead, have reports come to
   5      your attention that children are being told that by
   6      behaving badly at Homestead their detention will be
   7      extended?
   8                  MS. DAVILA:     Objection.         Vague.   Objection.
   9             Argumentative.   Objection.          Compound.    Objection.
 10              Mischaracterizes prior testimony.             Objection.
 11              Speculative.
 12                   THE WITNESS:      I am not quite sure.         Are you
 13              talking about a youth care worker saying this or a
 14              case manager or anyone at Homestead?
 15       BY MR. HOLGUIN:
 16              Q.   Anyone in authority at Homestead.
 17                   MS. DAVILA:     Same objections.
 18                   THE WITNESS:      To my knowledge, I have not
 19              heard that.    It could happen.           I have not heard
 20              that.
 21       BY MR. HOLGUIN:
 22              Q.   If it is told to them, it would be inaccurate;
 23       is that correct?
 24                   MS. DAVILA:     Same objection as before.
 25                   THE WITNESS:      Yes.

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   1      BY MR. HOLGUIN:
   2             Q.   What is the consequence to a child who
   3      misbehaves at Homestead?
   4                  MS. DAVILA:     Objection.         Vague.
   5                  THE WITNESS:      When you say "misbehaves," what
   6             are you speaking of?        There is obviously degrees.
   7             There are degrees.      If it's a child that could harm
   8             somebody else or themselves, obviously that is a
   9             different perspective.         If it's a child that maybe
 10              used foul language -- I mean, there are so many
 11              different scenarios that we could discuss that I am
 12              not quite sure how to respond to what you are
 13              saying.
 14       BY MR. HOLGUIN:
 15              Q.   Well, what is the range of disciplinary
 16       consequences that people at Homestead have at their
 17       disposal when there is misbehavior?
 18                   MS. DAVILA:     Objection.         Vague.   Objection.
 19              Calls for speculation.
 20                   THE WITNESS:      Again, as somebody who deals
 21              with releases, I don't know what they utilize in
 22              terms of negative.      Does it affect a release?         Not
 23              unless it's something that maybe requires a home
 24              study.    But again, there are a million different
 25              scenarios you are looking at.             And being not the

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   1             person there and monitoring the program in that
   2             aspect, I don't know.
   3      BY MR. HOLGUIN:
   4             Q.   But you have had occasion to read SIRs?
   5             A.   Yes.
   6             Q.   And do the SIRs indicate the discipline that
   7      has been administered for the violation that is reported
   8      in the SIR?
   9             A.   I believe they do an addendum to the SIR.
 10       Which I don't always get and don't usually see until the
 11       end.    In the initial SIR, no, I don't see where that
 12       is -- where I would see that.
 13              Q.   But it might appear in an addenda?
 14              A.   It could appear.        I am not saying it does or
 15       it does not.     I don't know.
 16                   When you talk about discipline, I am not quite
 17       sure what you mean by that.
 18              Q.   Well, there is misbehavior and then there is a
 19       consequence for that, presumably, so the misbehavior
 20       does not recur.     So I am wondering what it is that ORR
 21       or the personnel at Homestead do to a child who
 22       misbehaves.
 23                   MS. DAVILA:     Objection.         Compound.      Objection.
 24              Vague.   Objection.     Confusing.            Counsel is mixing
 25              misbehavior and behavioral issues.

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   1      BY MR. HOLGUIN:
   2             Q.     Misbehavior.      Let's just settle on that.
   3             A.     What would fall into the category of
   4      misbehavior that you are asking me to discuss?
   5             Q.     Let's talk about disrespecting staff members,
   6      for example.
   7             A.     All I have seen that they have done, and this
   8      is not -- this is speculation, meaning after the fact.
   9      What I have seen is that they have met with a clinician
 10       to discuss that.
 11              Q.     Are you aware of anything beyond that?            For
 12       example, isolation.      For example, loss of privileges, to
 13       watch television or participate in recreation or
 14       anything of that nature as a consequence of a child
 15       misbehaving at Homestead.
 16                     MS. DAVILA:     Objection.         Asked and answered.
 17              Objection.    Cumulative.
 18                     THE WITNESS:      Yes.
 19       BY MR. HOLGUIN:
 20              Q.     When a child is subject to that sort of
 21       discipline at Homestead, what is the procedure for
 22       determining what discipline should be applied?
 23              A.     That, you would be better served asking
 24       someone who is not the person that just reviews the
 25       files.      I don't know the answer to that.

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   1             Q.    When a child has a grievance or a complaint
   2      about their treatment at Homestead, how would he or she
   3      make that complaint or grievance known to ORR?
   4             A.    I believe Homestead -- well, I have seen that
   5      Homestead has a grievance procedure.                  I have seen a
   6      report that was generated by CHSI with the grievances on
   7      them.
   8             Q.    So is it your understanding that those kinds
   9      of reports come in periodically to ORR?
 10              A.    I don't --
 11                    MS. DAVILA:     Objection.         Counsel is
 12              testifying.   Summary reports is not in the witness'
 13              testimony.
 14                    MR. HOLGUIN:      I thought I backed away from
 15              that term.
 16       BY MR. HOLGUIN:
 17              Q.    The report that you mentioned, where there is
 18       a list of children and -- is that correct?                  It is a list
 19       of children that have submitted grievances or
 20       complaints?
 21              A.    I honestly don't review it.               I believe it is a
 22       report.     I don't know how often they submit it.               It goes
 23       to the COR team.     I believe it lists the grievances that
 24       the children have.     I am not sure of the period of time.
 25       It is not something that I would look at.                  I know I have

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   1      seen it.
   2             Q.    All right.     That's fair.
   3                   Does ORR review or approve -- let's start with
   4      review.     Does ORR review rules regarding detainee
   5      behavior or children's behavior at Homestead before they
   6      are implemented?
   7             A.    That is contractual, the contractual part of
   8      the contract.       I don't know that.          I would imagine it
   9      would be in part of their grant submission, but I don't
 10       know.
 11              Q.    Are you aware that a child touching another
 12       child at Homestead is considered a violation of the
 13       facility rules?
 14                    MS. DAVILA:     Objection.         Vague.
 15                    THE WITNESS:      I would imagine it is a
 16              violation of the rules, but I am speculating.
 17       BY MR. HOLGUIN:
 18              Q.    In the shelter you worked at previously, were
 19       children precluded from touching one another?
 20              A.    Yes.
 21              Q.    At all times?
 22              A.    When you say "touching," do you mean -- I know
 23       it's on the record.       If somebody taps somebody on the
 24       arm, or are you talking about touching an area that --
 25                    MS. DAVILA:     Let the record reflect the

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   1             witness has tapped herself on the arm and then
   2             referred to the upper torso.
   3      BY MR. HOLGUIN:
   4             Q.   I am talking about any physical contact.
   5             A.   When I was at Boys Town, we did not want any
   6      physical contact because it could be misconstrued and,
   7      obviously, turned into something that it did not need to
   8      turn into necessarily.      So we did not want the children
   9      touching each other, no.
 10              Q.   Was it considered an infraction if they shook
 11       hands or --
 12              A.   Are you speaking to Boys Town when I was the
 13       director?
 14              Q.   Yes.
 15              A.   No.
 16              Q.   Did you say that there were girls also at Boys
 17       Town?
 18              A.   Yes.
 19              Q.   Would one girl's brushing another girl's hair
 20       be considered prohibited contact at Boys Town?
 21              A.   We would ask them not to do that, so they
 22       would be stopped.     But would it generate anything
 23       behavioral for the child?        No.
 24                   We are talking about Boys Town, though,
 25       remember.    And then we are also talking about prior to

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   1      2014.
   2             Q.   Yes.
   3                  Are children permitted writing implements,
   4      writing instruments, pens or pencils, in their rooms at
   5      Homestead?
   6             A.   You are talking about programmatic things,
   7      which, again, deal with releases?
   8             Q.   Yes.
   9             A.   I would speculate that they can't, but I don't
 10       know.
 11              Q.   At Boys Town, were children permitted writing
 12       implements in their rooms?
 13              A.   No.
 14              Q.   What would be the consequence if a child at
 15       Boys Town were discovered with a writing implement in a
 16       room?
 17              A.   Just take the writing instrument away.           It
 18       wasn't really a -- I mean, keep it in context of what
 19       the child is doing.     We did that because they were
 20       writing on furniture all the time.             So that was the
 21       reason for the no pens and pencils in the rooms.             But
 22       did you get a punishment for that?             No.
 23              Q.   To your knowledge, are children at Homestead
 24       permitted to listen to music?
 25              A.   I honestly don't know the answer to that.

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   1             Q.      What about at Boys Town?
   2             A.      Most of them had MP3 players, so yes.           Back
   3      in -- I said MP3 player, so it was a while ago.
   4             Q.      The children at Homestead, are they permitted
   5      to wear hats?
   6             A.      I believe so, but I am not -- I am not quite
   7      sure.       I believe they are allowed.
   8             Q.      At Boys Town, were the children permitted to
   9      wear hats?
 10              A.      Yes.
 11              Q.      At Boys Town, were children permitted to have
 12       trips outside of the facility?
 13              A.      Yes.
 14              Q.      Are you aware whether children at Homestead
 15       are permitted to leave the facility for trips?
 16              A.      I have not seen them on a trip or heard of
 17       them on a trip.        I don't know.        I have not seen that
 18       they have.
 19              Q.      In terms of meals and nutrition, was it the
 20       policy at Boys Town to vary the menu?
 21              A.      Yes.   However, in Boys Town we had to have all
 22       menus approved by a dietician.              There were five cycles
 23       of menus that we had that were approved by dieticians.
 24       So we were very limited in the flavors and the salt
 25       content because there was a dietician.                So yes and no to

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   1      that question.
   2             Q.      Are you aware of what sorts of variations in
   3      menus children have at Homestead?
   4             A.      Again, I am not there.            That is a programmatic
   5      issue.       I wouldn't have any need to know about the menus
   6      or the food.       It is not within the release scope that I
   7      am assigned currently.
   8             Q.      At Boys Town, how long were children permitted
   9      to bathe?
 10              A.      We didn't time them.           But again, you're
 11       looking at 2,300 kids versus 81 children.                  So there is a
 12       difference.
 13              Q.      At Boys Town, how long were children permitted
 14       to eat a meal?
 15              A.      We didn't have a set time for them.             They
 16       finished when they finished.              You try to have a schedule
 17       somewhat, but nobody sits there and says, "Oh, it's
 18       5:30.       Get out."   No, you don't do that either.            Not at
 19       Boys Town when I was there.
 20              Q.      Would you have any information that would
 21       suggest that a child was being less than forthcoming if
 22       he or she said that we are allowed 15 minutes to eat
 23       meals at Homestead?
 24                      MS. DAVILA:     Objection.         Vague.   Objection.
 25              Foundation.      Objection.        Calls for speculation.

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   1                    MR. PINCHAS:   Excuse me.         Court reporter,
   2             could you please read back the question.
   3                   (Thereupon, the requested portion of the record
   4      was read by the Court Reporter.)
   5                    THE WITNESS:   I wouldn't know that.           That
   6             wouldn't be something -- again, my focus at
   7             Homestead is very -- it's releases.              I wouldn't
   8             know that.    I wouldn't know if it happened or
   9             didn't happen.    I am not there.            I have not
 10              observed meals.    I really can't answer that
 11              truthfully.
 12       BY MR. HOLGUIN:
 13              Q.     Fair enough.   In terms of access to
 14       telephones, do you have any information at all about
 15       what access the children have at Homestead to
 16       telephones?
 17              A.     I can tell you that they are supposed to be
 18       able to call the families.         There is a phone that they
 19       can report abuse.      There is a hotline phone that is just
 20       for that.      I don't know about the calls in.            I don't
 21       know how that works in Homestead.             Again, I am not
 22       there.      That is not what I deal with.
 23                     I could tell you how the shelter that I worked
 24       at, when I worked there, did the telephones.                But that's
 25       different.

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   1             Q.    Have you, as an FFS, had occasion to prohibit
   2      telephone calls between children at Homestead and
   3      particular adults?
   4             A.    Personally as an FFS?           No.
   5             Q.    If Homestead were to prohibit a telephone call
   6      between a detained child and a particular individual,
   7      that would have been their decision and not ORR's?
   8                   MS. DAVILA:     Objection.         Calls for
   9             speculation.
 10       BY MR. HOLGUIN:
 11              Q.    Does ORR, to your knowledge, have any role in
 12       choosing which people children can have telephone calls
 13       with?
 14                    MS. DAVILA:     Objection.         Calls for
 15              speculation.
 16                    THE WITNESS:      To the extent that they are
 17              supposed to be able to identify who the person is.
 18              They can't just say, "Hey, I want to call
 19              305-7100."   The program is supposed to verify to
 20              make sure it is a safe call.             That is all I can say
 21              to that.   But me, no, I don't know of that.
 22       BY MR. HOLGUIN:
 23              Q.    Or anyone else within ORR?
 24              A.    Except that they are supposed to ID the
 25       people.     They need to know who they are calling.

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   1             Q.   So would you characterize that as ORR's
   2      policy?
   3                  MS. DAVILA:     Objection.         Vague.    Objection.
   4             Mischaracterizes prior testimony.
   5                  THE WITNESS:      There is policy on telephone
   6             calls.
   7      BY MR. HOLGUIN:
   8             Q.   Is that written policy?
   9             A.   Yes.
 10              Q.   What is your understanding of the education
 11       that children receive at Homestead?
 12              A.   My understanding is -- again, I am not there.
 13       I have never watched a classroom in progress.                My
 14       understanding is that they go to school and that they
 15       have qualified teachers teaching the classes.                That is
 16       my understanding.
 17              Q.   Are you aware of any noise standards that
 18       prevail during classroom instruction at Homestead?
 19              A.   No.    That would not be my release issue.
 20              Q.   What about waking and going to sleep?              Do you
 21       have any information about what time children are
 22       awakened at Homestead?
 23              A.   No.    I don't know that.          Again, the scope of
 24       my function at Homestead is releases.                So no, I don't
 25       know that.

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   1             Q.   So you have the same answer for what time
   2      children go to sleep?
   3             A.   Exact answer.
   4             Q.   Do you know what the minimum qualifications
   5      for case managers are at Homestead?
   6             A.   I am going to tell you what I believe.            In
   7      policy, it tells you the minimum qualifications for the
   8      positions, case manager being one of them.              Since I
   9      don't deal with personnel, I am not 100 percent -- I
 10       don't read that often.        I can refer to it, but I don't
 11       read it and keep it in my head since I don't hire
 12       anymore.
 13                   What I can tell you from my experience is at
 14       Boys Town they have to have a bachelor's degree.
 15              Q.   Currently, what sort of background checks, if
 16       you know, are case managers subjected to at Homestead?
 17                   MS. DAVILA:     Objection.         Calls for
 18              speculation.
 19                   THE WITNESS:      Again, policy and programmatic
 20              stuff with Homestead, I am unaware.            However, I
 21              believe they would follow the same as a shelter
 22              would, which would require fingerprinting, local
 23              checks, and DCF checks.         I would imagine, but I am
 24              speculating.
 25       BY MR. HOLGUIN:

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   1             Q.   Would the same answer apply to other personnel
   2      at Homestead?
   3                  MS. DAVILA:     Same objection.
   4                  THE WITNESS:      Same answer.
   5      BY MR. HOLGUIN:
   6             Q.   Is it your understanding that all case
   7      managers at Homestead work on-site at the facility?
   8             A.   No.
   9             Q.   So what percentage of the case managers are
 10       actually there?
 11              A.   I am not sure of the breakdown.          I do know
 12       that they utilize remote.          I don't know the breakdown,
 13       to be honest with you.
 14              Q.   In your experience at Boys Town, were remote
 15       case managers used?
 16              A.   No.
 17              Q.   What about counselors at Homestead?          Are those
 18       all on-site or are they also remote?
 19              A.   I believe there are some remote.
 20              Q.   At the function of a counselor as opposed to a
 21       case manager, what does the counselor do?
 22              A.   Clinical intervention, counseling, I would
 23       say.
 24              Q.   Do you know how many of the counselors are
 25       remote versus on-site?

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   1             A.   I honestly don't.
   2             Q.   When you get a case submitted to you and you
   3      are reviewing the evaluations, does it indicate whether
   4      the evaluation was performed remotely or on-site?
   5             A.   It does not.
   6             Q.   Is there any policy with respect to keeping
   7      children at Homestead who are monolingual in an
   8      indigenous language?
   9                  MS. DAVILA:     Objection.         Vague.
 10                   THE WITNESS:      Recently, there has been a
 11              directive about that, but not before.            More
 12              recently.
 13       BY MR. HOLGUIN:
 14              Q.   What does the directive say?
 15              A.   We were told to transfer the children.
 16              Q.   Have you ever had occasion to transfer
 17       monolingual indigenous-language-speakers out of
 18       Homestead?
 19              A.   Yes.
 20              Q.   Where are they sent to?
 21              A.   To local or -- to shelters.
 22              Q.   Why is that?
 23              A.   I was not told the reason for the directive.
 24       But if I were to speculate, I would think because they
 25       are more used to handling and they have more resources

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   1      for the children who speak the dialect, versus
   2      Homestead.     That would be speculation, however.
   3             Q.    Do you know the number of pediatricians on
   4      staff at Homestead?
   5             A.    I am not aware of pediatricians.       I honestly
   6      don't know.     I know there is a medical director who is a
   7      doctor.     I am not aware of his credentials.        I don't
   8      really deal with that aspect.
   9             Q.    Do you know the ratio of therapists to
 10       detainees at Homestead?
 11              A.    I don't know the ratios at Homestead.         I know
 12       the ratios in a shelter.
 13              Q.    Well, what are the ratios at a shelter?
 14              A.    Are you speaking like a Boys Town or His House
 15       shelter?
 16              Q.    Yes.
 17              A.    One to twelve.
 18              Q.    Is there any measurement of the efficacy or
 19       the results of counseling sessions in which the children
 20       at Homestead participate?
 21              A.    I would say they have leads who review that.
 22       They have lead clinicians, APDs, assistant program
 23       directors, program director.
 24              Q.    But you have never seen any evaluation of the
 25       efficacy of counseling or therapy at Homestead; is that

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   1      correct?
   2             A.   That is correct.
   3             Q.   Do you have occasion to review reports of
   4      detention or family-separation-induced stress among
   5      children at Homestead?
   6             A.   Specifically?
   7             Q.   Yes.
   8             A.   I am not sure if it's specific.             I mean, I
   9      have seen where it could be mentioned.               I am not sure
 10       how clinical it was.       But yes, I am sure it is
 11       mentioned.
 12              Q.   Do you recall any particular case, sitting
 13       here today, in which you reviewed a report that said
 14       there is detention-induced distress with respect to a
 15       particular minor?
 16                   MS. DAVILA:     Objection.
 17                   THE WITNESS:      I can't recall.
 18       BY MR. HOLGUIN:
 19              Q.   Are you aware of any child who has sued ORR
 20       for the treatment he or she has experienced at
 21       Homestead?
 22              A.   Me personally?       No.
 23              Q.   What about any child who has sued ORR for
 24       declining to release him or her?
 25              A.   I am not aware of the cases, no.

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   1             Q.    Do you know how many lawyers Americans for
   2      Immigrant Justice have at Homestead?
   3             A.    No.
   4             Q.    Or have, period?
   5             A.    No.    I don't deal with their contract.         Again,
   6      I am not on-site to do that.           I deal with releases.
   7                   MR. HOLGUIN:     Why don't we take a break.        I
   8             think we are pretty much coming to the end.
   9                  (Recess taken in the proceedings from 2:36 p.m.
 10       to 2:51 p.m., after which the following proceedings were
 11       had:)
 12                    MR. HOLGUIN:     Back on the record.
 13       BY MR. HOLGUIN:
 14              Q.                , have you had any occasion where a
 15       lawyer from Americans for Immigrant Justice has
 16       presented you with evidence in support of a client's
 17       release?
 18              A.    Not release, but where they have sent a good
 19       faith letter.       I wouldn't say evidence.         I don't recall
 20       ever reading anything as evidence for release.              But a
 21       good faith letter for foster care, yes.
 22              Q.    Has any Americans for Immigrant Justice lawyer
 23       ever presented evidence in support of transferring a
 24       child, a client, out of Homestead to another facility?
 25              A.    Yes.

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   1             Q.   Outside of the long-term foster care?
   2             A.   They have sent a request to transfer a child
   3      locally when the child has requested voluntary departure
   4      and/or when a child is going to be referred to long-term
   5      foster care due to the long process that those entail.
   6             Q.   Do you recall seeing evidence from an
   7      Americans for Immigrant Justice lawyer under any other
   8      circumstance supporting a transfer out of Homestead?
   9             A.   I don't.   That does not mean it didn't happen.
 10       I can't recall an instance like that.
 11              Q.   What about good faith letters from private
 12       lawyers for children held at Homestead?             Have you ever
 13       received one of those?
 14              A.   I don't think I have.
 15              Q.   Have you ever gotten a letter or any other
 16       evidence from a private lawyer supporting the child's
 17       release from Homestead?
 18              A.   I believe I have seen a letter where someone
 19       was requesting the release of a child, yes.             I think --
 20       I believe there was one instance of a private attorney.
 21       I don't recall exactly what it entailed, but I do recall
 22       seeing an e-mail to that effect.
 23              Q.   An e-mail.    Okay.      Anything else other than an
 24       e-mail?
 25              A.   Not that I am aware of.

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   1             Q.   What about a letter or any evidence from a
   2      private lawyer encouraging ORR to transfer a child out
   3      of Homestead?
   4             A.   Could be.   I don't recall, to be honest with
   5      you.
   6             Q.   You don't recall seeing any such --
   7             A.   It could be.    I don't recall that offhand.
   8                  The Homestead mailbox gets several hundred
   9      e-mails in a day.     I am not sure.         I mean, it could have
 10       been sent and I didn't see it or I wasn't around or
 11       somebody else saw it.      I don't know.           I can speak to
 12       what I recall, which is no.
 13              Q.   So you have a Homestead e-mail box?
 14              A.   Yes.
 15              Q.   What goes in there, anything that has to do
 16       with Homestead?
 17              A.   Yes.
 18              Q.   But other people, other FFSs, have access to
 19       that or just yourself?
 20              A.   Other FFS have access to that.
 21              Q.   It's just kind of a common mailbox?
 22              A.   It is a central box for Homestead.             It's for
 23       coverage purposes.
 24              Q.   I believe you mentioned that you work
 25       remotely; is that correct?

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   1             A.   Yes.
   2             Q.   Where are you based?
   3             A.
   4             Q.
   5             A.   Yes.
   6             Q.   How far is that from Homestead?
   7             A.   It is a good hour-plus in traffic.         Something
   8      along those lines, yes.
   9             Q.   Are the other FFSs also -- do they also work
 10       remotely?
 11              A.   Yes.    My supervisor is at Homestead much more
 12       frequency.    But            who is the other FFS, does not
 13       reside in Florida.
 14              Q.   Where does             reside?
 15              A.   Chicago.    She was here, though, for two weeks
 16       not long ago.
 17              Q.   Apart from Shiloh, have you ever had occasion
 18       to transfer a child to a shelter outside of Miami?
 19              A.   Shiloh is an RTC.
 20              Q.   RTC.    Sorry.
 21              A.   Outside of Miami, I said Acadia.        I believe
 22       the last contract I sent one or two children to
 23       MercyFirst.
 24              Q.   Acadia is the out-of-network facility you
 25       mentioned?

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   1             A.   Yes.   I don't know where it's located.            They
   2      have several locations.        I don't quite know where
   3      exactly.
   4             Q.   Now, in terms of stepping up children or
   5      transferring children to medium secure or secure
   6      facilities, have you ever had occasion to do that?
   7             A.   Yes.
   8                  MS. DAVILA:     Objection.         Vague.
   9      BY MR. HOLGUIN:
 10              Q.   How would you describe a medium secure
 11       facility or staff secure facility?               I believe that's
 12       what everyone calls them.
 13              A.   We call it staff secure facility.             I would say
 14       that that's a facility that is able to handle a child
 15       with a little more challenging needs than what a shelter
 16       can handle, and not as secure as a staff secure.               I mean
 17       as a secure.    Excuse me.
 18                   Sorry.   The music is throwing me off a bit.
 19       My bad.
 20              Q.   All right.     If I asked this, I apologize.            I
 21       am trying to -- what I would like to know is if you have
 22       had occasion to transfer children from Homestead to
 23       staff secure facilities.
 24              A.   Yes.
 25              Q.   How often?

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   1             A.   Not very often.
   2             Q.   Over the past year, approximately how many
   3      times?
   4             A.   I don't even -- I mean, I would be absolutely
   5      guessing.    Maybe five, six, seven.           Along those lines.
   6      I wouldn't say -- I mean, it could be more and it could
   7      be less.    I don't have -- I don't keep a number.
   8             Q.   It's not a hundred?
   9             A.   No, no.
 10              Q.   So how do you make that decision to transfer a
 11       child to a staff secure facility?
 12              A.   If there is a child typically that has had a
 13       number of behavioral SIRs or something that is a little
 14       serious that cannot be contained in the shelter or they
 15       have attempted to elope, physically attempted to elope,
 16       what I would do is staff that case with my supervisor,
 17       who would then make the determination of a step-up or
 18       not to step up.
 19              Q.   When you say "elope," do you mean to go off
 20       and get married?
 21              A.   No.   Elope, escape.
 22              Q.   Escape.   Okay.    Sorry.
 23              A.   They are not of age.         We don't marry them in
 24       care.
 25              Q.   I thought somehow they were determined to get

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   1      married.
   2             A.   No.
   3             Q.   But you are involved in the decision to step
   4      up the child to a staff secure facility?
   5             A.   It's myself or whatever FFS is covering, so
   6      yes.    But all of them, no.      Probably not.     But yes.
   7             Q.   Are there written criteria for who is stepped
   8      up to a staff secure facility that ORR has?
   9             A.   There is criteria for a step-up, yes, in
 10       policy.
 11              Q.   In terms of process, where does the initial
 12       recommendation for step-up originate?
 13              A.   Typically, it originates with the
 14       administrators of the program.           CHSI will say -- they
 15       will typically send an e-mail to ask us if we could
 16       consider a child for step-up.
 17              Q.   So then what is your procedure when you
 18       receive that kind of an e-mail?
 19              A.   I typically read the file, and particularly
 20       the SIRs, to see what behaviors they are reporting.
 21       Then I will staff what I receive from them as well as
 22       the SIR and any other information in the file with my
 23       supervisor.
 24              Q.   When you say "staff," do you mean you provide
 25       that information to the supervisor?

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   1             A.      Yes.   I discuss that information with the
   2      supervisor.
   3             Q.      Is it your practice to meet with the child
   4      during that process of deciding whether to step up?
   5             A.      I don't meet with the child, typically.
   6             Q.      Is the child told the reasons for the step-up?
   7             A.      I can attest that the program is supposed to
   8      tell the child the reasons for the step-up.                   I am not
   9      there physically.       I can't tell you with certainty, but
 10       they are supposed to be doing that, yes.
 11              Q.      But you don't know for a fact whether they do
 12       it or not.
 13              A.      They usually notate that they do, so I can say
 14       that.       You should ask a CHSI employee more than me about
 15       that.
 16              Q.      Is the child provided with evidence of the
 17       infractions that are being used to justify the step-up?
 18                      MS. DAVILA:     Objection.         Calls for
 19              speculation.
 20                      THE WITNESS:      I don't know if they physically
 21              hand the child something.              I don't know how they
 22              process that, to be honest with you.
 23       BY MR. HOLGUIN:
 24              Q.      Are the facilities required to have an
 25       interview with the child to allow the child to explain

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   1      his or her behavior before they recommend a step-up?
   2             A.   What I have seen is that the clinician meets
   3      with the child when there is a behavioral issue and they
   4      will usually put an addendum to the SIR as to, you know,
   5      what the child said and what is going on.
   6             Q.   Have you had occasion to step up children to
   7      secure facilities?
   8             A.   Yes.
   9             Q.   And is the process the same?
 10              A.   It's a little bit different, in that the
 11       criteria is different.        Obviously, there has to be a lot
 12       more going on if you are stepping up to secure.               Because
 13       that's -- you know, we try to stay within the least
 14       restrictive environment for the child.               So a step-up to
 15       secure has to be -- there has to be a reason.               Now, have
 16       I stepped up?      Yes.
 17              Q.   In terms of the process, receiving an e-mail
 18       from the current placement, your gathering the file and
 19       consulting with your supervisor, is that process all the
 20       same?
 21              A.   Basically, yes.
 22              Q.   So would it be fair to say that the criteria
 23       for a step-up to a secure is different from the criteria
 24       for a step-up to staff secure, but the process is
 25       essentially the same?

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   1             A.   Essentially the same, but different criteria.
   2             Q.   Now, once a child has been stepped up to
   3      either a staff secure or secure, do you have any role in
   4      stepping down the child?
   5             A.   I don't.   Once they are released from
   6      Homestead, no.      They do have reviews on the children.
   7             Q.   But you don't?
   8             A.   I do not, no.     I am not part of that at all.
   9      That is the facility where they are transferred.
 10              Q.   Approximately how many children have been
 11       transferred out of Homestead, to your knowledge, during
 12       the past month to a staff secure or secure facility?
 13              A.   Well, are you asking me about a staff secure
 14       or a secure?    Obviously, they are different.
 15              Q.   Let's take the staff secure first.
 16              A.   In the last month, I was on vacation for the
 17       majority of March, so I don't know what -- I was gone
 18       almost three weeks.     So March you can't ask me about
 19       because I wasn't there.
 20              Q.   How about February?
 21              A.   Well, I am not sure when they happen.          We have
 22       very few, maybe two or three.           I honestly don't know.
 23       Secure, I can tell you within a month how many there
 24       were.
 25              Q.   Okay.

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   1             A.   One.    That is why it's easy, plus the case is
   2      much more serious, too, in terms of placement.               So yes,
   3      one to secure.
   4             Q.   Do you know whether any of the children that
   5      you can recall being transferred to staff secure or
   6      secure were represented by counsel?
   7                  MS. DAVILA:     Objection.         Vague.   Objection.
   8             Compound.
   9                  THE WITNESS:      I don't know if there were G-28s
 10              there in place.     I honestly don't know.
 11       BY MR. HOLGUIN:
 12              Q.   So you don't recall seeing any child with a
 13       G-28 who was then sent to staff secure?
 14              A.   I didn't necessarily look for it either, so I
 15       don't know.    To my knowledge, I don't know.
 16              Q.   Okay.    Why wouldn't you look for it?
 17              A.   Why?    Because it wouldn't be anything that I
 18       would look at, normally.         If they had it -- if the child
 19       needs to be stepped up, the program is the one that
 20       provides the notice if there is a G-28 that the child is
 21       being moved.
 22              Q.   In the cases you handled of transfers to staff
 23       secure, have you ever had to deal with a child's lawyer?
 24              A.   I have not personally dealt with the attorney,
 25       no.

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   1             Q.      Would the same answer apply with respect to
   2      children sent to secure facilities?
   3             A.      I didn't deal with an attorney on that either.
   4             Q.      Never have dealt with an attorney in that
   5      circumstance?
   6             A.      The majority of the children do not have G-28s
   7      on file.       They are represented through -- to AIJ as
   8      friends of the court.          So there is no G-28.           They do
   9      know-your-rights and a screening.
 10              Q.      So your understanding is that when AIJ appears
 11       as a friend of court, that is the extent of the service?
 12                      MS. DAVILA:     Objection.         Calls for
 13              speculation.
 14                      THE WITNESS:      That is my understanding, but I
 15              am not an attorney.          I am a social worker.
 16       BY MR. HOLGUIN:
 17              Q.      Okay.   What would you estimate is the average
 18       amount of time you spend per case when you're
 19       considering release?
 20              A.      It depends how long the child has been in
 21       care.       Because, obviously, a child that has been in care
 22       seven days does not have as many documents for me to
 23       look at as a child that has been in there 60 days.                   So
 24       yes, do I work after five o'clock every night to do
 25       that?       Yes.

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   1             Q.    What time, typically, do you stop working?
   2             A.    About 11.
   3             Q.    About 11 at night?
   4             A.    Yes, 11 at night.
   5             Q.    And what time do you start?
   6             A.    At 8, 8:30.     That's why I don't do much more
   7      than releases.
   8             Q.    I see.   Are you provided with aging reports,
   9      reports that identify children who have been at
 10       Homestead for longer than particular periods, say one
 11       month, three months, six months?
 12                    MS. DAVILA:     Would you repeat that question?
 13                   (Thereupon, the requested portion of the record
 14       was read by the Court Reporter.)
 15                    MS. DAVILA:     Objection.         Vague.
 16                    I just want to note for the record that there
 17              is a marathon that started this afternoon, sometime
 18              later in the afternoon.          At this point, the music
 19              is very loud.     We will try to all speak up and get
 20              through it, but I wanted to note that for the
 21              record.
 22                    THE WITNESS:      More recently, Homestead has
 23              been doing length-of-stay reports.             So yes, I do
 24              see them.   But I am not staffing the cases, so
 25              people that are staffing are more attuned to

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   1             exactly what is on that list more than I would need
   2             to refer to it.
   3      BY MR. HOLGUIN:
   4             Q.   So again, when you refer to staffing, you are
   5      referring to people who are receiving the files or the
   6      information about a case?
   7                  MS. DAVILA:     Objection.         Mischaracterizes
   8             testimony.
   9                  MR. HOLGUIN:      I may have.
 10                   THE WITNESS:      No.     I am talking about the CFS
 11              on-site that is staffing cases with the leads and
 12              some of the case managers, as well as the CCs who
 13              staff the cases.
 14       BY MR. HOLGUIN:
 15              Q.   So the first acronym you mentioned was --
 16              A.   CFS, contract field specialist.
 17              Q.   And who does the contract field specialist
 18       work for?
 19              A.   GDIT.
 20              Q.   And the second acronym you mentioned was CC?
 21              A.   Case coordinators.
 22              Q.   Was there a third one?
 23              A.   I didn't mention a third one.
 24              Q.   Oh, good.
 25                   So those are the people who are concerned with

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   1      these reports that indicate how long certain children
   2      have been detained; is that correct?                 Did I
   3      misunderstand?
   4             A.   No.   I am just waiting to see -- I am trying
   5      to --
   6                  MS. DAVILA:     Objection.         Vague.
   7                  THE WITNESS:      They are more attuned to that
   8             report because they are there to staff the cases to
   9             try to avoid the length of stay.               So they are very
 10              focused on those reports, whereas to me, I, again,
 11              deal with the case once the release is submitted.
 12              So that is the difference in who really deals with
 13              that report and why.
 14                   The CFS, the staffing and my supervisor who is
 15              also on-site, they are very much attuned to that
 16              list because they are asking what is going on in
 17              these cases.
 18       BY MR. HOLGUIN:
 19              Q.   All right.     But you have seen the list
 20       personally, have you?
 21              A.   I have seen the lists, yes.
 22              Q.   What do you recall seeing on the list?
 23              A.   I just saw a breakdown for a Category 1 child,
 24       and I think that they are looking at or they are
 25       reporting -- the last one I saw, I think, was a 30-day

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   1      in care report.
   2                  So what I saw -- again, it is not a report
   3      that I focus on because I do the releases, but I saw
   4      that it kind of says the child's name, how long they
   5      have been in care, what category, and where they are at
   6      in the process or what is holding the case up.
   7             Q.   Does it indicate their ages?               Do you recall?
   8             A.   I am not sure if there is a category for age,
   9      to be honest with you.        I looked at the report.            That's
 10       not a document that I use for what I do, which is the
 11       releases.    But I know they exist.
 12                   MR. HOLGUIN:      I think that's all I have.
 13                   MS. DAVILA:     The government has a few
 14              questions.   Would you like to take a break at this
 15              point?
 16                   MR. HOLGUIN:      If you like.           We can.   It's up
 17              to you.
 18                   MS. DAVILA:     Are you fine?
 19                   THE WITNESS:      I am fine.
 20                   MS. DAVILA:     We will go forward then.
 21                              CROSS-EXAMINATION
 22       BY MS. DAVILA:
 23              Q.   Thank you very much for your testimony today.
 24       We appreciate all your work and effort, and dealing with
 25       the music outside that started this afternoon.                  We

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   1      appreciate that.
   2                  During your testimony, you referred to "influx
   3      facility."    What is an influx facility?
   4             A.   My understanding of an influx facility is a
   5      facility that has the capacity to go up in capacity and
   6      to go down.    So the specific time frame varies.          So it
   7      is not a permanent shelter, meaning that the other
   8      shelters have grant cycles and they get allotted X
   9      amount of beds.    For influx, it can vary, and vary very
 10       quickly.    It can ramp up, ramp down.
 11              Q.   Are you finished answering?
 12              A.   Yes.
 13              Q.   Is Boys Town an influx facility?
 14              A.   No.
 15              Q.   Is His Place an influx facility?
 16              A.   His House.
 17              Q.   I'm sorry.    His House.
 18              A.   No.
 19              Q.   Is it an influx facility?
 20              A.   No.
 21              Q.   Is Homestead an influx facility?
 22              A.   Yes.
 23              Q.   How do you know?
 24              A.   It is called Homestead Influx Facility.          I
 25       have been there through different cycles where they have

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   1      closed down, opened back up, ramp up, ramp down.             It's
   2      dictated upon the number of children that are coming
   3      into the country.     The numbers dictate it.
   4             Q.   You mentioned the medical unit at Homestead;
   5      is that correct?
   6             A.   Yes.
   7             Q.   To your knowledge, who staffs the medical unit
   8      at Homestead?
   9             A.   I believe -- and again, I don't work in the
 10       contract area or in personnel.             I believe, it's CHSI.
 11              Q.   Have you met any of the employees of CHSI who
 12       work in the medical unit?
 13              A.   I met the doctor in charge, on occasion.
 14              Q.   Do you know the doctor's name?
 15              A.   Dr. Patterson.       It's Chip Patterson, but his
 16       real name is, like, Relford.           I know because I have
 17       tried to e-mail him under Chip and nothing came up.
 18              Q.   To your knowledge, does Dr. Patterson
 19       prescribe psychotropic medications?
 20              A.   To my knowledge, he does not.
 21              Q.   To your knowledge, has anyone at Homestead
 22       prescribed psychotropic medication?
 23              A.   To my knowledge, no one is credentialed to do
 24       that, no.
 25                   MS. DAVILA:     The government has no further

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   1             questions.
   2                  MR. PINCHAS:      No questions from me.
   3                  MR. HOLGUIN:      I have nothing further.
   4                  Could we stipulate to having her sign the
   5             transcript in front of any notary?
   6                  MS. DAVILA:     The errata will be provided to
   7             us, and then 30 days later a signature before a
   8             notary?
   9                  MR. HOLGUIN:      Yes.
 10                   MS. DAVILA:     Is that workable for you?
 11                   THE WITNESS:      That's fine.
 12                   MS. DAVILA:     Yes, that's fine.
 13                   Does that work for you?
 14                   MS. STEELE:     Yes.
 15                   MR. PINCHAS:      I have never seen a requirement
 16              that it be signed before a notary.             Where does that
 17              come from?
 18                   MR. HOLGUIN:      Well, as far as we're concerned,
 19              if there is agreement that it can be signed under
 20              penalty of perjury and used as though it had been
 21              signed in front of the court reporter, it does not
 22              matter whether it is in front of a notary or not.
 23                   MS. DAVILA:     I am not aware of the requirement
 24              either, but I am fine either way.             The witness has
 25              already sworn that her testimony is accurate.

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   1                  MR. HOLGUIN:      Then let's just have her sign.
   2                  MS. DAVILA:     That's fine.
   3                  MR. HOLGUIN:      If everyone is fine with that
   4             being equivalent to having her sign in front of the
   5             court reporter, then we're good.
   6                  MS. DAVILA:     Does that work for future
   7             witnesses, and so forth?
   8                  MR. MOSS:   We can take it on a case-by-case
   9             basis.    At least for this witness, we're fine.
 10                   MS. DAVILA:     Is there anything else we need to
 11              cover on the record?
 12                   MR. HOLGUIN:      We said 30 days for the witness
 13              to sign, correct?
 14                   MS. DAVILA:     Right.
 15                   MR. PINCHAS:      30 days from when?
 16                   MS. DAVILA:     From when we receive a copy,
 17              right?
 18                   MR. HOLGUIN:      Right.       Is that acceptable?
 19              From when you receive a copy, 30 days to sign?
 20                   MS. DAVILA:     That works for me.        Does it work
 21              for you?
 22                   MR. MOSS:   Yes.
 23                   MR. HOLGUIN:      And if it's not signed within
 24              that period, it can be used as though it were
 25              signed?

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   1                   MS. DAVILA:     Yes, but we will let you know if
   2             there are no changes.         That may be the reason for
   3             no signature.
   4                   MR. HOLGUIN:      Even without changes, the
   5             deposition ought to be signed at some point.              Is
   6             that acceptable?      30 days --
   7                   MS. DAVILA:     After receipt.
   8                   MR. HOLGUIN:      After receipt.         Okay.
   9                   MS. DAVILA:     So we can forego the notary?
 10                    MR. HOLGUIN:      That's fine.
 11                    MS. DAVILA:     Record is closed.
 12
 13
 14                   (Thereupon, the taking of the deposition was
 15       concluded at 3:25 p.m.         Signature and formalities were
 16       not waived.)
 17
 18
 19
 20
 21
 22
 23
 24
 25

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   1      RE:         LUCAS R., et al. vs. ALEX AZAR, et al.
          DEPO OF:
   2      TAKEN:      THURSDAY, APRIL 25, 2019
   3
                                     EXCEPT FOR ANY CORRECTIONS
   4                                 MADE ON THE ERRATA SHEET BY
                                     ME, I CERTIFY THIS IS A TRUE
   5                                 AND ACCURATE TRANSCRIPT.
                                     FURTHER DEPONENT SAYETH NOT.
   6
   7                                 _______________________,

   8
   9      STATE OF FLORIDA           )
                                     )   SS:
 10       COUNTY OF _________        )
 11
                   Sworn and subscribed to before me this ________
 12       day of ________________, 20___.
          PERSONALLY KNOWN____________OR ID.____________
 13
 14
                                           ________________________
 15                                        Notary Public in and for
                                           the State of Florida at
 16                                        Large.
 17       My commission expires:
 18
 19
 20
 21
 22
 23
 24
 25

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   1                               ERRATA SHEET
   2      IN RE:            LUCAS R., et al. vs. ALEX AZAR, et al.
          DEPOSITION OF:
   3      TAKEN:            THURSDAY, APRIL 25, 2019
          JOB: 3267670
   4      DO NOT WRITE ON TRANSCRIPT - ENTER ANY CHANGES HERE
   5      Page #      Line #    Change                       Reason
   6      ______/_________/_________________/________________
   7      ______/_________/_________________/________________
   8      ______/_________/_________________/________________
   9      ______/_________/_________________/________________
 10       ______/_________/_________________/________________
 11       ______/_________/_________________/________________
 12       ______/_________/_________________/________________
 13       ______/_________/_________________/________________
 14       ______/_________/_________________/________________
 15       ______/_________/_________________/________________
 16       ______/_________/_________________/________________
 17       ______/_________/_________________/________________
 18       ______/_________/_________________/________________
 19       ______/_________/_________________/________________
 20       ______/_________/_________________/________________
 21       State of Florida:
          County of_______:
 22
          Under penalties of perjury, I declare that I have read
 23       my deposition transcript, and it is true and correct
          subject to any changes in form or substance entered
 24       here.
          ___________                ___________________________
 25       DATE

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   1                         CERTIFICATE OF OATH OF WITNESS
   2      STATE       OF   FLORIDA   )
          COUNTY OF MIAMI-DADE )
   3
   4
   5                    I,                    , Court Reporter and Notary
   6      Public in and for the State of Florida at Large, certify
   7      that the witness,                       , personally appeared
   8      before me on April 25, 2019 and was duly sworn by me.
   9
 10       Signed this 1st day of May, 2019.
 11
 12
 13
 14
 15
                              ________________________________
 16                                                 Court Reporter
 17                          Notary Public - State of Florida
 18                          Commission No. FF 977791
 19                          Expires May 16, 2020.
 20
 21
 22
 23
 24
 25

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                                                                    Page 190

   1                             CERTIFICATE OF REPORTER
   2
   3      STATE       OF   FLORIDA   )
          COUNTY OF MIAMI-DADE )
   4
   5                    I,                    , Court Reporter, do hereby
   6      certify that I was authorized to and did
   7      stenographically report the deposition of
   8      that a review of the transcript was not waived; and that
   9      the foregoing transcript, pages 1 through 186, is a true
 10       and complete record of my stenographic notes.
 11                     I FURTHER CERTIFY that I am not a relative,
 12       employee, attorney or counsel of any of the parties, nor
 13       am I a relative or employee of any of the parties'
 14       attorney or counsel connected with the action, nor am I
 15       financially interested in the action.
 16                     Dated this 1st day of May, 2019.
 17
 18
 19
 20
                              ________________________________
 21                                              , Court Reporter
 22
 23
 24
 25

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   4      May 1, 2019
   5
          c/o Yamileth G. Davila, Esquire
   6      U.S. Department of Justice, Civil Division
          Ben Franklin Station
   7      P.O. Box 878
          Washington, DC 20044-0878
   8      benjamin.m.moss2@usdoj.gov
   9      Re:      Lucas R., et al. vs. Alex Azar, et al.
          Depo of:
 10       Taken:   Thursday, April 25, 2019
          Read and sign by: June 3, 2019
 11
          Dear
 12
               This letter is to advise you that the transcript of
 13       the deposition listed above is completed and is
          available at this time for your reading and signing.
 14
               Please call the above number to make an appointment
 15       to come to the Veritext office closest to you to read
          and sign the transcript. Our office hours are from 8:30
 16       a.m. to 4:30 p.m., Monday through Friday.
 17            In the event other arrangements are made, please
          send us a list of any and all corrections, signed and
 18       notarized, noting page and line numbers and the reason
          for such changes, so we can furnish all counsel with a
 19       copy of same. If the reading and signing has not been
          completed prior to the referenced date, we shall assume
 20       that you have waived the reading and signing of the
          deposition transcript. Your prompt attention to this
 21       matter is appreciated.
 22                     Sincerely,
 23                     ________________________________
 24                                    , Court Reporter
 25

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                        Federal Rules of Civil Procedure

                                        Rule 30



           (e) Review By the Witness; Changes.

           (1) Review; Statement of Changes. On request by the

           deponent or a party before the deposition is

           completed, the deponent must be allowed 30 days

           after being notified by the officer that the

           transcript or recording is available in which:

           (A) to review the transcript or recording; and

           (B) if there are changes in form or substance, to

           sign a statement listing the changes and the

           reasons for making them.

           (2) Changes Indicated in the Officer's Certificate.

           The officer must note in the certificate prescribed

           by Rule 30(f)(1) whether a review was requested

           and, if so, must attach any changes the deponent

           makes during the 30-day period.




           DISCLAIMER:      THE FOREGOING FEDERAL PROCEDURE RULES

           ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

           THE ABOVE RULES ARE CURRENT AS OF SEPTEMBER 1,

           2016.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

           OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.



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            COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

       Veritext Legal Solutions represents that the
       foregoing transcript is a true, correct and complete
       transcript of the colloquies, questions and answers
       as submitted by the court reporter. Veritext Legal
       Solutions further represents that the attached
       exhibits, if any, are true, correct and complete
       documents as submitted by the court reporter and/or
       attorneys in relation to this deposition and that
       the documents were processed in accordance with
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1                                 CERTIFICATE OF SERVICE
2

3          I, Peter Schey, declare and say as follows:
4          I am over the age of eighteen years of age and am a party to this action. I am
5
     employed in the County of Los Angeles, State of California. My business address is
6

7    256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and state.

8          On this date, May 31, 2019, I electronically filed the following document(s):
9
        • EXHIBITS IN SUPPORT OF PLAINTIFFS’ MOTION TO ENFORCE THE
10        SETTLEMENT AGREEMENT [REDACTED VERSION OF DOCUMENTS
          PROPOSED TO BE FILED UNDER SEAL] VOL. 2 OF 5
11

12   with the United States District Court, Central District of California by using the
13
     CM/ECF system. Participants in the case who are registered CM/ECF users will be
14
     served by the CM/ECF system.
15

16

17

18
                                                                /s/Peter Schey
                                                                Attorney for Plaintiffs
19

20

21

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23

24

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26

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28
                                                 1
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